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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA




ASI, INC.,

      Plaintiff,

     v.                                          Case No. ______________0:19-cv-00763

AQUAWOOD, LLC; BANZAI
INTERNATIONAL LTD.; CHAN MING
YIU a/k/a Samson Chan; CHAN SIU LUN
a/k/a Alan Chan; DOLLAR EMPIRE LLC;
BRIAN DUBINSKY; JUN TAI CO LTD.;
JOHN ROBERT LEES, in his official
capacity as Liquidator of and successor to
Manley Toys Ltd.; LIU YI MAN a/k/a
LISA LIU; PETER MAGALHAES;
MANLEY TOY DIRECT, LLC a/k/a
Worldwide Toy Direct; MANLEY TOYS
LIMITED; MGS INTERNATIONAL,
LLC; MAT NG, in his official capacity as
Liquidator of and successor to Manley
Toys Ltd.; PARK LANE SOLUTIONS
LTD; RICHARD TOTH; TOY
NETWORK, LLC; TOY QUEST LTD.;
WELLMAX TRADING LTD.; WINNING
INDUSTRIAL LTD., and; MICHAEL
WU.

      Defendants,




          AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL




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       INTRODUCTIONPlaintiff ASI, Inc. (“Aviva”) alleges as follows against

Defendants Aquawood, LLC (“Aquawood”), Banzai International Limited (“Banzai

International”), Chan Ming Yiu, a/k/a Samson Chan (“Samson Chan”), Chan Siu Lun,

a/k/a Alan Chan (“Alan Chan”), Dollar Empire LLC (“Dollar Empire”), Brian Dubinsky

(“Dubinsky”), Jun Tai Co. Ltd. (“Jun Tai”), John Robert Lees (“Lees”), in his official

capacity as Liquidator of and successor to Manley Toys Ltd., Liu Yi Man, a/k/a Lisa Liu

(“Liu”), Peter Magalhaes (“Magalhaes”), Manley Toy Direct a/k/a Worldwide Toy

Direct, LLC (“MTD”), Manley Toys Limited (“Manley”), MGS International, LLC

(“MGS”), Mat Ng (“Ng”), in his official capacity as Liquidator of and successor to

Manley Toys Ltd., Park Lane Solutions Ltd. (“Park Lane”), Richard Toth (“Toth”), Toy

Network, LLC (“Toy Network”), Toy Quest Ltd., Wellmax Trading Ltd. (“Wellmax”),

Winning Industrial Ltd. (“Winning”), and Michael Wu (“Wu”) (collectively,

“Defendants”).

                                     INTRODUCTION

       1.     Plaintiff ASI, Inc. (“Aviva”) brings this action against Defendants to stop an

international network of fraudsters, cheaters, and money launderers from committing crimes

against the United States with impunity.In 2013, Aviva obtained an $8.5 million default

judgment in this Court against Manley on a Lanham Act false advertising claim. In the

Lanham Act case, Aviva alleged that it competed against Manley in the water toy market

and that Manley engaged in false advertising by shrinking images of children depicted in

promotional materials to make “Banzai” brand water slides appear larger than they were.



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       2.      Working together as an association-in-fact enterprise (the “SLB Enterprise”) that

uses a shifting web of interchangeable trade names and companies with shared addresses,

accounts, personnel, and other resources (the “SLB Companies”), the Defendants have made

millions of dollars by manufacturing, importing, marketing, and selling electronics, seasonal play

things, and other toys (the “SLB Products”) for children.The Court entered a default judgment

as a sanction for Manley’s repeated violations of Court orders, describing Manley’s

misconduct as a “cautionary tale” about a company that “has intentionally disobeyed

every Order, has never offered any viable excuse for its willful conduct, and … very

clearly believes that compliance with the Orders of this Court is optional.”

       3.      But the Defendants’ corrupt business practices have been anything but fun and

games for their victims. Litigation in courts across the United States has established that SLB

Companies such as Manley Toys Ltd. (“Manley”) and Manley Toy Direct LLC (“MTD”) have,

inter alia:Aviva has collected almost nothing on that judgment, even though the same

individuals who owned and worked for Manley (including several Defendants here) are

still selling the same toys from the same facilities to the same retailers. Thanks to an

extraordinarily brazen judgment evasion scheme involving the commission of numerous

federal crimes by the Defendants, they are still selling thousands of tons of toys in the

U.S. and still earning millions of dollars in profits per year.

                  a) cheated Aviva and other competitors by falsely advertising SLB Products

                      through fraudulently altered images of children;

       4.      b) subjected female employees, including TammyAviva is not the only victim

of Defendants’ judgment evasion scheme. In Iowa, Tammie Ackelson, Robin Lynn


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Drake, Heather Miller, Danielle Rennenger, and Ammee Roush (collectively, the “Iowa

victims”) to extensive sexual harassment and discrimination when they worked for SLB

Companies;Claimants”) obtained judgments totaling over $2.4 million against MTD,

Aquawood, and Toy Network. The Iowa Claimants won their judgments after proving

that they had endured years of horrifying physical and verbal sexual harassment. They

have not collected a single dollar on their judgments.

                   c) scammed designer Mitch August by failing to pay him as promised for his

                       design and sale of SLB Products, and;

                   d) sold Toys “R” Us (“TRU”) a defective water slide that caused the death of

                       a 29-year old Massachusetts woman after she used it while her 15-month

                       old daughter bore witness.

       4.      Even though the misconduct described above has resulted in millions of dollars in

U.S. judgments, the plaintiffs in those cases have been unable to collect much if anything from

the SLB Enterprise, one of the most lucrative toy-selling enterprises in the world.

       5.      This is because

       5.      The efforts of Aviva and the Iowa Claimants to enforce their judgments

have been stymied because Defendants are part of an international network of fraudsters

and money launderers that has prevented creditors from identifying and seizing judgment

debtors’ assets.

       6.      Aviva refers to that criminal network as the “SLB Enterprise.” The

acronym “SLB” corresponds to the first names of the enterprise’s founders, Samson

Chan, Lisa Liu, and Brian Dubinsky, and hearkens back to one of their first companies.


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That company—SLB Toys—was shut down and replaced with Aquawood after SLB

Toys lost a lawsuit.

       7.      As detailed in this Complaint, the SLB Enterprise thrives on its ability to tap

into its common resources, including its confusing tangleis an association of several

individuals and several formally distinct entities. The SLB Enterprise uses a shifting web

of interchangeable names and companies, to sell (the “SLB Companies”) with shared trade

names, addresses, accounts, personnel, and other resources to manufacture, import,

market, distribute, and sell toys, electronics, and other products in (the United States

continuously while evading American creditors.

       6.      Rather than comply with U.S. judgments against them, the principals of Manley

and MTD hatched a criminal judgment evasion scheme that would allow them to keep profits

captured by the SLB Enterprise while depriving Aviva and other creditors of money they

rightfully deserved.

       7.      To carry out this scheme, the Defendants have repeatedly committed bankruptcy

offenses, customs fraud, wire fraud, obstruction of justice, and money laundering.

               a) Through elaborate trickery, the principals of Manley and MTD artificially

                   forced these companies into dissolution or bankruptcy while keeping actual

                   control of each company’s business and assets.

               b) With the help of lawyers, wholesalers, and others, the principals of Manley

                   and MTD deceived courts, U.S. Customs, and their own customers in order to

                   keep money flowing into the SLB Enterprise and out of the hands of creditors.




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                c) The principals of Manley and MTD conspired with others to launder the

                    proceeds of their crimes by transferring revenue from the United States to

                    Hong Kong, concealing assets, and funding their ongoing efforts to defraud

                    creditors.

         8.     The SLB Enterprise’s use of artifice and sleight of hand have confounded

creditors and courts alike, making it easy for the enterprise to victimize Americans and

impossible (thus far) for creditors to receive justice through the American legal system.

         9.     Some courts have recognized this scheme for what it is. Federal judges in

California and Iowa recognized the enterprise’s use of shifting corporate entities as a “shell

game.”

         10.    Similarly, in a civil rights case arising out of a pervasive culture of sexual

harassment at a call center in Iowa, an appeals court described the chicanery of Manley, MTD,

and other members of the enterprise as a game of “corporate entity three-card monte” for the

purpose of evading liability.

         11.    In awarding a default judgment in favor of Aviva against Manley (the “Minnesota

judgment”), a United States District Court judge in the District of Minnesota (the “Minnesota

Federal Court”) stated in 2013:

                What has transpired should serve as a cautionary tale regarding the
                difficulties American lawyers may face when working with clients
                who do not operate within a system of jurisprudence that
                approximates the American system and who apparently have no
                fear about disregarding court orders . . . .

         Manley has intentionally disobeyed every Order, has never offered any viable excuse for

its willful conduct, and Aviva has been irreparably prejudiced in its ability to prepare for trial . . .

. Manley very clearly believes that compliance with the Orders of this Court is optional and that



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the Court is powerless to compel it to comply. . . . The Court suspects that Manley believes that .

. . [it is] immune to entry of default judgment. Manley is wrong.“SLB Products”).

       8.      SLB Companies come and go, but the principal beneficial owners of the

SLB Enterprise—Samson Chan, Liu, Dubinsky, and Alan Chan (collectively, the

“Principals”)—have continued to sell the same SLB Products to the same customers

using largely the same employees, facilities, and distribution channels, and the Principals

have continued to earn enormous profits while paying virtually nothing to Aviva and the

Iowa Claimants.

       9.      The rapid dissolution and substitution of companies is a hallmark of the

SLB Enterprise—it happened in 2016 with both Manley and MTD, putting those

companies’ assets out of reach. Dubinsky bragged after a deposition in 2017 that he and

his confederates always stay “one step ahead of” their creditors.

       10.     Evading judgments in this manner takes serious effort and planning. For

Defendants’ judgment evasion scheme to work, they had to commit or conspire to

commit numerous federal crimes, including wire fraud, bankruptcy crimes, obstruction of

justice, and money laundering. As detailed below, Defendants’ commission and

conspiracy to commit those federal crimes violated the Racketeer Influenced and Corrupt

Organizations Act, 18 USC § 1961, et seq. (the “RICO Act”). Defendants have

succeeded in evading Aviva’s and the Iowa Claimants’ judgments by, among other

things, hiding assets, lying about specific transactions, and concealing business activities.




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       11.    In addition to committing and conspiring to commit fraud and obstruct

justice, the Defendants abused the corporate form of many companies, shifting, hiding,

and mislabeling assets so that Aviva and other judgment creditors would be unable to

collect anything of value. As alleged below, the entity Defendants are really the alter

egos of their ultimate beneficial owners, i.e., the Principals. The entity Defendants also

are alter egos of each other. Corporate formalities have not been observed, companies

have been undercapitalized or looted, and the corporate form has been used primarily to

defraud judgment creditors.

       12.    The United States District Court for the Southern District of Iowa subsequently

issued a ruling finding MTD jointly and severally liable for Aviva’s Minnesota judgment against

Manley (the “Iowa judgment”) after MTD failed to appear at a show-cause hearing in that

district. Defendants also have made or caused to be made a massive number of fraudulent

transfers to divert assets away from Manley to various other Defendants and, ultimately,

the Principals.

       13.    For years, however, Aviva has been unable to enforce either the Minnesota or

Iowa judgments because of the Defendants’ continued defiance of U.S. courts. Accordingly,

Aviva seeks damages and injunctive relief against the Defendants for their violations of

Section 1962(c) of the RICO Act, which makes it “unlawful for any person employed by

or associated with any enterprise engaged in, or the activities of which affect, interstate or

foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such




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enterprise’s affairs through a pattern of racketeering activity or collection of unlawful

debt.”

         14.   Rather than being deterred by U.S. courts, the Defendants have been emboldened

by their success in generating hundreds of millions of dollars in revenue while blocking

American creditors from enforcing judgments or even investigating this criminal scheme.Aviva

also seeks damages and injunctive relief against the Defendants for their violations of

Section 1962(d) of the RICO Act, which makes it “unlawful for any person to conspire to

violate” section 1962(c).

         15.   After a deposition in California in 2017, one of these Defendants boasted about

the success of this scheme, insisting that he and his confederates would always stay “at least one

step ahead” of Aviva’s efforts to collect on its judgments.Aviva also has asserted claims for

fraud, abuse of process, and conspiracy to commit fraud and abuse of process.

         16.   In addition, Aviva also seeks declaratory relief in the form of an order

holding various Defendants liable by virtue of their alter ego relationships. Aviva

likewise seeks a judgment for the value of all assets fraudulently transferred until Aviva’s

judgment is fully paid.

         17.   16. TheAviva should be made whole for the damage to its property (its

judgment) caused by Defendants’ brazen corruption mustand criminality, which should be

stopped once and for all.

                               JURISDICTION AND VENUE




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       18.     17. This Court has subject matter jurisdiction over this action pursuant to 18

U.S.C. § 1964, and 28 U.S.C. § 1331 because Plaintiff is asserting federal RICO Act

claims.

       19.     This Court also has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332 because the matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs, and the action is between citizens of different States and is

an action in which citizens or subjects of a foreign state are additional parties.

       20.     18. This Court also has supplemental jurisdiction over Aviva’s state law

claims pursuant to 28 U.S.C. § 1367 because thosethe claims are so related to Aviva’s

federal claims that they form part of the same case or controversy.

       21.     A substantial part of the events or omissions giving rise to the claims

alleged in this action occurred in Minnesota.

       22.     19. Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965 and

28 U.S.C. § 1391 because Defendants are subject to personal jurisdiction in this judicial

district, there is no district where all Defendants reside, and at least one Defendant

resides, is found, has an agent, or transacts its affairs in this judicial district.

       20.     Pursuant to the United State District Court for the District of Minnesota’s Rules

Governing Reassignment of Related Civil Cases, this matter should be deemed “related to”

Aviva Sports Inc. v. Fingerhut Direct Marketing Inc., No. 0:09-cv-1091, an open civil case

before the Honorable Joan N. Ericksen, because a) these cases share common parties, b) these

cases share common issues of law, fact, and other common factors, and c) the interests of justice

and judicial economy would be best served if a single judge handed both actions.


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                                         PARTIES

       23.    21. Plaintiff ASI, Inc., f/k/a Aviva Sports, Inc. (“Aviva”) is a Minnesota

corporation with its principal place of business in Minnesota.

                                       The Principals

                                   THE PRINCIPALS

       24.    22. Defendant Chan Ming Yiu, a/k/a Samson Chan (“Chan”), is a natural

person and a resident of Hong Kong.     He has done significant business in and/or

directed significant activity toward Minnesota.

       25.    23. Defendant Liu Yi Man, a/k/a Lisa Liu (“Liu”) is a natural person and a

resident of Hong Kong. She has done significant business in and/or directed significant

activity toward Minnesota.

       26.    24. Defendant Brian Dubinsky (“Dubinsky”) is a natural person and a

resident of California. He has done significant business in and/or directed significant

activity toward Minnesota.

       27.    25. Defendant Chan Siu Lun, a/k/a Alan Chan (“Alan Chan”),Alan Chan is a

natural person and a resident of Hong Kong. He has done significant business in and/or

directed significant activity toward Minnesota.

       28.    26. Defendants Samson Chan, Liu, Dubinsky, and Alan Chan collectively

are referred to in this Complaint as the “Principals.”

                                       The Executives




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                                  THE EXECUTIVES

       29.    27. Defendant Richard Toth (“Toth”) is a natural person and a resident of

Iowa. He has done significant business in and/or directed significant activity toward

Minnesota.

       30.    28. Defendant Michael Wu (“Wu”) is a natural person and resident of

California. He has done significant business in and/or directed significant activity toward

Minnesota.

       31.    29. Defendants Toth and Wu collectively are referred to in this Complaint

as the “Executives.”

                                 THE LIQUIDATORS

       32.    Defendant Ng is a natural person and a resident of Hong Kong, and is sued

in his official capacity as Liquidator of and successor to Manley.

       33.    Defendant Lees is a natural person and a resident of Hong Kong, and is

sued in his official capacity as Liquidator of and successor to Manley.

       34.    The Corporate Shell Defendants Ng and Lees collectively are referred to in

this Complaint as the “Liquidators.”

                                       THE ENTITIES

       35.    Defendant Manley is a Hong Kong corporation with its principal place of

business in Hong Kong. Manley also has done significant business in and/or directed

significant activity toward Minnesota.




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       36.     30. Defendant Toy Quest Ltd. is a Hong Kong corporation with its principal

place of business in Hong Kong.

       31.     Defendant MTD a/k/a Worldwide Toy Direct, LLC is a Hong Kong corporation

with its principal place of business in Hong Kong.

       32.     Defendant Toy Network, LLC (“Toy Network”) is an Iowa company with its

principal place of Toy Quest Ltd. also has done significant business in Iowaand/or directed

significant activity toward Minnesota.

       33.     Defendant MGS International, LLC (“MGS”) is an Iowa company with its

principal place of business in Iowa.

       34.     Defendant Aquawood, LLC (“Aquawood”) a/k/a Epic Studios is a California

limited liability corporation with its principal place of business in California.

       35.     Defendant Dollar Empire LLC (“Dollar Empire”) is a California corporation with

its principal place of business in California.

       37.     36. Defendant Banzai International Limited (“Banzai International”) is a Hong

Kong corporation with its principal place of business in Hong Kong.

       37.     Defendant Park Lane Solutions Ltd. (“Park Lane”) is a Hong Kong corporation

with its principal place of Banzai International also has done significant business in Hong

Kongand/or directed significant activity toward Minnesota.

       38.     Defendant Jun Tai Co. Ltd. (“Jun Tai”)Park Lane is a Hong Kong corporation

with its principal place of business in Hong Kong.

       39.     Defendant Winning Industrial Ltd. (“Winning”) is a Hong Kong corporation with

its principal place of business in Hong Kong.



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       40.    Defendant Wellmax Trading Ltd. (“Wellmax”) is a Hong Kong corporation with

its principal place of business in Hong Kong Park Lane also has done significant business in

and/or directed significant activity toward Minnesota.

       39.    41. Defendants Toy Quest Ltd., MTD, Toy Network, MGS, Aquawood, Dollar

Empire, Banzai International, and Park Lane, Jun Tai, Winning, and Wellmax collectively

are referred to in this Complaint as the “Corporate Shell DefendantsHong Kong Entities.”

        The Civil Fraud, Sham Litigation, Civil Conspiracy and RICO Defendants

       40.    Defendant MTD is an Iowa company with its principal place of business in

Iowa. MTD also has done significant business in and/or directed significant activity

toward Minnesota.

       41.    Defendant Toy Network is an Iowa company with its principal place of

business in Iowa. Toy Network also has done significant business in and/or directed

significant activity toward Minnesota. Toy Network did not respond to the original

complaint and is in default (see ECF 153).

       42.    Defendant Peter Magalhaes (“Magalhaes”) is a natural person and resident of

California.Defendant MGS is an Iowa company with its principal place of business in

Iowa. MGS also has done significant business in and/or directed significant activity

toward Minnesota.

       43.    The Principals, the Executives, Toy Quest Ltd., MTD, Aquawood, Dollar Empire,

Banzai International, Park LaneDefendants MTD, Toy Network, and Magalhaes areMGS

collectively are referred to in this Complaint as the “Civil Fraud DefendantsIowa Entities.”



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       44.     The Principals and Toy Quest Ltd., Jun Tai, Winning, and Wellmax are

collectively referred to in this Complaint as the “Sham Litigation Defendants.”Defendant

Aquawood is a California limited liability corporation with its principal place of business

in California. Aquawood also has done significant business in and/or directed significant

activity toward Minnesota.

       45.     The Civil Fraud Defendants and the Sham Litigation Defendants are collectively

referred to in this Complaint as the “Civil Conspiracy Defendants.” Defendant Dollar Empire

is a California corporation with its principal place of business in California. Dollar

Empire also has done significant business in and/or directed significant activity toward

Minnesota.

       46.     The Principals, the Executives, the Hong Kong Entities, the Iowa Entities,

Aquawood, and Dollar Empire are collectively referred to in this Complaint as the “RICO

Defendants.”

     THE CIVIL FRAUD, SHAM LITIGATION, AND CIVIL CONSPIRACY
                          DEFENDANTS

       47.     Defendant Magalhaes is a natural person and resident of California. He has

done significant business in and/or directed significant activity toward Minnesota.

       48.     Defendant Jun Tai is a Hong Kong corporation with its principal place of

business in Hong Kong. Jun Tai also has done significant business in and/or directed

significant activity toward Minnesota.




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       49.    Defendant Winning is a Hong Kong corporation with its principal place of

business in Hong Kong. Winning also has done significant business in and/or directed

significant activity toward Minnesota.

       50.    Defendant Wellmax is a Hong Kong corporation with its principal place of

business in Hong Kong. Wellmax also has done significant business in and/or directed

significant activity toward Minnesota.

       51.    The Principals, the Executives, the Hong Kong Entities, MTD, Aquawood,

Dollar Empire, and Magalhaes collectively are referred to in this Complaint as the “Civil

Fraud Defendants.”

       52.    The Principals, Toy Quest Ltd., MTDJun Tai, Winning, and Wellmax

collectively are referred to in this Complaint as the “Sham Litigation Defendants.”

       THE FRAUDULENT TRANSFER AND ALTER EGO DEFENDANTS

       53.    The Principals, the Hong Kong Entities, the Iowa Entities, Aquawood,

Manley, and the Liquidators collectively are referred to in this Complaint as the “Alter

Ego Defendants.”

       54.    The Principals, the Executives, the Hong Kong Entities, the Iowa Entities,

Aquawood, Dollar Empire, Banzai International, Park Lane, Toy NetworkWellmax,

Magalhaes, Manley, and MGS arethe Liquidators collectively are referred to in this

Complaint as the “RICOFraudulent Transfer Defendants.”

       47.    The diagram on the following page illustrates the overlap between these four

groups of Defendants. As depicted below, for example, Toy Quest Ltd. and each of the




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Principals are all included as RICO Defendants, Civil Conspiracy Defendants, Civil Fraud

Defendants, and Sham Litigation Defendants in this Complaint.




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          55.                                        RICO Defendants
                   The following table identifies the claims being brought against each

Defendant.                                                       Toy Network
                                                                 MGS
                   Defendant      RICO    Civil      Sham          Civil     Alter Fraudulent
                                          Fraud    Litigation/   Conspirac   Ego    Transfer/
                                       Banzai International
                                                    Abuse of        y              Aiding and
                                       Executives Process                           Abetting
                                                                                   Fraudulent
                                        1. Toth                                     Transfer
                                        2. Wu
                  Samson                 Principals
                                   DollarEmpire                                      
                  Chan
                                            1. Chan
                                   MTD 
                                            2. Liu                        
    Principals    Liu                                                                     
                                     Aquawood
                  Dubinsky               3. Dubinsky
                                                                                       
                                     Park Lane
                  Alan Chan              4. Alan Chan
                                                                                       
                  Toth                    Quest Ltd.
                                         Toy                                             
Executives
                  Wu                                                                   

Liquidators
                  Ng     Civil Fraud                                       Sham Litigation
                                                                                          
                  Lees                                                                  
                  Manley                                                     Defendants 
                Magalhaes
                  Toy Quest                                         Jun Tai
                                                                                     
      Hong        Ltd.                                              Winning
      Kong        Banzai
                                                                  Wellmax 
                                                                    
     Entities     International                                                           
                  Park Lane                                                           
                  MTD                                                                 
      Iowa        Toy
     Entities      Civil
                  Network
                  MGS
                         Conspiracy
                           
                           
                                    Defendants
                                         
                                         
                                             
                                             
                                                                                          
                                                                                          
                  Aquawood                                                            
                  Dollar
                  Empire
                                                                                       


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         Magalhaes                                                 
         Jun Tai                                   
         Winning                                   
         Wellmax                                                   




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                  FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

I.        The RICO Defendants Conduct Business through an “

I.        Overview of the Enterprise.”

          A.      The SLB Enterprise is an Ongoing and Continuing Association in Fact that
                  Pursues a Common Purpose, Engages in Commercial Activities, and is
                  Distinct from the RICO Defendants and Their Pattern of Racketeering.

          48.     Under the Racketeer Influenced and Corrupt Organizations Act (RICO) an

    “enterprise” is defined as including “any individual, partnership, corporation, association, or

    other legal entity, and any union or group of individuals associated in fact although not a legal

    entity.” 18 U.S.C. § 1961(4); U.S. v. Turkette, 452 U.S. 576, 580 (1981); Boyle v. U.S., 556 U.S.

    938, 944 (2009). The SLB Enterprise is such an enterprise.

          49.     At all relevant times, the SLB Enterprise was an enterprise which (a) had an

    existence separate and distinct from each RICO Defendant; (b) was separate and distinct from

    the pattern of racketeering described in Counts I and II; (c) was an ongoing and continuing

    association in fact consisting of legal entities and individuals, including each of the RICO

    Defendants, (d) was characterized by interpersonal relationships among the RICO Defendants;

    (e) had sufficient longevity for the enterprise to pursue its purpose; and (f) functioned as a

    continuing unit. Turkette, 452 U.S. at 580; Boyle, 556 U.S. at 944 (2009). While each RICO

    Defendant has participated in the conduct of the SLB Enterprise (including patterns of

    racketeering activity), and shared in the flow of wrongfully obtained money at the expense of

    creditors, each has a separate existence from the enterprise.

          50.     The SLB Enterprise has engaged in, and its activities affected, interstate and

    foreign commerce because it conducted commercial activities across state and international



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    lines, including the manufacture, export, import, sale, distribution, and shipment of the SLB

    Products from Asia to and throughout the U.S., and the corresponding payment and/or receipt of

    money from the sale of the same.

           51.    As described below, several of the RICO Defendants have worked together for

    years to promote the common purpose of making money from American buyers while

    minimizing or evading U.S. court judgments and other liabilities. All of the RICO Defendants

    now work together as an ongoing and continuous organization, sustaining the enterprise through

    a pattern of racketeering activity.

           B.     The SLB Enterprise is Comprised of Interpersonal Relationships Between
                  the Principals and Other RICO Defendants.

           52.    For over 30 years, the SLB Enterprise has sold

           A.     The SLB Enterprise Spans Continents, Using a Network of Companies
                  and Affiliates Built Up Over Decades.

           56.    Samson Chan, Lisa Liu, and Brian Dubinsky ran what they once described

as the seventh-largest toy business in the world.

           57.    Beginning no later than 2006, Samson Chan’s son Alan Chan also has

helped run the business.

           58.     Those individuals and their companies manufacture, import, market, and

sell seasonal play equipment (including “Banzai” brand water toys), electronics, and

other SLB Products in the United States through a variety of corporate entities.

           59.    53. While the names of the SLB Companies have changed, the brand names of the

SLB Products, including “Toy Quest,” “Banzai International,” and “Tekno,” generally have

remained the same. Over the years, theseThose products have generated hundreds of




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millions of dollars in revenue from U.S. sales. In some years, U.S. sales have totaled

almost $100 million., with more than 11,000 tons of imports. U.S. sales have accounted

for the vast majority of sales of SLB Products.

          54.     The SLB Enterprise’s highly flexible corporate framework has helped it keep

much of this revenue by avoiding debts and other liabilities for years.

          55.     Rather than centralize its operations within a rigid and static corporate structure,

    the SLB Enterprise is organized and governed by the interpersonal relationships between the

    Principals and other RICO Defendants. Each of the RICO Defendants has had a systematic link

    to the others through business relationships, contractual relationships and continuing

    coordination of activities. Through these relationships and common communications, the RICO

    Defendants share information on a regular basis.

          56.     As described herein, the interaction and length of the relationships between and

    among the RICO Defendants reflects a deep level of interaction and cooperation of individuals

    and corporate entities working towards shared goals. The RICO Defendants have not pursued

    these goals in isolation but rather as a united entity, working together on multiple fronts for their

    mutual benefit.

          57.     Motivated by financial gain, the RICO Defendants coordinate to keep revenue

    flowing into the SLB Enterprise by cooperating to achieve three interrelated goals: (1) the

    continued movement of SLB Products into the United States; (2) a steady stream of proceeds

    from the United States to Hong Kong, and; (3) the vigilant protection of the enterprise from

    liabilities such as American creditors.




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          58.       By virtue of payments and other consideration of value from SLB Companies,

    each of the RICO Defendants stands to gain financially by maximizing the amount of money

    that the enterprise can generate and keep from American creditors.

                    1.     The Principals and Executives Have Close Working and Personal
                           Relationships with Each Other.

          59.       Chan is widely understood to be the “big boss” of the SLB Enterprise.

          60.       Chan’s son Alan Chan is close to his father and follows his orders.

          61.       The term “SLB” is often understood to refer to the close relationship between

    Samson Chan, Lisa Liu, and Brian Dubinsky, whose first initials are “S,” “L.,” and “B”

    respectively.

          62.       Liu is personally close to Chan and has worked for him at SLB Companies for

    many years.

          63.       Dubinsky and the Chans have closely collaborated in the operation of the SLB

    Enterprise for decades.

          60.       Most SLB Products are manufactured in mainland China.

          61.       The financial affairs of the companies are handled primarily out of Hong

Kong and Los Angeles, at the direction of the Chans, Liu and Dubinsky.

          62.       Toy design, marketing, and promotions have been handled primarily out of

Los Angeles under Dubinsky’s supervision. He also has coordinated litigation for the

companies.

          63.       Product distribution, warehousing, order fulfillment, customer service, and

call center operations have been handled primarily out of Iowa, at the direction of the




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Chans, Liu, Dubinsky, and the Hong Kong Entities. Toth oversees Iowa operations on a

day-to-day basis.

       64.    Dubinsky has worked closely with Liu and Toth for more than a decade. The

Chans, Liu, Dubinsky, Aquawood, the Hong Kong Entities, Toth, MTD, Toy Network,

and later MGS oversaw, controlled and/or owned warehouses and call centers in

Indianola and Des Moines, Iowa.

       65.    Toth was hired by Chan and has reported to him since 2000. SLB Products

were shipped from those Iowa facilities to retailers in many states, including Minnesota.

       66.    In addition to his business relationship within the Principals, Toth has a close

personal relationship with Chan and Liu.In the United States, SLB Products and associated

revenue have flowed through a shifting series of companies that have been abruptly shut

down and replaced as judgments have been entered against them.

       67.    For a period of time, Toth’s wife worked for an SLB Company and reported to

Dubinsky.In Hong Kong, the Chans, Liu, and occasionally Dubinsky operated for decades

primarily through Manley, although they also directed the operations of companies in

Iowa and California. More recently, they have used (among other Hong Kong entities)

Toy Quest Ltd., Park Lane, and Banzai International. Manley stated in an insurance

application that “Manley Toy Direct” was a trade name used by Manley and various

Hong Kong affiliates.

       68.    Other affiliated companies in Hong Kong include Toy Box Ltd., Toy

Network Hong Kong, Genesis Industries Ltd. (“Genesis”), Echo Technologies Asia



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Limited (“Echo Technologies”), Manley Fashion Direct Ltd. (“Manley Fashion”), and

Defendant Wellmax. While those companies are organized under the laws of Hong

Kong, each has played a major role in business operations occurring in Iowa and

California.

       69.     In Iowa, the companies have included Defendants MTD and Toy Network,

which were replaced with Defendant MGS, as well as The Toy Warehouse LLC (“Toy

Warehouse”) and Toybox Unlimited LLC (“Toybox”).

       70.     In California, the companies have included SLB Toys, which was replaced

with Defendant Aquawood.

       71.     One or more of the Principals are believed to be the ultimate owners or

financial beneficiaries of all of those companies.

       72.     The Chans, Liu, Dubinsky, Aquawood and the Hong Kong Entities have

been involved in establishing, operating, overseeing, and using those operations and

companies in Iowa and California.

       73.     The Chans, Liu, Dubinsky, Aquawood, and the Hong Kong Entities have

sold or participated in the sale of SLB Products to customers specifically in Minnesota.

For example, Target has been a major customer. When Manley procured liability

insurance for itself and its various Hong Kong and U.S. affiliates, at least one policy

named Target Corporation and Target.com as additional insureds, listing addresses in

Minneapolis.




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      74.    All of those U.S. and Hong Kong entity Defendants, along with others,

have been used in furtherance of the SLB Enterprise.

      75.    Those companies also have failed to observe basic corporate formalities

and have commingled funds. The finances of the companies are not kept, and have not

been kept, separate from those of the Principals or Manley.

      76.    As lawsuits and judgments against the various companies mounted, new

corporate entities emerged.

      77.    Manley began using the trade name “Toy Quest Ltd.” when conducting

Manley business. A separate company called Toy Quest Ltd. then existed and still exists.

(It is a Defendant here.) But for a period of time, Manley continued to operate, Manley

employees continued to sell the same products to the same customers from the same

offices, and Manley continued to receive payments from customers, even as Manley

conducted most of its business using the trade name “Toy Quest Ltd.”

      78.    That business practice changed in early 2016, when the Chans, Liu, and

Dubinsky caused Manley to enter voluntary liquidation and shifted Manley’s business

almost completely to the company formally known as Toy Quest Ltd.

      79.    Soon thereafter, they shifted that business again, from Toy Quest Ltd. to the

newly formed company Banzai International. While most of Manley’s business ended up

with Toy Quest Ltd. and then Banzai International, most of Manley’s employees ended

up working for Park Lane.




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       80.    Similarly, in Iowa, as a result of the Iowa Claimants’ sexual harassment

judgments totaling over $2.4 million, MTD and Toy Network were cast aside and

replaced with MGS.

       81.    Those various changes had little effect on the retailers that buy products

from the SLB Enterprise. The same people in Hong Kong, Iowa, and California are still

selling and distributing the same toys, which still bear the same brand names, including

“Toy Quest,” “Banzai,” and “Tekno.” But for judgment creditors, the changes and

related deceptions have made it virtually impossible to collect any money.

       82.    The SLB Enterprise’s use of artifice, trickery, and shifting corporate

entities have confounded creditors and courts alike. In Dubinsky’s own

self-incriminating words, the Chans, Liu, and Dubinsky have managed to stay “one step

ahead” of the judgment creditors.

       83.    By 2016, enforcing judgments against Manley through ordinary judgment

enforcement mechanisms (e.g., identifying assets and attaching them) had become

impossible.

       84.    Staying “one step ahead” of judgment creditors requires substantial

coordination—and criminal activity—by a network of individuals and companies located

in Hong Kong, Iowa, and California. This Complaint refers to that network as the “SLB

Enterprise” because, as noted, a company previously used by Defendants was SLB Toys,

and the letters “S,” “L,” and “B” correspond to the first names of the individuals who got

the enterprise up and running: Samson, Lisa, and Brian.



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       85.      Using a shifting web of interchangeable trade names and companies with

shared addresses, accounts, personnel, and other resources, the SLB Enterprise has

made—and continues to make—millions of dollars a year, even as millions of dollars in

judgments against SLB Companies go unpaid.

       86.      The SLB Enterprise consists of the “Principals,” who are the individuals

who control the SLB Enterprise; “Executives,” who are individuals who play major roles

in the SLB Enterprise; and various companies run by the Principals and Executives.

       87.      Defendants Samson Chan, Liu, Dubinsky, and Alan Chan are the

“Principals.”

       88.      Defendants Toth and Wu are both “Executives.” They are so named by

virtue of their executive roles at MTD, MGS, and Toy Network (each of which was or is

overseen by Toth in Iowa) and Dollar Empire (which is owned and overseen by Wu in

California).

       89.      Toth has worked with the Principals for decades, serving their interests in

Iowa and the United States since at least 2000.

       90.      68. Wu is also aSamson Chan’s longtime, close friend of Chan’sand business

partner and has maintained a commercial relationshipsrelationship with him and SLB

Companies for many years. 2. The Principals and Executives Treat Certain SLB

Companies as Fungiblefull extent of Wu’s involvement in judgment-evasion activities is

still unknown, but Wu became an active and integral participant in the SLB Enterprise no

later than December 2015. Wu’s company Dollar Empire has shipped massive quantities



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of SLB Products into Iowa, and helped conceal that those goods were being shipped to

and from Iowa, all in furtherance of the SLB Enterprise.

          69.     The Principals and Executives have a long history of using companies as

    interchangeable and expendable shells in order to conceal their assets and revenue streams from

    courts and creditors.

          70.     On an as-needed basis, the Principals and Executives could fund such companies

    or cause them to become inadequately capitalized.

          71.     Thus, if an SLB company became a liability

          91.     Magalhaes is an Aquawood employee who conducts SLB Enterprise

business. He has participated in efforts to divert Manley assets.

          92.     Wellmax, Jun Tai, and Winning are Hong Kong companies that have made

frivolous and abusive litigation filings in U.S. courts to help the SLB Enterprise, the

Principals and Executives could strip the company of its value while allowing the enterprise to

continue realizing the benefits of the company’s assets and revenue streams.

          72.     Through their direct and surrogate leadership roles, the Principals and Executives

collectively exercised total control over each of the Corporate Shell Defendants and their assets

commit various frauds.

          B.      Unpaid Judgments Obtained by Aviva and the Iowa Claimants against
                  SLB Companies

                  1.        Aviva

          93.     Aviva has tried and failed to enforce its judgment against Manley.




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       94.    In August 2013, this Court awarded Aviva a default judgment in the

amount of $8,588,931.59 against Manley on a false advertising claim brought under the

Lanham Act.

       95.    Aviva, which competed against Manley in the market for inflatable water

toys, alleged that Manley shrunk images of children depicted in its promotional materials

to make “Banzai” brand water slides appear larger than they actually were.

       96.    The default judgment was entered against Manley after it launched a

relentless campaign to obstruct discovery, hide and destroy evidence, and drive up costs,

and blatantly defied at least seven court orders.

       97.    In January 2016, shortly before Manley entered bankruptcy, Aviva also

obtained a default judgment in the Southern District of Iowa against MTD. MTD was

held jointly and severally liable with Manley after MTD failed to answer garnishment

interrogatories. Aviva’s judgment against MTD recently was vacated for procedural

reasons unrelated to the basis on which Aviva had requested entry of the judgment.

       98.    Aviva has collected only around $140,000 on its judgments.

              2.     Iowa Claimants

       99.    The Iowa Claimants (Tammie Ackelson, Robin Lynn Drake, Heather

Miller, Danielle Rennenger, and Ammee Roush) were employed at the call center in

Indianola. The women were customer service representatives responsible for fielding

customer questions and complaints about SLB Products, especially “Toy Quest” and

“Banzai” brand water toys.



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      100.      Defendants’ disregard for U.S. laws and corporate formalities attracted and

was perpetuated by the call center supervisors, who subjected the Iowa Claimants to what

one court described as an “outrageous and hostile work environment.”

      101.      The call center supervisors relentlessly sexually harassed the Iowa

Claimants by physically sexually assaulting them, propositioning them for sex, referring

to them by vulgar sexualized slurs, asking them invasive sexual questions, sexualizing

their underage children and grandchildren, boasting about the supervisors’ alleged sexual

exploits, and making other lewd and demeaning comments, noises, and gestures about the

Iowa Claimants, their female colleagues, and female customers.

      102.      The Iowa Claimants also experienced severe sexual discrimination, with

male employees receiving preferential hiring, treatment, and retention, while the women

were told they had no value and yet were forced to do most of the work.

      103.      The Iowa Claimants obtained five separate judgments as a result of the

extensive sexual harassment and discrimination they endured. Judgments were entered

against Aquawood, MTD, Toy Network, SLB Toys, and AW Computer Holdings, LLC

(the “Iowa Judgment Debtors”). Three of the five Iowa Judgment Debtors—Aquawood,

MTD, and Toy Network—are Defendants here.

      104.      The Iowa Claimants have not been paid a penny on their over $2.4 million

in judgments.

      105.      The Iowa Claimants’ judgments are listed below:




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                                       Prevailing                         Amount of     Date of
    Court              Matter                          Judgment Debtors
                                         Party                            Judgment     Judgment
                                                        Aquawood
                                                         (d/b/a
                Danielle Rennenger                       ToyQuest)                       9/29/15
                v. Manley Toy Direct                    MTD                           (judgment
S.D. Iowa                              Rennenger                          $1,056,000
                L.L.C., et al., No.                     Toy Network                    amended
                4:10-cv-00400                           SLB Toys                       7/13/16)
                                                        AW Computer
                                                         Holdings, LLC
                                                        Aquawood
                                                         (d/b/a
                Ammee Roush v.                           ToyQuest)
                Manley Toy Direct                       MTD
S.D. Iowa                              Roush                               $150,000    10/13/15
                L.L.C., et al., No.                     Toy Network
                4:10-cv-00401                           SLB Toys
                                                        AW Computer
                                                         Holdings, LLC
                                                        Aquawood
                                                         (d/b/a
                Robin Lynn Drake &     Miller            ToyQuest)         $150,000
Iowa District
                Heather Miller v.                       MTD
Court in and
                Manley Toy Direct,                                                      9/15/16
for Warren                                              Toy Network
                L.L.C., et al., No.
County                                 Drake            SLB Toys          $150,000
                LACV032931
                                                        AW Computer
                                                         Holdings, LLC
                                                        Aquawood
                                                         (d/b/a
Iowa District   Tammie Ackelson v.                       ToyQuest)
Court in and    Manley Toy Direct                       MTD
                                       Ackelson                            $912,000     3/20/17
for Warren      L.L.C., et al., No.                     Toy Network
County          LACV 032912                             SLB Toys
                                                        AW Computer
                                                         Holdings, LLC

        C.      Who’s Who in the SLB Enterprise

        106.    The Defendants who have appeared in this case so far can be divided into

four primary groups based on choices they have made with respect to joint representation




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by counsel. Those choices generally but imperfectly correspond to the Defendants’

places of primary residence:

              73. One or more of the Principals and Executives served as an officer and/or

                 director of one or more Corporate ShellThe “Chan Defendants such as” are

                 Samson Chan, Alan Chan, Liu, Toy Quest Ltd., Banzai International,

                 MTD, Toy Network, and MGSand Park Lane—all being residents of

                 Hong Kong.

              The “Dubinsky Defendants” are Dubinsky and Aquawood—both being

                 residents of California.

              The “Toth Defendants” are Toth and MGS—both being residents of

                 Iowa.

              The “Wu Defendants” are Wu, Dollar Empire, and Wellmax. Wu and

                 Dollar Empire are both residents of California. Wellmax is an SLB

                 company located in Hong Kong; although it shares counsel with Wu and

                 Dollar Empire, upon information and belief, Wellmax is actually

                 affiliated with the Chan Defendants.

      107.   In addition, Aviva has amended its Complaint to add Manley and the

Liquidators as Defendants.

      108.   Each group is described in detail below, along with MTD, Toy Network,

Jun Tai, and Winning (none of which has appeared in this case).




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               1.      The Chan Defendants: Samson Chan, Lisa Liu, Alan Chan, Toy
                       Quest Ltd., Park Lane, and Banzai International

                       a.     Samson Chan

       109.    Samson Chan is widely understood to be the “big boss” of the SLB

Enterprise. He exercised control, directly or indirectly, over MTD, Toy Network, and

MGS in Iowa; Manley, Toy Quest Ltd., Park Lane, and Banzai International in Hong

Kong; Aquawood in Los Angeles; and the other SLB Companies.

       110.    74. To ensure their control over thesethose companies, Samson Chan and the

other Principals have placed their relatives, friends and other allies intoin leadership

positions in these companies.

       111.    For example, Samson Chan’s sister Chan Ngan Ngor served as “Manager”

of Toy Quest Ltd. and his son Gary Chan (“Gary Chan”) is the director of several SLB

Companies, an employee of Park Lane, and has personally directed litigation on behalf of

Toy Quest Ltd.

               3.      Even Its Most Prominent Company was Expendable in Order for the
                       Enterprise to Continue Its Purpose.

       75.     The Principals’ looting and plundering of the SLB Enterprise’s flagship company

exemplifies the corporate “shell game” they play in order to sustain the enterprise.

       76.     For many years, Manley was the most prominent company in the SLB Enterprise.

In its last decade alone, Manley generated hundreds of millions of dollars in U.S. revenue by

selling SLB Products to U.S. distributors.

       77.     According to corporate filings, Manley was founded in Hong Kong by Chan in

1986, and a series of affiliates and other companies controlled by Chan were formed over the



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succeeding years, including Toy Quest Ltd., Aquawood, Manley Fashion Direct Ltd. (“Manley

Fashion”), SLB Toys USA, Inc. (“SLB Toys”), Toy Box Limited (“Toy Box”), and, most

recently, Banzai International.

          78.     Manley now shares a corporate parent, Teng Yue, with at least nine different

companies, including SLB Companies Toy Quest Ltd., Toy Box, Genesis Industries Ltd.

(“Genesis”), and Manley Fashion.

          79.     As described in Section II.D.4, infra, when Manley became a liability to the SLB

    Enterprise, the Principals, Toy Quest Ltd., and others acted to liquidate Manley and transfer its

    business and assets to Toy Quest Ltd. and related entities in order to protect the SLB Enterprise

    and its pursuit of selling SLB Products.

                  4.      With Chan’s Approval, the Other RICO Defendants and their
                          Related Entities Work Closely Together to Keep Money Flowing into
                          the SLB Enterprise and Away from American Creditors.

          80.     Each of the RICO Defendants has played a significant role in conducting the

    affairs of the SLB Enterprise and each has coordinated his or her respective actions with

    multiple RICO Defendants.

          81.     All of the RICO Defendants have done so at Chan’s direction and/or in

    accordance with his general wishes.

          82.     For example, in 2006, acting within his authority as a member of the enterprise,

    Dubinsky changed the “50-50” ownership of SLB Toys from a partnership between Chan and

    Liu to a partnership between Alan Chan and Liu.

          83.     Reporting back to Chan, Dubinsky explained that he had taken this step “because

    of legal issues due to Manley[…]. We don’t want the same ownership in both companies. I can

    always add back later. If you have any issue, let me know.”



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          84.     Dubinsky later explained that the “perception” of different ownership in related

    companies “keeps [away] the perception that they’re one in the same.”

                          a.     The Principals Conduct the SLB Enterprise’s International
                                 Business by Coordinating the Control of Closely Related SLB
                                 Companies that Are Based in Hong Kong.

          85.     In China, the SLB Enterprise operates in Hong Kong, where the Chans, Liu, and

    Manley, Toy Quest Ltd., Park Lane, Manley Fashion, Banzai International, Wellmax, Jun Tai,

    Winning, Toy Box, and Toy Network Hong Kong are based.

          86.     All of these companies have operated out of the same location, a building in the

    Kowloon district commonly known as “Manley Towers.”

          87.     The SLB Enterprise also keeps most of its assets in Hong Kong, where it transfers

    and banks revenue that it receives from its business in the United States.

          88.     On numerous occasions, Dubinsky, Toth, and Wu have travelled from the United

States to Hong Kong in order to conduct and discuss the SLB Enterprise’s business with Chan

and other RICO Defendants.

          112.    89. Until March 2016, Samson Chan was in charge of primary decision

making at Manley. ChanHe served as its sole natural-person director from 2014 until

March 2016, and was “Chairman & CEO.”

          113.    Manley’s business records demonstrate that Samson Chan’s role in the

company was not limited to a mere title. For example, Manley’s general ledger covering

July 2015 to March 2016 (when Manley initiated the liquidation process) contains dozens

of entries with Samson Chan’s name. Those entries show that Samson Chan was using

Manley funds throughout that period to pay for many thousands of dollars of expenses,



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including travel once or twice a month to Los Angeles, Vancouver, and elsewhere; trips

to inspect factories in China; meals with customers; miscellaneous other “entertainment”

expenses; fees for industry dinners; toy samples; clothing; medical expenses; and

multiple credit cards.

          114.   Samson Chan likewise was heavily involved in the underlying litigation

between Aviva and Manley. Multiple Manley attorney invoices were addressed to

Samson Chan’s attention. His name appears repeatedly throughout the invoices,

including with respect to discovery-related issues such as litigation hold notices and

responding to interrogatories and document requests.

          115.   90. Samson Chan is still a shareholder of Manley’s immediate parent

company, Teng Yue Holdings (“Teng Yue”).

          91.    Chan, which is a British Virgin Islands company that is also was one of the

initial directors of Wellmax. parent of nine other SLB Companies, including Toy Quest

Ltd., Toy Box Ltd., Genesis, Echo Technologies, and Manley Fashion.

          92.    Wellmax operated out of space leased from and/or occupied by Manley, and

    Wellmax was listed as a named insured on Manley’s insurance policy, along with Toy Quest

    Ltd., Aquawood, and other members of the SLB Enterprise.

          116.   Samson Chan was also a director of Complex Trader Ltd. (“Complex

Trader”), which Aquawood has identified as its parent company.

          117.   Samson Chan also was a director of Defendant Wellmax.




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       118.   Samson Chan, along with Liu, Dubinsky, and other members of the SLB

Enterprise, regularly visited the SLB Enterprise’s call center and warehouse in Indianola,

Iowa to supervise the operations of MTD, Toy Network, and the other SLB Companies

conducting business in Iowa, and they continue to exercise control over MGS’s

operations in Des Moines. Samson Chan personally exercised control over employment

decisions and operations in Iowa during those visits.

       119.   On one particularly memorable occasion, after the Iowa Claimants’

complaints no longer could be ignored because they had gone to the Iowa Civil Rights

Commission, Samson Chan and Liu flew to Iowa to terminate the call center supervisors

responsible for the sexual harassment and sexual discrimination directed at the Iowa

Claimants.

       120.   Samson Chan and Liu continued to visit Iowa on multiple occasions after

firing the supervisors.

       121.   Samson Chan, along with Alan Chan, Liu, and Dubinsky, also orchestrated

Manley’s Hong Kong liquidation for the purpose of shutting down litigation against

Manley in the District of Minnesota and other courts.

                        b.   Alan Chan

       122.   Alan Chan is Samson Chan’s son and is close to his father.

       123.   Alan Chan was educated in the United States and has spent extensive time

in the United States.




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          124.   93. Prior to March 2016, Alan Chan was Manley’s “President.” Alan Chan

has identified himself as Manley’s “managerManager” in numerous court filings. His

name, like Samson Chan’s, also appeared throughout Manley’s 2015-2016 general

ledger.

          125.   In conjunction with Dubinsky, Alan Chan also directs litigation on behalf

of Manley and other SLB Companies and has offered declarations and affidavits for

cases in this and other courts. He repeatedly has been identified as the main person

responsible for managing document searching and collection for SLB Companies.

          126.   For example, in the District of Minnesota case where Aviva obtained its

judgment against Manley, Alan Chan was the person primarily responsible for gathering

the documents produced in China in response to Aviva’s pre-judgment document

requests. He made responsiveness determinations, managed the collection of documents,

and shipped Manley documents from California to Hong Kong to drive up costs. This

Court accordingly found that “Manley’s counsel left the entire production to Manley

employee Chan Siu Liu [aka Alan Chan].”

          127.   Alan Chan also is very active in Manley’s liquidation. He oversaw

payments to the Liquidators. He negotiated with the Liquidators, even though he was

paying them. And he gave directions to the Liquidators. For example, he was a member

of a liquidation “committee of inspection” that, according to a U.S. bankruptcy court

filing by the Liquidators, directed the Liquidators to destroy Manley documents at the

conclusion of Manley’s liquidation.



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          128.   Dubinsky has testified that he and Alan Chan coordinated Toy Quest Ltd.’s

collection of documents relating to Toy Quest Ltd.’s efforts to seize funds that arguably

belonged to Manley, in violation of the bankruptcy stay. Specifically, Dubinsky stated

that Alan Chan had access to and ran searches across the entirety of Toy Quest Ltd.’s

emails for all custodians to locate responsive documents.

          129.   Alan Chan now is a “manager” at Park Lane, where he continues to direct

sales and imports by Toy Quest Ltd., Park Lane, and Banzai International in the United

States.

          130.   Through his role with Park Lane, Alan Chan also coordinates activities with

MGS, Aquawood, and Dollar Empire, arranging for shipments of SLB Products to Des

Moines for storage, assembly, and distribution using Iowa facilities and personnel.

          131.   94. Alan Chan serves as the director for several SLB Companies and their

affiliates, including five companies owned by SLB Company Manley Overseas Ltd.

          95.    Through his roles in these companies, Alan Chan continues to follow his father’s

    orders.

          132.   Alan Chan also wired more than $6 million from the building sale proceeds

of the Indianola facility to Manley in Hong Kong, despite telling the Southern District of

Iowa that Manley “did not own property in the United States or in the State of Iowa.”

                        c.     Lisa Liu

          133.   Liu is close to Samson Chan and has been an active participant in the SLB

Enterprise for decades.



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       134.   96. Liu purportedly became Manley’s Managing Director in 2011.

According to Samson Chan, Liu was in charge of Manley’s day-to-day operations, and

she retained that position until shortly before Manley’s voluntaryHong Kong liquidation

proceedings began. Samson Chan testified in 2017 that Liu had a “big responsibility” at

Manley, including having to “manage the general tasks of the company daily,” “give

directions to the company,” “make a lot of decisions” about “[b]usiness and policies for

the company,” and “set up the guidelines” for the company. Her name shows up

frequently in Manley’s 2015-16 general ledger.

       135.   Liu worked with Dubinsky to destroy evidence sought by creditors.

       136.   Liu also has supervisory and signing authority at Toy Quest Ltd.

       137.   Liu has been a central participant in Manley’s liquidation.

       138.   Liu now is a “managing director” at Park Lane, where she continues to

direct sales and imports by Toy Quest Ltd., Park Lane, and Banzai International in Iowa

and elsewhere in the United States and has supervisory and signing authority for all of

those companies.

       139.   Through her role with Park Lane, Liu also coordinates activities with MGS,

Aquawood, and Dollar Empire, arranging for shipments of SLB Products to Des Moines

for storage, assembly, and distribution using Iowa facilities and personnel.

       140.   She has visited Iowa on dozens of occasions with Samson Chan to oversee

the operations of MTD, Toy Network, and MGS.

       97.    Liu is now employed by Park Lane.



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          98.     Chan hired Dubinsky as Vice President of Marketing for Manley in March 1997.

    As the Minnesota Federal Court found, Dubinsky had been “integrally involved with Manley

    and Toyquest” since that time.

          99.     Chan entrusted Dubinsky with increasing responsibility for managing the SLB

    Enterprise’s affairs in the United States.

          100.     Dubinsky was Manley’s sole employee in the United States until 1998, when he

    switched to being President of Manley Toys USA Ltd.

                      a) According to Dubinsky, he changed the name of Manley Toys USA Ltd.

                          to SLB Toys in 2003.

                      b) Dubinsky has admitted that Manley Toys USA Ltd. actually is the same

                          company as Manley.

                      c) Dubinsky also has admitted that those companies are the same as SLB

                          Toys, where Dubinsky was President until the end of 2007.

          b.

          141.    Liu also directed Toy Warehouse, which is the company that held title to

the Indianola warehouse.

          142.    Toy Warehouse was founded as an Iowa LLC in 2000, but its initial

principal place of business was 2228 Barry Avenue in Los Angeles—the same address

used by Aquawood, SLB Toys, Toy Quest Ltd., and a host of other SLB Companies. It

later moved its principal place of business to the Indianola facility at 1800 N. 9th Street.

          143.    While Manley was the “sole member” at the creation of Toy Warehouse,

Manley transferred the entire capital account of Toy Warehouse to Samson Chan and



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Manley Overseas Ltd. in May 2002. Toy Warehouse’s May 2002 operating agreement

was signed by Liu as “Director” and by Samson Chan as “Member.” Toth submitted

filings for Toy Warehouse to the Iowa Secretary of State.

                     d.     Toy Quest Ltd.

       144.   In China, the SLB Enterprise operates in Hong Kong, where the Chans,

Liu, and SLB Companies such as Manley, Toy Quest Ltd., Banzai International, Park

Lane, Toy Network-HK, Manley Fashion, Toy Box Ltd., and Wellmax are based.

       145.   All of those companies have operated out of the same location, a building

in the Kowloon district commonly known as “Manley Towers.” The Chans and Liu all

have worked out of Manley Towers, and Dubinsky, Toth, and Wu regularly travel to

Hong Kong to meet with the Chans and Liu there.

       146.   The Principals and Executives Direct the SLB Enterprise’s Business in the

United States Through Interdependent AmericanU.S. revenues are generally transferred

to Hong Kong banks, including Hang Seng Bank and HSBC Hong Kong.

       147.   Manley initially used Toy Quest Ltd.’s name and assistance to continue its

operations in Iowa and elsewhere in the United States and to evade judgment creditors,

including Aviva and the Iowa Claimants, who hold judgments against SLB Companies.

       101.   In the United States, the SLB Enterprise operates out of a Los Angeles address

that has been shared by Manley, MTD, that transferred assets to Manley.

       148.   “Toyquest” and “Toy Quest” were registered trademarks of Manley.




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          149.   The Chans and Liu control Toy Quest Ltd., Aquawood, and direct

substantially all of its activities with help from Dubinsky, as well as in facilities in Iowa,

using a variety of names and entitiesToth.

          150.   102. Dubinsky has been identified as a “legal consulting agent,” “litigation

representative,” and contact person withinserved as the “litigation agent” for Toy Quest Ltd.

and been integrally involved with its activities in the United States for these and other

various member companies in the SLB Enterprise. .

                         i. The Enterprise Has Conducted Business in California through
                            MTD and Aquawood/Epic

          103.   The SLB Enterprise conducts a broad array of commercial activity from Los

    Angeles, including the design, branding, and distribution of SLB Products.

          104.   According to Dubinsky, Aquawood is his company and does not share common

    ownership with Manley or Toy Quest Ltd.

          151.   Although Toy Quest Ltd. had no employees, its directors and

officers—including Alan Chan—offered declarations and affidavits in support of the

Defendants’ efforts to hide assets that belonged to or had been transferred to Manley.

          152.   At the direction of the Principals, Toy Quest Ltd. also hired lawyers to file a

sham motion to intervene in this Court on behalf of Defendants Jun Tai and Winning.

          153.   When Manley entered liquidation in March 2016, Toy Quest Ltd. took over

Manley’s business, using Manley’s former employees, now at Park Lane, to sell the same

SLB Products to the same customers, using the same Iowa facilities and personnel.




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       154.   Toy Quest Ltd.’s customers include Wal-Mart, Target, Amazon, Toys “R”

Us, Bed Bath & Beyond, Big Lots, and Costco, among others.

       155.   Toy Quest Ltd. worked with Dollar Empire and MGS to facilitate the

shipment of goods to and through Iowa, with products routed to Des Moines to hide them

from creditors, including Aviva and the Iowa Claimants.

       156.   The Chans, Liu, and Dubinsky are the ultimate beneficial and equitable

owners of Toy Quest Ltd.

       157.   The Chans, Liu, and Dubinsky so dominate and control Toy Quest Ltd., and

have so blurred the lines between themselves and Toy Quest Ltd., that Toy Quest Ltd. has

an alter ego relationship with each of those individuals.

                     e.     Banzai International

       158.   In late 2016, Toy Quest Ltd.’s assets purportedly were sold to a new

company, Banzai International.

       159.   “Banzai” was a trademark of Manley, and “Banzai” had for many years

been the name of the SLB Enterprise’s leading toy line. Manley’s deceptive advertising

for its “Banzai” products formed the basis of the allegations in the lawsuit that led to

Aviva’s judgment against Manley.

       160.   Banzai’s website, banzaifun.com, says that “Banzai has been making a big

splash around the world for over 15 years,” and that “Banzai first made waves in the toy

industry with the Original Banzai Falls Slide,” a product that appears to have been

introduced around 2006.



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       161.   Banzai International purportedly had a separate address, away from Manley

Towers.

       162.   But in fact, Manley’s former employees continued to work for Park Lane at

Manley Towers, in coordination with Aquawood and MGS, selling the same products to

the same customers, using the same facilities and personnel in Iowa and elsewhere, in a

scheme designed to evade judgment creditors such as Aviva.

       163.   To hide Banzai International’s location in Hong Kong, shipments from

Banzai International listed “601-603 Tai Nan West” as their address of origin instead of

“828 Cheung Sha Wan Road.” But in fact, Manley Towers sits at the intersection of Tai

Nan West and Cheung Sha Wan Road; the employees never moved.

       164.   To hide Banzai International’s location in Los Angeles, Banzai

International changed its address on certain insurance documents from the Aquawood

office address at 2229 Barry Avenue in Los Angeles to 1007 North Sepulveda Boulevard,

Suite #66, in Manhattan Beach. The North Sepulveda address is actually an address for a

branch of the United States Post Office, and there appear to be no “suites” in that

building. However, that post office branch is a short drive from Dubinsky’s Manhattan

Beach home.

       165.   After taking over Toy Quest Ltd.’s business, Banzai International

immediately entered into a sham “consignment” relationship with Dollar Empire in

California to conceal its operations. Dollar Empire falsely was listed as the importer of

record for millions of dollars of SLB Products sold by Banzai International.



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         166.   In reality, the goods were shipped to MGS in Iowa and other locations, then

re-routed from there to the actual customers.

         167.   Banzai International continues to import SLB Products into Iowa and

elsewhere in the United States in furtherance of the SLB Enterprise.

         168.   The Chans, Liu, and Dubinsky are the ultimate beneficial and equitable

owners of Banzai International.

         169.   The Chans, Liu, and Dubinsky so dominate and control Banzai

International, and have so blurred the lines between themselves and Banzai International,

that Banzai International has an alter ego relationship with each of those individuals.

                       f.      Park Lane

         170.   After Manley’s liquidation, substantially all of Manley’s

employees—including Alan Chan and Lisa Liu—were “moved” into identical positions

at Park Lane.

         171.   When those employees “moved” from Manley to Park Lane, they never left

Manley Towers. They continued to perform the same tasks they had been performing all

along.

         172.   The Chans, Liu, and possibly Dubinsky control Park Lane and direct

substantially all of its activities.

         173.   Toth also handles some Park Lane activities in Iowa. For example, Park

Lane is the administrator for toysinquiry.com, a website that was registered by Toth in

Iowa that provides customer service and technical support for SLB Products.



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       174.   Park Lane advertises itself through its website as “a full service supply

chain solutions provider headquartered in Hong Kong. We provide product design,

development, app design, digital content production, sales, sourcing, vendor compliance,

quality assurance, and logistic services. We specialize in consumer products including

toys, consumer electronics, décor, gifts, and novelties. Our clients are fast growing

businesses in their respective industries.”

       175.   Many of the “supply chain solutions,” “sales,” “sourcing,” “vendor

compliance,” “quality assurance” and “logistical services” performed by Park Lane are

performed in Iowa under Toth’s day-to-day supervision.

       176.   Park Lane’s website also says that:

               “We strategically source quality products from suppliers with the right

                  capabilities to meet our customers’ needs and bring consumers the

                  goods they rely on.”

               “Our category experts work closely with customers to meet their needs

                  using market research and trend forecasts.”

               “We turn ideas into reality through a series of brainstorming, designing,

                  and prototyping. We embrace technology and think ‘outside the box’

                  for new ways to bring new products to market.”

       177.   The functions described on Park Lane’s website are the same functions

performed by MGS and Aquawood.




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       178.   Park’s Lane website was registered using the email address

admin@mgsgroupltd.com.

       179.   Park Lane’s website lists as “Clients” Banzai International, MGS, Genesis,

Echo Technologies, and Toy Box, among others.

       180.   Park Lane employees in Hong Kong coordinated imports of SLB Products

into and through Iowa and elsewhere in the United States with employees of Aquawood,

MGS, Dollar Empire, and other companies.

       181.   The Chans, Liu, and Dubinsky are the ultimate beneficial and equitable

owners of Park Lane.

       182.   The Chans, Liu, and Dubinsky so dominate and control Park Lane, and

have so blurred the lines between themselves and Park Lane, that Park Lane has an alter

ego relationship with each of those individuals.

       183.   As of the filing of this Complaint, the Chan Defendants all are represented

by common counsel.

              2.     The Dubinsky Defendants: Brian Dubinsky, Peter Magalhaes,
                     and Aquawood

                     a.     Brian Dubinsky

       184.   Samson Chan hired Dubinsky more than 20 years ago as Manley’s sole

employee in the United States. As this Court found, Dubinsky has been “integrally

involved with Manley and Toyquest” since he was hired by Samson Chan in 1997.




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          185.   Several press releases on www.toyquest.com described Dubinsky as

Manley’s president, as well as president of “ToyQuest,” “Toy Quest,” “Manley

ToyQuest,” and Aquawood.

          186.   105. However, ManleyDubinsky, Aquawood, Toy Quest Ltd., and

Dubinskyother SLB Companies all have shared the Los Angeles address of 2228 or 2229

Barry Avenue in Los Angeles in recent years.106. . MTD also used this address as its

principal place of business before it movedmoving to Iowa.

          107.   Aquawood has gone through several formal name changes and also has used

    several trade names. It is now doing business as “Epic Studios.”

          108.   Aquawood handled the logistics details for the www.toyquest.com website.

          109. Several press releases on the website described Dubinsky as the “President” of

    “Toy Quest,” “ToyQuest,” or “Manley ToyQuest.”

          187.   Dubinsky also registered websites for Genesis and Echo Technologies

using the Barry Avenue street address and a Park Lane email address.

          188.   Dubinsky was the person who instructed the design team to miniaturize the

images of children on the false Manley advertisements that violated the Lanham Act and

led to the underlying lawsuit and Aviva’s judgment.

          189.   Along with Samson Chan and Liu, Dubinsky visited the Indianola

warehouse and call center to discuss Iowa operations with Toth. Dubinsky has worked

closely with Toth for more than a decade.




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         190.   Dubinsky has often acted as a “legal consulting agent,” “litigation

representative,” and U.S. contact person for SLB Companies in U.S. litigation. He has

coordinated litigation responses with, among others, Alan Chan.

         191.   Dubinsky has admitted that he has served as the “litigation agent” for

Manley and Toy Quest Ltd. for almost 20 years. Dubinsky also served as litigation agent

for Defendants Jun Tai and Winning when they filed the sham intervention motion in this

Court.

         192.   Dubinsky’s name appears hundreds of times in Manley lawyers’ invoices

for the District of Minnesota case in which Aviva obtained its judgment. The invoices

show that Dubinsky frequently provided input on strategy, commented on filings and

correspondence, worked on document discovery issues, and supplied factual information.

         193.   Dubinsky likewise has been involved in selecting counsel and developing

legal strategy for Manley’s liquidation, which was specifically intended to shut down

Aviva’s efforts to enforce its judgment.

         194.   Dubinsky has worked with Liu, Samson Chan, and others to destroy

evidence sought by creditors.

         195.   During a hearing in 2012, this Court observed that:

                I have heard [counsel for Aviva] say again they have been
                unable to serve Mr. Dubinsky, who shows up over and over
                and over again on these papers. And in fact I can see in one
                of the letters that was submitted as an exhibit, he’s blind
                copied. . . . a letter going to [counsel for Aviva], there is a
                blind copy going to Dubinsky. It is clear that counsel has a
                relationship with Mr. Dubinsky. He clearly has a role within
                ToyQuest and Aquawood. And I find it incredible to date he
                has managed to avoid service and hasn’t been made available
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              for deposition; but, that is a separate issue. But I have got to
              tell you, I have this feeling that Manley Toys, with Aquawood
              and ToyQuest, is doing everything they can to be avoid
              discovery here.

       196.   The Court likewise observed in 2013 that “obviously Mr. Dubinsky’s name

comes up right and left, has throughout this entire case.”

       197.   Dubinsky has bragged about Defendants’ successful efforts to evade

judgments. On September 7, 2017, after being deposed in Los Angeles, Dubinsky

declared to Aviva’s counsel that Aviva had no chance of recovering anything of

significant value from the Chans, their companies, or Dubinsky himself. He boasted that

he, the Chans, and their various companies would always stay at least “one step ahead of”

Aviva. He further explained that they are very adept at moving around assets and

business relationships so that its companies can continue selling products in the United

States without having any assets seized.

       198.   As an example of the SLB Enterprise’s skill at using corporate shells to

hide the true source of their products, Dubinsky bragged about the enterprise’s success in

tricking Toys “R” Us (“TRU”) into selling SLB Products even though TRU had decided

to sever its business relationship with Manley, its affiliates, Dubinsky, and the Chans.

Dubinsky boasted that by selling what he called “my toys” through an entity that

appeared unrelated to Manley and the Principals, Dubinsky and the Chans were able to

continue receiving money from TRU even though TRU would not willingly have done

business with them.




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                        b.      Peter Magalhaes

          199.   Magalhaes is an employee of Aquawood and has identified himself as a

General Manager and Senior Vice President of Epic Studios.

          200.   110. Press releases on www.toyquest.com have also

identifiedwww.toyquest.com describe Magalhaes as “vice president of business

development for ToyQuest” and “General Manager of North America for The Manley

Group.”

          111.   Magalhaes also has identified himself as a General Manager and Senior Vice

    President of Epic Studios, and he is also an employee of Aquawood.

          201.   112. Magalhaes has helped other SLB Companies, including Toy Quest Ltd.

and SLB Toys, with their efforts to conduct business in the United States for many years.

                        ii. The Enterprise Has Anchored Certain Operations in Iowa, Where
                            It Has Conducted Business through MTD, MGS and Related
                            Entities.

          113.   The SLB Enterprise used MTD for a variety of different purposes, with an initial

    focus on selling SLB Products to amusement parks.

          114.   Chan and Liu were the sole owners of MTD.

          115.   In 2001, MTD moved its principal place of business from California to Iowa.

          116.   From approximately 2001 to 2015, MTD was based in Indianola, Iowa. MTD and

    Toy Network were based at the same Indianola address where another SLB Company named

    “Toy Warehouse” owned a facility used by the SLB Enterprise.




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       202.   In June 2016, after Manley initiated liquidation proceedings, Magalhaes

demanded that the retailer Costco transfer funds owed to Manley from Manley’s vendor

account to Toy Quest Ltd.’s vendor account and release the funds to Toy Quest Ltd.

                     c.     Aquawood

       203.   Aquawood is a California limited liability company that operates out of

2228 and 2229 Barry Avenue in Los Angeles. It performs design, branding, marketing,

and distribution services for SLB Companies.

       204.   Aquawood has gone through several formal name changes and also has

used several trade names. It now does business as “Epic Studios.”

       205.   117. According to Toth, Toy Network, which was used to market and develop

SLB Products, is owned by Toy Network Hong Kong. According to Dubinsky, Aquawood is

Dubinsky’s company and does not share common ownership with Manley or Toy Quest

Ltd.

       206.   Aquawood disclosed to a court in 2016 that it was a “subsidiary” of

Complex Trader. Complex Trader is a Hong Kong company. Samson Chan was a

director of Complex Trader and signed some of its corporate filings. Complex Trader is

currently owned by Chengda Holdings Limited, which is a British Virgin Islands

company that owns other SLB Companies.

       207.   While the precise details of Aquawood’s ownership are not yet clear to

Aviva, there have been extremely close relationships among Aquawood and many other




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SLB Companies, including Manley, Toy Quest Ltd., Banzai International, Park Lane,

MTD, and MGS.

       208.   This Court ruled in January 2012 that Aquawood documents had to be

considered as, and produced to the same extent as, Manley documents.

       209.   Aquawood also was insured under Manley’s insurance policy.

       210.   Aquawood handled the logistics for the www.toyquest.com website, which

sold “Banzai” brand water toys for many years, as well as the website that replaced it,

banzaifun.com.

       211.   Aquawood’s own website has identified (among other SLB Companies)

Banzai International, Genesis, and Toy Box as its business partners, using the same

images as the Park Lane website to identify the companies.

       212.   Aquawood’s website also has contained a video that appears to show

children playing with Banzai and Tekno toys, as well as other SLB Products. The

website also contains a video that flashes the “Banzai” logo at the beginning, and shows

people in “Banzai” t-shirts hosting an outdoor event involving “Banzai” water toys,

including a Banzai Sidewinder Falls slide, which has been advertised on Banzai

International’s website and has had an instruction manual on toysinquiry.com identifying

the slide as a Toy Quest Ltd. product.

       213.   In addition, Aquawood’s website has identified Wal-Mart, Target, Amazon,

Bed Bath & Beyond, Big Lots, and Costco as its customers, among others. Those are the




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same customers to which Toy Quest Ltd., Banzai International, and the Iowa Entities sold

SLB Products.

        214.   Aquawood’s employees coordinated the importing of SLB Products into the

United States with Toy Quest Ltd., Banzai International, Park Lane, Dollar Empire,

MTD, MGS, and other companies. Iowa-based employees have used Aquawood email

addresses to do so.

        215.   Many of the SLB Products imported with Aquawood’s assistance were

routed to Iowa, where MGS employees then re-routed them to customers in Minnesota

and elsewhere in the United States, often at the direction of Aquawood and the Hong

Kong Entities. Aquawood used MGS, and MGS’s Iowa facilities, to conceal the ultimate

destination of SLB Products in the United States.

        216.   As of the filing of this Complaint, the Dubinsky Defendants were

represented by common counsel.

               3.     The Toth Defendants: Richard Toth and MGS

                      a.    Richard Toth

        217.   While Samson Chan, Liu, and Dubinsky all travelled to Iowa to supervise

the operations of the SLB Enterprise, Toth is the only individual Defendant who lives in

Iowa.

        218.   Toth has overseen for decades the day-to-day operations of several SLB

Companies directly or indirectly owned by the Chans, Liu, and/or Dubinsky, including

MGS, Toy Network, MTD, Toy Box, and Toy Warehouse.1 He also has carried out tasks
1
 MTD and Toy Network are Iowa companies that are also Defendants here, but they are
not listed as “Toth Defendants” because, unlike MGS, they do not share counsel with
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in Iowa on behalf of other SLB Companies, including Toy Quest Ltd., Banzai

International, Park Lane, and Aquawood.

          219.      Toth and his companies provide centrally located warehouses and

employees in Iowa so that SLB Products can be routed for delivery to customers

throughout the country, including Target, Wal-Mart, and other retailers.

          220.      Toth was hired by Samson Chan at least 20 years ago. He reports to

Samson Chan, Liu, and Dubinsky.

          221.      118. From approximately 2000 until at least 2015, Toth served as the

President of MTD.

          222.      119. Toth also was listed as the President, General Manager, principal

officer and registered agent for Toy Network.

          120.      The Principals and Toth used MTD and Toy Network to service certain business

    needs of Manley and other SLB Companies, including operating a warehouse and call center at

    the Indianola address.

          121.      Through his status in the SLB Enterprise and his positions with these companies,

    Toth has used MTD, Toy Network, MGS, and Toy Box to conduct the SLB Enterprise’s

    business in Iowa.

          122.      For example, at Dubinsky’s request, Toth managed the call center for employes of

    the SLB Enterprise—on behalf of SLB Toys and under the auspices of MTD—at Indianola until

    2006 or 2007.




not listed as “Toth Defendants” because, unlike MGS, they do not share counsel with
Toth in the pending RICO cases.
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       223.   Toth now describes himself as the General Manager of MGS and the

President of “Toy Box.”

       224.   The companies overseen by Toth generally have operated out of a building

located at 1800 N. 9th Street in Indianola, Iowa and then out of a building located at 700

New York Avenue in Des Moines. MGS has now moved to 301 S.E. 8th Street in Des

Moines.

       225.   The building at the Indianola address was a 260,000 square foot warehouse

for many SLB Products. The space was also used as a call center for customer service

regarding SLB products. Dozens of people worked at the Indianola facility.

       226.   The Indianola call center is where the Iowa Claimants were subjected to the

sickening sexual harassment that led to their unpaid judgments, including physical sexual

acts and sexually coercive comments and questions.

       227.   More than ten years later, in 2015, MTD and Toy Network moved to a

rented warehouse facility at 700 New York Avenue in Des Moines, Iowa. MGS, which

was formed in 2015, initially operated out of the same address.

       228.   Sometime in 2017 or 2018, after MTD and Toy Network had been shut

down and replaced by MGS, MGS moved to yet another rented warehouse facility in Des

Moines, located at 301 S.E. 8th Street.

       229.   Under Toth’s direction, SLB Products have been shipped from the Iowa

facilities throughout the United States, including to Minnesota.




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      230.   While the Principals kept shifting their Hong Kong and Iowa operations

from company to company to company, the movement of SLB Products has remained

largely the same. Thousands of tons of “Banzai” brand and other SLB Products continue

to flow from Toy Quest Ltd., Park Lane, and Banzai International in Hong Kong; through

warehouses run by MTD, Toy Network, and MGS in Iowa; to retailers like Target and

Wal-Mart across the country.

      231.   The Iowa companies run by Toth have had somewhat fragmented and

confusing corporate structures, but the Iowa employees all understood that they were

working for the benefit of the Chans, Liu, and Dubinsky.

      232.   The Iowa staff, including the Iowa Claimants, handled customer service

calls for “Toy Quest” and “Banzai” products, including those stored in the Indianola

warehouse.

      233.   Most of the Iowa employees understood themselves to be employees of a

Hong Kong-based toy enterprise that Samson Chan owned and operated with the

assistance of Liu, Dubinsky, and various U.S.-based SLB Companies.

      234.   The Iowa employees also understood Toth to have authority over them, the

call center supervisors, and the other Iowa employees.

      235.   Iowa employees referred to Dubinsky’s offices on Barry Avenue in Los

Angeles as “California” or “corporate.” They referred to the companies based overseas

as “Hong Kong.”




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         236.   Toth was understood by Iowa employees to report to and collaborate with

both “California” and “Hong Kong.”

         237.   In recent years, Toth has described himself as working for Dubinsky’s

company, Aquawood. For a period of time, Toth’s wife also worked for an SLB

Company and reported to Dubinsky. Toth still does business under the name “Epic

Studios,” which is one of Aquawood’s trade names.

         238.   The Principals and Hong Kong Entities treat the Iowa facilities and

personnel as belonging to the Hong Kong Entities.

         239.   Park Lane employees, including Anthony Cheng and Yolinda Wong,

repeatedly have referred to “our IA warehouse” and “our Iowa warehouse” in discussions

with customers and third-party facilitators. In February 2017, Cheng explained that Park

Lane and/or Banzai International had “some goods available in domestic warehouse in

Iowa.”

         240.   The Park Lane employees were acting simultaneously on behalf of Park

Lane, Toy Quest Ltd., and Banzai International in their interactions involving the Iowa

warehouses. The divisions among those Hong Kong Entities are intentionally blurred.

         241.   An example of Park Lane acting on behalf of Toy Quest Ltd. and Banzai

International in connection with an Iowa transaction can be seen in an email that Yolinda

Wong of Park Lane sent to a customer in October 2016. In that email, she asks the

customer to change its banking information from Toy Quest Ltd. to Banzai International.




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Toy Quest Ltd.’s information literally was crossed out on the invoice, with Banzai

International’s information written above it.

         242.   In addition, representatives of the Iowa Entities, Aquawood, and Dollar

Empire regularly communicate with and take instruction from representatives of Toy

Quest Ltd., Banzai International, and Park Lane. A mix of representatives from all those

companies, whose precise affiliations are often deliberately unclear, coordinate with

third-party facilitators and customers regarding SLB Products to be shipped to Iowa, SLB

Products available in Iowa, and SLB Products to be delivered from Iowa.

         243.   Invoices and communications throughout 2016, 2017, and 2018 described

“Banzai” brand water toys from Toy Quest Ltd. and Banzai International as being “FOB

Iowa.”

         244.   In that same timeframe, many SLB Products, including “Banzai” brand

water toys, were listed for “pickup” in Iowa.

         245.   Multiple Toy Quest Ltd. and Banzai International invoices from 2016 to

2018 that were obtained from a shipping company likewise identify Des Moines as the

ultimate destination of “Banzai” brand water toys and other SLB Products.

         246.   In July 2019, a television news crew visited MGS’s new headquarters in

July 2019 and attempted to interview the employees there. The employees refused to

answer any questions.

         247.   The news crew filmed a FedEx truck making a delivery to MGS’s new

headquarters in Des Moines. The truck was full of “Banzai” brand water toys from the



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Hong Kong Entities, including boxes labeled as Banzai Battle Blast Adventure Park. The

Banzai Battle Blast Adventure Park is advertised on Banzai’s website, and its instruction

manual identifies the product as a Toy Quest product.

        248.   While the news crew was present, a second truck pulled in to make

deliveries. That truck sped off fifteen minutes later with its load still inside and

undelivered when MGS employees noticed the film crew and told the truck to leave.

These furtive actions show consciousness of guilt, as Defendants continue to seek to hide

their actions from the eyes of creditors.

        249.   The Hong Kong Entities also have used the call center in Iowa to provide

customer service and product support for their SLB Products, especially their “Banzai”

brand water toys.

        250.   Instruction manuals for SLB Products used to state expressly that the

customer service center was located at the Indianola facility, and gave an 800 number to

call.

        251.   For years, however, the packaging, instruction manuals, and websites for

virtually all “Banzai” brand water toys, as well as other SLB Products like “Tekno”

electronics, no longer specify that the call center is in Iowa and instead direct consumers

to contact “consumerservice@toysinquiry.com” or the same 800 number with any

questions or comments.

        252.   Toys Inquiry provides customer service and technical support for SLB

Products. It has done so in coordination with Park Lane for “Banzai” brand products sold



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(or purportedly sold) by Manley, Toy Quest Ltd., and Banzai International, among other

SLB Companies.

        253.   The website toysinquiry.com is full of instruction manuals for SLB

Products, most of which identify the products as Toy Quest Ltd. products. Those same

products are now being imported by Banzai International, with assistance from Park

Lane.

        254.    Although Defendants have tried to mask the connection between Toys

Inquiry and Iowa, Toth registered the website “toysinquiry.com” using the physical

address of the Indianola facility and the Park Lane email address admin@pls.com.hk.

        255.   As recently as June 2020, a consumer filed a Better Business Bureau

complaint against “Toys Inquiry.” The consumer reported that he or she had purchased

the Banzai Speed Slide Water Park and the seams had come apart. Toys Inquiry

responded by refusing a refund, and gave its address as 301 S.E. 8th Street, Des Moines,

which is MGS’s new address.

        256.   Though the physical addresses for Toys Inquiry have been Iowa addresses,

the email address associated with the website toysinquiry.com is a Park Lane email

address—admin@pls.com.hk.

                     b.     MGS

        257.   MGS is an Iowa limited liability company that currently operates at 301

S.E. 8th Street in Des Moines.




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       258.       As described above, Toys Inquiry is now giving that address in Des Moines

as its address.

       259.       MGS was created in early 2015 to serve as the successor to MTD and Toy

Network, taking over the business of those entities in anticipation of the Iowa Claimants’

judgments being entered against MTD and Toy Network.

       260.       MGS is the latest Iowa entrant in a shell game that an Iowa appellate court

has described as “corporate entity three card monte.”

       261.       MGS’s initial workforce consisted of former employees of MTD or Toy

Network, and MGS initially operated out of a warehouse at 700 New York Avenue in

Des Moines that was used for shipments to MTD.

       262.       MGS employees work closely with Park Lane and Aquawood; indeed,

MGS employees use “@epic-studios.com” email addresses while carrying out the orders

of Dubinsky and Aquawood regarding receiving, processing, and distributing SLB

Products in Iowa. As noted, “Epic Studios” is a trade name for Aquawood.

       263.       According to its website, MGS operates not only in Iowa but also in the

locations where other SLB Companies can be found, thereby blurring the lines between

the activities of MGS in Iowa and the activities of other companies in California and

Hong Kong:

                  In LA: We are a design and innovation agency focused on
                  hyper trend reporting and development.

                  In Asia: We are a dynamic execution focused sourcing
                  organization that has produced over 1 billion units to
                  America’s top retailers.


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              Together: We collaborate for kick-ass work that fuels great
              selling products for our clients.

       264.   The website goes on to say that MGS’s “departments around the world are

the pulse of the company,” and lists those departments as “innovators,” “artists,”

“product managers,” “operations,” “quality assurance,” and “logistics.”

       265.   MGS’s website also says “we do the research to support the idea and the

retails,” and “We are embedded and work as an extended arm of our client’s internal

merchant teams.”

       266.   The functions described on MGS’s website are the same functions

performed by Park Lane and Aquawood, and include shipping SLB Products to

Minnesota and throughout the United States.

       267.   MGS’s website also states “we manufacture great product for the world’s

largest retailers,” and explicitly calls out the retailers Target, Amazon, Kmart, Toys “R”

Us, and Wal-Mart as MGS’s “partners.”

       268.   MGS receives shipments of SLB Products from Toy Quest Ltd., Park Lane,

Banzai International, and Dollar Empire, and then works with those companies to send

those products to customers across the country, in an effort to hide the actual parties to

transactions involving SLB Products.

       269.   MGS is providing the customer service and technical support roles

previously filled by MTD and Toy Network.

       270.   Upon information and belief, the Principals and Toth have not adequately

capitalized MGS.


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         271.   As of the filing of this Complaint, the two Toth Defendants were

represented by common counsel.

                4.    The Wu Defendants: Michael Wu, Dollar Empire, and Wellmax

         272.   Wu is Samson Chan’s friend and business associate.

         273.   Wu lives in California, where he owns and operates Dollar Empire. Wu is

also the President of Dollar Empire.

         274.   Dollar Empire’s office is located at 4423 E. Bandini Boulevard in Vernon,

California. Its warehouse and showroom are located next door at 4425 E. Bandini

Boulevard.

         275.   Wu and Dollar Empire have been linked to the SLB Enterprise for twenty

years.

         276.   In 2000, Samson Chan registered Manley Toy Quest LLC as a California

LLC. Its principal place of business was at the same address as Dollar Empire’s

warehouse and showroom—4425 E. Bandini Blvd. Samson Chan was the CEO of

Manley Toy Quest LLC, and Liu was a member. Manley Toy Quest LLC dissolved in

2002, after moving its principal place of business to the Barry Avenue address in Los

Angeles.

         277.   At Samson Chan’s direction, Wu caused Dollar Empire to “import” and/or

“purchase” (or at least say that it imported and/or purchased) tons of SLB Products; store

(or at least say it stored) tons of SLB Products; and allow itself to be designated as a

sham “consignee” and “importer of record” for tons of SLB Products.



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       278.    Wu and Dollar Empire played a major role in the transfer of Manley’s

assets out of the United States to Toy Quest Ltd. and/or Banzai International, in violation

of the bankruptcy stay applicable to Manley’s assets.

       279.    With Wu’s knowledge and with Dollar Empire’s assistance, many of the

SLB Products “sold” or “consigned” to Dollar Empire were actually shipped to Iowa,

where they were then sent on to retailers or other distributors, all using Iowa facilities and

personnel. Other SLB Products “sold” or “consigned” to Dollar Empire were sent

directly to retailers or other distributors.

       280.    By cooperating in the submission of fraudulent entry documents and

otherwise hiding the participants in the distribution chain, Wu and Dollar Empire played

a major role in concealing millions of dollars in goods and cash from Aviva and the Iowa

Claimants that they could have attempted to attach or seize.

       281.    Apart from the fact that each of the Wu Defendants has helped the SLB

Enterprise evade judgments, Aviva is not aware of another connection between Wellmax

and Wu.

       282.    Wellmax operated out of Manley’s building in Hong Kong and Samson

Chan was one of Wellmax’s directors.

       283.    As of the filing of this Complaint, the Wu Defendants were represented by

common counsel.

               5.     Manley and the Liquidators

       284.    Manley was the SLB Enterprise’s flagship company for decades.



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       285.   Manley was founded in Hong Kong by Samson Chan in 1986.

       286.   Over the next thirty years, Manley generated hundreds of millions of dollars

in U.S. revenue by selling SLB Products to U.S. distributors and retailers.

       287.   After Aviva’s judgment was entered, Manley switched from using its own

name to using its trade name “Toy Quest Ltd.” to conduct Manley business. The

company Toy Quest Ltd. then started demanding payment of money that was actually

owed to Manley using its “Toy Quest Ltd.” trade name.

       288.   By early 2016, Manley’s role in the fraudulent transfer of its assets to Toy

Quest Ltd. was nearly complete and this Court was on the verge of imposing an import

ban on all “Banzai” products as a sanction for Manley’s litigation misconduct.

       289.   The Chans, Liu, and Dubinsky decided to liquidate Manley in Hong Kong

and initiate chapter 15 bankruptcy proceedings in the United States.

       290.   Ng and Lees were appointed as Manley’s liquidators in March 2016.

       291.   Ng and Lees were selected and have been paid by Toy Quest Ltd., at the

direction of the Chans, Liu, and Dubinsky.

       292.   Ng and Lees initiated a chapter 15 bankruptcy proceeding in the District of

New Jersey. They sought and obtained a bankruptcy stay of all U.S. litigation involving

Manley, including litigation in this Court. The bankruptcy stay is still in place as of the

filing of this Complaint, although Aviva has been granted various forms of stay relief. In

2021, Aviva was granted permission to assert alter ego and fraudulent transfer claims that




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previously could be asserted only by the Liquidators, and Aviva was granted permission

to name Manley and the Liquidators as Defendants.

      293.      Ng and Lees are still acting as Manley’s liquidators in the bankruptcy

proceeding, at least for some purposes.

      294.      At the time they were appointed, Ng and Lees worked for JLA Asia

Limited. JLA Asia Limited merged into Ernst & Young in January 2019.

      295.      Ernst & Young retains possession of many of Manley’s documents.

                6.    MTD and Toy Network

      296.      MTD and Toy Network have not appeared in this action through counsel.2

      297.      MTD and Toy Network are Iowa limited liability companies. They both

have played key roles in the SLB Enterprise. They purportedly have stopped doing

business and have been replaced by MGS.

      298.      MTD, however, has continued to litigate, including in the Southern District

of Iowa, where MTD attempted to vacate Aviva’s judgment against it. Upon information

and belief, one or more of the Hong Kong Entities is paying MTD’s legal bills.

      299.      Samson Chan and Liu were the sole owners of MTD.

      300.      At the direction of Samson Chan, Liu, and Dubinsky, Toth formed MTD in

Iowa in 2002.




2
  MTD was deemed served through service on Toth’s counsel, pursuant to an order of
this Court (ECF 155). Toy Network was served through its registered agent and is in
default (ECF 24, 153).
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        301.   MTD initially was located at the same Los Angeles address used by

Manley, Toy Quest Ltd., Aquawood, and Dubinsky, before moving to Iowa.

        302.   MTD began operating from 1800 N. 9th Street in Indianola no later than

January 2002, when the property was purchased by Toy Warehouse. Toy Network,

which Toth formed in Iowa in 2001, was located at the same address. MTD remained at

that address until 2015.

        303.   Subsequently, MTD also received shipments in its name or did other

business at 700 New York Avenue in Des Moines.

        304.   A year or two earlier, the Principals and Toth had transferred MTD’s assets

and business operations to Toy Network. Thus, if MTD was operating at 700 New York

Avenue, Toy Network almost certainly would have been operating there too.

        305.   123. The Principals and Toth also conducted MTD’s business through Toy

Box, as well as through one or more other SLB Companies using “Toy Box” as a trade

name.

        306.   When the Iowa Claimants worked for MTD and Toy Network, Ms.

Ackelson reported both to Toth and to Herman Haas, who often visited Iowa but was

based in Hong Kong. Haas said that Samson Chan was his boss, and used a

ToyQuest.com email address.

        307.   Ms. Ackelson talked on the telephone with Haas on a regular basis, at least

once or twice per week, about the SLB Enterprise’s operation in Iowa and also sent him




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periodic reports about MTD and Toy Network. Haas would make decisions and issue

directives about the Iowa Entities’ business.

       308.   Haas said the SLB Products sold out of Indianola were made by Manley

and sold by Toy Quest Ltd., both of which were owned by Samson Chan.

       309.   The Principals and Toth did not adequately capitalize MTD and Toy

Network and funded them strictly on an as-needed basis so they could continue

performing their centralized distribution and customer service functions for the SLB

Enterprise.

       310.   124. Through Manley and Toy Quest Ltd., the Principals paid MTD for

expenses including rent, payroll, accounting, storage, and shipping and shipping and

handling fees.

       311.   MTD in turn often paid other SLB Companies, including Toy Network and

Toy Warehouse, for the same expenses.

       312.   125. At various times, MTD, Toy Network, and Toy Warehouse also shared

employees, the “manleytoy.com” website, and customers, and various other.

       313.   Such arrangements to share resources and business opportunities generally

were made without written agreements.

       314.   a) Through MTD, TothThe rent paid certain expenses to Toy Network andto

Toy Warehouse, including rent went directly to Hong Kong bank accounts controlled by

Manley.




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                        b) Through MTD, Toth allowed Toy Network to use MTD’s website

                            ManleyToy.com.

                        c) According to Toth, written agreements were unnecessary for these

                            arrangements because the parties involved trusted each other.

          126.       Toth now describes himself as the General Manager of MGS and the President of

    “Toy Box.”

          127.       Toth also remains affiliated with Aquawood, doing business as “Epic Studios.”

                            iii. The Executives Have Helped the Enterprise Import, Store, and
                                 Distribute SLB Products.

          128.       During the time that Toth has played various leadership roles at MTD, Toy

    Network, MGS, and Toy Box, Wu has been the owner and President of Dollar Empire.

          129.       At Chan’s request, Toth and Wu directed the SLB Companies that they oversaw

    to purchase SLB Products from other SLB Companies, including Manley and Toy Quest Ltd.

          130.       At Chan’s request, Toth and Wu directed the SLB Companies that they oversaw

    to store domestic inventory of SLB Products in SLB Company warehouses in the United States.

          131.       At Chan’s request, Toth and Wu directed the SLB Companies that they oversaw

    to help the SLB Enterprise import SLB Products by serving as transshipment points and/or

    falsely claiming that their companies were “consignees” of other SLB Companies.

          132.       By 2014, at Toth’s direction, MTD helped the SLB Enterprise import SLB

    Products into the United States from Hong Kong by allowing the SLB Enterprise to designate

    MTD as a recipient or “consignee” for shipments of SLB Products. The SLB Enterprise sent

    SLB Products to MTD in Iowa, where they could then be distributed to actual customers in the

    United States.




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           315.    In addition to purchasing, storing, and distributing SLB Products, MTD

allowed itself to be designated as a recipient or “consignee” of SLB Products and serve

as the importer of record, thereby masking the actual purchasers of the products.

           316.    133. In 2015, MTD moved to Des Moines Iowa, andMTD continued to allow

the SLB Enterprise to designate it as a recipient or consignee. MTD continued to receive

products from the SLB Enterprise, which were sent on to actual customers in the United

States,perform this function even after MTD ostensiblyit allegedly had ceased doing

business.

           134.    After Aviva and the Iowa victims obtained judgments against MTD, Wu allowed

    SLB Companies, including Banzai International, to ship hundreds of tons of SLB Products with

    Dollar Empire listed as the recipient or consignee, starting no later than 2016.

                            iv. Lawyers and Law Firms Have Protected the Enterprise through
                                Sham Litigation.

           135.    Alan Chan, Dubinsky, and Aquawood have helped the SLB Enterprise keep assets

    away from creditors by utilizing attorneys and law firms willing to advance sham positions and

    litigation for the right price.

           136.    The Minnesota Federal Court found, for example, that Manley’s attorneys “too

    often acted as passive conduits of Manley’s indefensible positions and statements… [and] on

    occasion compounded Manley’s misguided behavior with their own.”

           137.    Monte Mann is an attorney at Novack & Macey LLP (“Novack”), which is a law

    firm based in Chicago, Illinois.




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          138.    Novack has shielded the SLB Enterprise from American creditors for many years.

    Novack, and Mann in particular, has represented Manley, Toy Quest Ltd., and Aquawood in

    multiple actions across the country over the years.

          139.    In these lawsuits, Dubinsky often has acted as the “litigation agent” for various

    members of the SLB Enterprise.

          140.    Alan Chan has also directed litigation on behalf of the SLB Enterprise.

          141.    Chan has coordinated these litigation activities with members of the enterprise

    including Alan Chan, Dubinsky, and a person who has hidden behind the fictitious identity of

    “Gary Swerdlow” in a sworn court filing.

          142.    For the sake of furthering ulterior and nefarious purposes, as discussed in Section

    II.D, these Defendants have helped the SLB Enterprise abuse legal process.

          C.      Thanks to the Principals’ Unethical Business Practices and the SLB
                  Companies’ Flexible Corporate Structures, the SLB Enterprise Has Escaped
                  Liability in U.S. Courts for Many Years.

          143.    Central to the SLB Enterprise’s business model is its ability to sell products in the

United States continuously while evading American creditors.

          144.    Undeterred by lawsuits, judgments, or determined creditors, the SLB Enterprise

    has used its common resources, including a complex tangle of interchangeable trade names and

    companies with overlapping addresses, accounts, and personnel, to enable the enterprise to

    simultaneously earn profits in the United States without being subjected to the consequences of

    U.S. judgments.

          145.    As a judge in the United States Bankruptcy Court for the District of New Jersey

    (the “Bankruptcy Court”) acknowledged with reference to Manley’s petition for recognition of




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    its voluntary Hong Kong liquidation,1 Manley’s “actions in various courts in the United States

    appear to have been improper.”

          146.    Moreover, the Minnesota Federal Court has noted that Chan, Liu, and Dubinsky

    have featured in several “alarming” communications over the years that demonstrate their

    willingness to hide, destroy, and falsify documents “to avoid and thwart litigation.”

                  1.      To Evade Creditors, the Enterprise Plays What Courts Have Termed
                          “Corporate Entity Three Card Monte” and a “Shell Game.”

          147.    For years, the SLB Enterprise has changed company names, destroyed evidence,

    and committed other deceitful acts, all in order to avoid liability.

                          a.      The Enterprise Has a Modus Operandi of Replacing One SLB
                                  Company with Another in Name Only.

          148.    For example, the SLB Enterprise dissolved SLB Toys in 2006 and immediately

    replaced it with Aquawood.

          149.    The purpose of replacing SLB Toys with Aquawood was not due to a change in

    location, employees, or business purpose.

          150.    Rather, the SLB Enterprise transferred business and assets to Aquawood in order

    to evade a U.S. judgment that the toy company Wham-O, Inc. had obtained against SLB Toys.

          151.    Even though SLB Toys had been replaced in name by Aquawood, the same

    employees continued to operate out of the same offices and performed the same role in helping

    the SLB Enterprise selling SLB Products in the United States.




1
  The Bankruptcy Court ultimately decided to recognize Manley’s liquidation in Hong Kong pursuant to
11 U.S.C. § 1501 et seq., meaning that the Bankruptcy Stay will remain in place unless and until further
action is taken by the Bankruptcy Court or an appellate court. That recognition decision has been
affirmed by the United States District Court for the District of New Jersey; Aviva intends to appeal that
recognition ruling.
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          152.      As one former employee of two SLB companies would later testify, “When I

    inquired as to why the formal name of the company was being changed, I was told by [a

    manager] that the company was being sued so changing the name would permit them to

    continue to conduct business.”

                           b.     The Enterprise Conceals, Falsifies and Destroys Evidence in
                                  Order to Avoid Lawsuits.

          153.      In 2006, Manley personnel expressed concern about which address should be

    placed on SLB Products sold under other names, including “Toy Quest,” because “[l]awsuits

    will chase to the address.” Dubinsky responded that the companies should not use the Hong

    Kong address, and Chan and Dubinsky ultimately decided not to use any address.

          154.      Shortly thereafter, Liu emailed Dubinsky to recommend a cover-up that would

    save money on royalty payments to Six Flags, noting that “we should change all the description

    to no six flag. in that cans [sic] if six flag come and audit they search nothing from the

    computer record.” Dubinsky responded that “I told u guys to prepare a fire for all the

    documents . . . seriously . . . also, destroy [SLB Enterprise employee’s name] notes and contact

    information.”

          155.      Several months later, while e-mailing Chan about lawsuits against various SLB

    Enterprise companies, Dubinsky asked “[i]s it possible to make up a shipping invoice[?] . . . .

    Don’t worry, I promise you wont get deposed this time . . . I am much smarter now . . . .” In

    response to Chan’s concern about whether MTD had sent shipments during the relevant time

    period, Dubinsky said that “[t]hey did not . . . . I have to make it up,” but he reassured Chan,

    “Don’t worry, it wont turn to any issue—I have already thought it through—as they cant check

    mtd records or subpoena.”




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                             c.     Courts in At Least Four Jurisdictions Have Seen through the
                                    Enterprise’s Charade.

           156.     In recent years, courts have taken note of the SLB Enterprise’s maneuvers to

    evade liability.

           157.     As noted in a 2009 complaint filed against Manley for unpaid legal fees by the

    attorney who represented Manley in the Wham-O case, a federal district judge in California who

    was presented with limited evidence of the enterprise’s corporate maneuvering described it as a

    “shell game.”

           158.        In 2015, a federal district judge in Iowa recognized the same “shell game” being

    played by MTD and other members of the SLB Enterprise in civil rights litigation brought by

    one of the Iowa victims.

           159.     That same year, an appellate court presiding over a related case brought against

    Manley and Toy Quest Ltd. in Iowa state court concluded that:

                    [Manley and Toy Quest Ltd.], their related companies, and the interrelated
                    management of these companies are engaged in corporate entity three-card
                    monte for the sole purpose of evading service of process and evading potential
                    liability for their conduct . . . The principals and owners of the related companies
                    are largely the same. As found by the district court in the related federal case [in
                    the Southern District of Iowa], ‘There is no dispute that many, if not all, of the
                    defendant corporations are closely related, and that many of the same individuals
                    are involved in their ownership and daily management…. It also is clear that the
                    corporations use many of the same employment forms and documents, transfer
                    employees back and forth, and perform both activities in a lackadaisical fashion.

           160.     Taking note of how the Defendants have abused the corporate form to avoid

    answering to U.S. courts, the Minnesota Federal Court found no “meaningful distinction”

    between Manley, Toy Quest Ltd., and Aquawood.

           317.     Cash flow generated by MTD, Toy Network, and other SLB Companies in

Iowa generally went back to Hong Kong.


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             7.     Jun Tai and Winning

      318.   Jun Tai and Winning are purported affiliates of Manley.

      319.   Jun Tai and Winning unsuccessfully moved to intervene in Aviva’s

Lanham Act lawsuit after Aviva moved for monetary and injunctive sanctions for

Manley’s violation of this Court’s order to respond to Aviva’s post-judgment discovery.

      320.   Aviva has been unable to locate Jun Tai and Winning to serve them with

the Complaint in this matter. Even though Toy Quest Ltd. hired and paid for their lawyer

and Dubinsky served as their litigation agent, Toy Quest Ltd. and Dubinsky claim they

have no documents containing contact information for Jun Tai and Winning.

II.   Defendants Have Cheated Aviva and Other Judgment Creditors through a
      Massive Web of Lies, Deceptions, and Corporate Abuses.

      A.     Defendants Have Concealed and Destroyed Evidence to Keep It Away
             from Judgment Creditors Like Aviva.

             1.     Courts in Minnesota and Elsewhere Have Concluded that
                    Defendants Hide Information to Evade U.S. Judgments.

      321.   As discussed above, Aviva has pursued expansive discovery to obtain

information about the SLB Companies’ operations and assets. The Iowa Claimants

likewise have sought considerable discovery on similar topics.

      322.   These efforts have met with very limited success, because the Defendants

have attempted to block discovery at every turn. Among other tactics, the Defendants

have refused to answer discovery; filed meritless motions to quash nonparty subpoenas;

claimed that key individuals, entities, and documents are in Hong Kong and thus outside

the reach of U.S. courts; created entirely new companies to take possession of and


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conceal documents; and used Manley’s liquidation proceedings to render other key

documents inaccessible.

      323.     Even when the Defendants were forced to provide discovery, they

frequently lied in their responses and improperly withheld documents and information.

       324.    According to the Liquidators, the Chan Defendants took control of many

Manley documents and refused to give them to the Liquidators or Manley creditors. In

addition, according to the Liquidators, certain members of the “committee of inspection”

for the liquidation (e.g., Toy Quest Ltd.) directed the Liquidators to destroy the Manley

documents that had been turned over to the Liquidators at the conclusion of the

liquidation.

      325.     It took years of diligent investigation after its judgment against Manley was

entered for Aviva to gather enough information to realize that it was the victim of a

RICO judgment evasion scheme and to file this Complaint.

      326.     Many of the details of the Defendants’ fraudulent scheme still are unknown

to Aviva.

       327.    Defendants’ criminal judgment evasion effort cannot be explained away as

mere mistakes, sloppiness in record keeping, aggressive litigation tactics, or some sort of

string of unfortunate business failures. Defendants plainly understood the impact that

their misconduct would have on Aviva and other judgment creditors, as shown by their

prior behavior and courts’ responses to it.




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      328.    Defendants’ litigation misconduct has resulting in a series of scathing

rulings by this Court and courts in Iowa.

                     a.     Rulings in Aviva’s Case in the District of Minnesota

       329.   Aviva’s default judgment against Manley was itself the result of Manley’s

violations of numerous discovery orders. This Court (Mayeron, J.) described Manley’s

misconduct as a “cautionary tale” about a company that “has intentionally disobeyed

every Order, has never offered any viable excuse for its willful conduct, and … very

clearly believes that compliance with the Orders of this Court is optional.” Aviva Sports

Inc. v. Fingerhut Direct Marketing, 2013 WL 449775, at *1, 17 (D. Minn. Jan. 8, 2013).

       330.   Such misconduct included refusing to provide discovery responses and

documents despite multiple orders compelling production, failing to pay sanctions

awards, a willful effort to multiply the costs of discovery by intentionally producing

non-responsive documents that cost Aviva more than $500,000 to copy and translate, and

improperly shipping documents from California to China to drive up Aviva’s costs, hide

documents, or both. See Aviva Sports, 2013 WL 449775, at *5, *7, *33.

       331.   This Court (Ericksen, J. & Mayeron, J.) found many of the Defendants

here, including Dubinsky, Samson Chan, and Alan Chan, responsible for Manley’s

misconduct. See ECF 722, 737, 822, Aviva Sports, Inc. v. Fingerhut Direct Mktg, Inc.,

No. 0:09-cv-1091 (D. Minn.) (Aviva I).

       332.   The Court (Ericksen, J.) noted that “the record contains alarming evidence

of Dubinsky’s deceptive attempts to avoid and thwart litigation—including evidence



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suggesting evasion of service of process and encouraging the intentional destruction and

falsification of documents.” ECF 822 at 8 n.8, Aviva I.

      333.   161. The Minnesota Federal Court also found no “meaningful distinction”

among Manley, Toy Quest Ltd., and Aquawood, and that Dubinsky and Samson Chan

played key roles in those companies. That ruling was issued when the court accepted

Aviva’s argument that the conduct of Manley’s U.S.-based advertising designers working

under Dubinsky should be attributed to the companyManley, even though the

companyManley asserted that designers Rachel Harris and Peter Kallemeyn were

notmerely employees of ManleyAquawood:

             Manley has previously attempted to diminish the value of
             Harris’s and Kallemeyn’s testimony by asserting that they are
             not Manley employees, but rather employees of an entity
             known as Aquawood. Harris, however, testified that she
             worked for Manley, Toyquest or possibly Aquawood—using
             the names interchangeably. Kallemeyn believed he worked
             for Toyquest, but that Toyquest was owned by Manley.
             Kallemeyn explained that the employees “didn’t have a full
             understanding of what was . . .… really going on with all the
             different names and such.” Kallemeyn Dep. 93:14-17. It is
             evident that not even the employees of the company were
             aware of any meaningful distinction between the various
             entities. Nor does there appear to be any meaningful
             distinction. For example, some documents identify Samson
             Chan as the president of Manley, while others identify Mr.
             Chan as the president of Toyquest. Other documents,
             however, identify an individual named Brian Dubinsky as the
             president of Manley, while yet others identify Mr. Dubinsky
             as the president of Toyquest. Dubinsky stated in one of his
             declarations that “ToyQuest is a d/b/a of Aquawood.”
             Dubinsky Decl. ¶ 2 (ECF No. 134). But Aviva has shown,
             and this Court has already determined, that Toyquest is
             actually a division of Manley. See, e.g., November 24, 2010
             Order (ECF No. 250). Manley owns the Toyquest mark and
             included images of Banzai products to support its trademark
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              application. Manley and Toyquest have also provided on
              numerous occasions identical addresses in California and in
              China, and appear to even be insured under the same
              insurance policy (as is Aquawood). The record also suggests
              that Aquawood’s sole source of financing is Manley in China:
              Manley pays Aquawood’s bills.

Id. at 7-8.

       334.   After entering the default judgment, this Court (Ericksen, J.) also

sanctioned Manley for violating post-judgment discovery orders. ECF 1087, Aviva I.

                     b.     Rulings in Aviva’s Case in the Southern District of Iowa.

       335.   Aviva subsequently obtained a default judgment in the Southern District of

Iowa against MTD after MTD failed to respond to garnishment interrogatories.

       336.   162. When denyingYears later, the Southern District of Iowa (Adams, J.)

denied MTD’s motion to set aside Aviva’s judgment against MTD, a federal district judge in

Iowa. The court explained that it was “trouble[d]” by “the indicia of bad faith” by the

enterprise’s conductMTD and its affiliates, including “troubling evidence of potential

destruction and/or falsification of evidence” as well as evidenceand indications that the

enterprisebusiness “changes corporate names whenever it incurs a significant debt or

judgment against it.” Oct. 12, 2018 Order at 14-15, ECF 40, Aviva Sports, Inc. v.

Fingerhut Direct Mktg, Inc., No. 4:15-mc-000434 (S.D. Iowa).




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                  2.     The SLB Enterprise Is at Risk of Losing Millions of Dollars Due to
                         Judgments Against SLB Companies.

                         a.      SLB Companies Have Been Found Liable for Deceptive Trade
                                 Practices and Unfair Competition.

           163. In 2009, Aviva sued Manley in the Minnesota Federal Court for unfair

    competition, deceptive trade practices, and patent infringement. Aviva, which also sold

    inflatable water toys, alleged that Manley had shrunk the images of children depicted in its

    promotional materials to make its water slides appear larger than they actually were.

           164. More than four years of litigation ensued. Manley launched a relentless campaign

    to obstruct discovery, hide and destroy evidence, and drive up costs.

           165. Manley also blatantly defied at least seven court orders.

           166. As a sanction for Manley’s protracted and willful contempt of court and after

    repeated warnings, the Minnesota Federal Court ultimately awarded Aviva an $8,588,931.59

    default judgment against Manley in August 2013.

          337.    MTD continued to litigate in the Southern District of Iowa in an effort to

overturn Aviva’s default judgment even though MTD did not appear in this case and

asserts for other purposes that it is not operational.

          338.    In February 2021, the Southern District of Iowa vacated Aviva’s judgment

against MTD for procedural reasons. Specifically, the court ruled that the magistrate

judge should have filed a report and recommendation for the district judge’s review

rather than an order and judgment. Feb. 3, 2021 Order at 2-3, ECF 71, Aviva Sports, Inc.

v. Fingerhut Direct Mktg, Inc., No. 4:15-mc-000434 (S.D. Iowa).




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          339.    167. In January 2016, the United States District Court forThe court made clear

that vacating the MTD judgment “does not in any way affect the judgment against

Manley Toys, Ltd. that was created in the Southern District of Iowa issuedby the Iowa

judgment, which found MTD jointly and severally liable for Aviva’sregistration of the

Minnesota judgment against Manley.

                         b.      SLB Companies Have Been Found Liable for Sexual
                                 Harassment and Sex Discrimination.

          168.    In 2010, MTD, Aquawood (as the successor to SLB Toys), Toy Network, Nor

does it affect the previous order granting Plaintiff’s motion to compel [ECF 9] and

another Manley affiliate (collectively the “Sexual Harassment Debtors”) were sued by the Iowa

victims, each of whom had suffered sexual harassment and sex discrimination while working for

SLB CompaniesDirect’s failure to comply with that order.” Id.

           169. In August 2015, a lawsuit brought by an Iowa victim who had been

                         c.      Rulings in the Iowa Claimants’ Cases

          340.    The civil actions and litigation leading up to the Iowa Claimants’ judgments

likewise were marked by egregious misinformation campaigns, discovery abuses, and

delay tactics on the targetpart of discriminatory behavior and civil rights violations went to

trialseveral Defendants, both in the Southern District of Iowa and in Iowa state court.

           170. Based on the extreme harassment and discrimination, which is described more

    fully below, the jury found the Sexual Harassment Debtors jointly and severally liable for

    millions of dollars in punitive and compensatory emotional damages. The jury’s original award

    of damages later was reduced to comply with the statutory cap on punitive damages available




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    under Title VII and precedent regarding emotional damages. See Order, Rennenger v. Manley

    Toy Direct, LLC (“Rennenger”), ECF 414, No. 4:10-cv-00400-JEG-RAW (S.D. Iowa Sept. 29,

    2015).

             171. An Iowa state court jury then found against the Sexual Harassment Debtors and

    awarded more than $900,000 to another of the Iowa victims.

             172. After those verdicts, the Sexual Harassment Debtors agreed to confessions to

    judgment for three of the remaining Iowa victims, and a default judgment was awarded to the

    fifth Iowa victim. Those judgments were entered in the following amounts in the following

    matters:




Matter                                               Prevailing Party and Amount of Judgment
Iowa District Court in and for Warren County,
Case No. LACV 032912
Tammy Ackelson v. Manley Toy Direct L.LC.,
Toy Network L.L.C.,                                  Ackelson - $912,000.00
SLB Toys USA, Inc. d/b/a Toy Quest, Toy
Quest, LTD., Aquawood,
L.L.C. d/b/a Toy Quest, AW Computer
Holdings, Inc.
Iowa District Court in and for Warren
CountyCase No. LACV032931
                                                     Miller - $150,000.00
Robin Lynn Drake and Heather Miller v.
Manley Toy Direct, L.L.C., Toy Network,
                                                     Drake - $150,000.00
L.L.C., SLB Toys USA, Inc. d/b/a Toy Quest,
Aquawood L.L.C. d/b/a Toy Quest, and AW
Computer Holdings, L.L.C.




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United States District Court for the Southern
District of Iowa, Case No. 4:10-cv-00400
Danielle Rennenger v. Manley Toy Direct
L.L.C., Toy Network L.L.C.,
SLB Toys USA, Inc. d/b/a Toy Quest, Toy          Rennenger - $1,056.000.00
Quest LTD, Aquawood,
L.L.C. d/b/a Toy Quest, AW Computer
Holdings, L.L.C.

United States District Court for the Southern
District of Iowa, Case No. 4:10-cv-00401
Ammee Roush v. Manley Toy Direct L.L.C.,
                                                 Roush - $150,000.00
Toy Network L.L.C., SLB Toys USA, Inc. d/b/a
Toy Quest, Toy Quest LTD., Aquawood,
L.L.C. d/b/a Toy Quest, AW Computer
Holdings, Inc.


       341.    In 2015, the Iowa Court of Appeals observed in Ms. Ackelson’s case that

Manley, Toy Quest Ltd., “their related companies, and the interrelated management of

these companies are engaged in corporate entity three-card monte for the sole purpose of

evading service of process and evading potential liability for their conduct.” Ackelson v.

Manley Toys Ltd., 871 N.W.2d 520,*2 (Iowa Ct. App. 2015).

       342.    That court noted that “[t]he principals and owners of the related companies

are largely the same,” that “many, if not all, of the defendant corporations are closely

related,” that “many of the same individuals are involved in their ownership and daily

management,” and that “the corporations use many of the same employment forms and

documents, transfer employees back and forth, and perform both activities in a

lackadaisical fashion.” Id.




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       343.    In 2016, the Southern District of Iowa (Gritzner, J.) similarly found in Ms.

Rennenger’s case that it was “inescapable that Defendants created impediments to the

investigation, discovery and trial preparation of the case which justifiably required

counsel for Plaintiff to expend substantially more time and effort than should have been

necessary.” July 7, 2016 Order at 4, ECF 415, Rennenger v. Manley Toy Direct LLC, No.

4:10-cv-400 (S.D. Iowa) (“Rennenger I”). The court continued: “Both in their conduct

pretrial and in testimony during the trial, Defendants engaged in an intentional pattern of

obfuscation and non-cooperation that appears to have been difficult for counsel on both

sides.” Id. at 4 n.2.

       344.    In 2017, the Southern District of Iowa (Walters, J.) denied Toy Quest Ltd.’s

motion to quash Ms. Renneger’s post-judgment discovery and explained that the conduct

of the defendants in that case justified extensive judgment enforcement discovery. See

Mar. 17, 2017 Order, ECF 452, Rennenger I.

       345.    The court held that, “[g]iven this history of, call it what you will –

‘three-card monte,’ obfuscation, noncooperation, stonewalling, deception or concealment

– from the beginning to end of litigation it is reasonable to expect defendants, including

[Toy Quest Ltd.], directly or through other affiliated companies, to use almost any means

to avoid paying Ms. Rennenger what is owed to her.” Id. at 12.

       346.    The court also observed that “Defendants’ participation in this litigation has

been characterized by a pattern of dodging and weaving to avoid legal responsibility for

their actions.” Id. at 9. The court noted that the “obfuscation continues,” describing how



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Toth received orders to shut down Toy Network and form MGS days after Ms.

Rennenger’s jury verdict against Toy Network. Id.

             2.     Aviva’s Efforts to Obtain Information about SLB Companies

      347.   The information presented in Aviva’s Complaint took years to gather.

      348.   For years, Aviva has pursued substantial party and non-party discovery to

obtain information about the SLB Companies’ operations and assets.3 But Defendants

vigorously fought Aviva at every turn—defying court orders when necessary.

      349.   As a result, Aviva did not learn until July 2015 that Defendants frequently

were mislabeling Manley assets as “Toy Quest Ltd.” assets.

      350.   Little by little, as retailers provided bits of information that the SLB

Companies themselves were withholding, a fuller picture emerged.

      351.   In 2016, with the Manley bankruptcy filing and MTD corporate dissolution,

it became apparent that the Principals and the SLB Companies had not merely disguised

or hidden Manley and MTD assets; the Principals and SLB Companies had rendered

Manley and MTD assets completely inaccessible to creditors.




3
 See, e.g., Case No. 3:15-mc-15 (M.D. Tenn.) (Dollar General Corp.); Case No.
3:15-mc-103 (N.D. Tex.) (Michaels Stores, Inc.); Case No. 1:15-mc-026 (E.D. Va.)
(Dollar Tree, Inc.); Case No. 2:15-mc-46 (S.D. Ohio) (Big Lots, Inc.); Case No.
2:15-mc-7893 (C.D. Cal.) (Aquawood); Case No. 4:15-mc-040 (S.D. Iowa) (MTD); and
Case No. 5:15-mc-1025 (W.D. Tex.) (HEB Grocery Co.); ECF 25, 26, 68, 69, 80, 115,
192, 222, Notices of Subpoenas, Discovery, and/or Motions to Compel, In re Manley
Toys Ltd., No. 16-15374 (Bankr. D.N.J.); Order Denying Aquawood’s Motion to Quash
Subpoena to Jet.com, ECF 20, Aquawood, LLC v. Aviva Sports, Inc., No. 17-cv-01726
(D.N.J. May 9, 2017); Orders, ECF 23, 25, 34, 48, 54, 61, 62, 68, Aviva Sports, Inc. v.
Manley Toys Ltd. (In re Subpoena to Dollar Empire LLC)¸ No. 17-mc-00099 (C.D. Cal.).
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       352.   And over the following years, it became apparent—from inconsistent

statements by the Chans and Wu, from Dubinsky’s own confession, and from a close

analysis of the documents obtained from diverse sources—that Defendants were engaged

in a massive criminal scheme.

       353.   Even now, however, many of the precise details of Defendants’ criminal

acts remain hidden.

       354.   After November 6, 2014, when the Federal Circuit issued its mandate

denying Manley’s appeal and Aviva’s judgment became final, Aviva engaged in fairly

routine judgment collection efforts, attempting to garnish funds from large retailers

including Target, Fingerhut, Wal-Mart, and Kmart.

       355.   Though the retailers had all conducted business with Manley,

representatives from Target, Fingerhut, Wal-Mart, and Kmart reported that they had no

garnishable funds. For example, Kmart stated that it had ceased doing business with

Manley and instead entered into a contract with a new entity called Toy Quest Ltd.

       356.   The retailers made these statements due to “Toy Quest Ltd.’s” material

false representations, as discussed below.

       357.   Based on the statements by retailers, Aviva relied on “Toy Quest Ltd.’s”

material misrepresentations and did not garnish funds that were listed as payable to Toy

Quest Ltd.

       358.   In July 2015, Aviva obtained documents showing that certain Manley

transactions had been mislabeled as “Toy Quest Ltd.” transactions.



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       359.   At that point, Aviva became more aggressive in trying to determine the true

nature of specific transactions and trying to garnish funds that really belonged to Manley

but were recorded as belonging to Toy Quest Ltd.

       360.   Aviva served discovery, garnishment interrogatories, and/or writs of

execution on Manley, Aquawood, and other Manley business partners.

       361.   On January 4, 2016, Aviva successfully obtained a judgment in the

Northern District of Texas for approximately $140,000 held by Michaels owed to

Manley.

       362.   On March 23, 2016, the U.S. Bankruptcy Court for the District of New

Jersey (the “Bankruptcy Court”) stayed all proceedings against Manley and its assets and

Aviva was precluded from obtaining more information from retailers and distributors.

       363.   At that point, Aviva sought information from Manley’s Liquidators. But

Manley’s Liquidators resisted many of Aviva’s discovery requests. They also stated that

they themselves lacked many of Manley’s documents, as discussed below.

       364.   In October 2016, Aviva also sought and obtained stay relief that, among

other things, allowed it to resume pursuing discovery from retailers and distributors.

       365.   That resulted in a drawn-out dispute with Dollar Empire from July 2017

through May 2018 (described below), during which Wu gave multiple inconsistent

statements about imports by Manley, Toy Quest Ltd., and Banzai International, and

Aviva filed multiple motions to compel.




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       366.    While Dollar Empire and Wu never gave a coherent account of their

dealings with the SLB Companies, they did provide sufficient information to establish

customs fraud and other frauds involving shipments to and through the SLB Companies

in Iowa.

       367.    Ironically, a major link in the chain of proof of the SLB Enterprise’s

criminality became known to Aviva not during formal discovery but during a

conversation following a September 7, 2017 deposition, which was taken in connection

with Aviva’s motion for sanctions against Toy Quest Ltd. for violating the bankruptcy

stay. That is when Dubinsky made his “one step ahead” confession.

               3.     Dubinsky, Liu, and Samson Chan Falsified and Destroyed
                      Documents to Avoid Liability.

       368.    Some of the evidence that this and other courts have found “alarming” and

“troubling” are emails in which Dubinsky, Liu, and Samson Chan graphically discuss

fabricating and burning records to ensure that nothing would be left for creditors to

discover in a litigation.

       369.    In 2006, Manley personnel expressed concern about which address should

be placed on SLB Products sold under other names, including “Toy Quest,” because

“[l]awsuits will chase to the address.” Dubinsky responded that the companies should

not use the Hong Kong address, and Samson Chan and Dubinsky ultimately decided not

to use any address.

       370.    Shortly thereafter, Liu emailed Dubinsky to recommend a cover-up that

would save money on royalty payments to Six Flags, noting that “we should change all


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the description to no six flag. in that cans [sic] if six flag come and audit they search

nothing from the computer record.” Dubinsky responded that “I told u guys to prepare a

fire for all the documents … seriously … also, destroy bobo notes and contact

information.”

          371.    Several months later, while discussing still more lawsuits against various

SLB Companies, Dubinsky asked “[i]s it possible to make up a shipping invoice[?] ….

Don’t worry, I promise you wont get deposed this time … I am much smarter now ….”

In response to Samson Chan’s concern about whether MTD had sent shipments during

the relevant time period, Dubinsky said that “[t]hey did not …. I have to make it up,” but

reassured Chan, “Don’t worry, it wont turn to any issue—I have already thought it

through—as they cant check mtd records or subpoena.”

          B.      c. The Principals Keep the EnterpriseDefendants Play Corporate Shell
                  Games to Stay “One Step Ahead” of the SLB Companies’Judgment
                  Creditors.

           173. Neither Manley nor any of the Sexual Harassment Debtors have voluntarily paid a

    penny of the millions of dollars in judgments held by Aviva and the Iowa victims.

           174. To the contrary, the SLB Enterprise has vigorously fought to stop judgment

    creditors from collecting on their judgments by transferring businesses and assets from one SLB

    Company to another, pursuing vexatious litigation against creditors, and even causing one SLB

    Company to enter a sham liquidation.

           175. According to Dubinsky, the Principals are very adept at moving around assets and

    business relationships so that their international network of corporations can continue to sell

    products in the United States without having any assets seized.



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             176. Indeed, Dubinsky openly declared to Aviva’s counsel that Aviva had “no chance”

    of recovering anything of significant value from him, the Chan family, or their various

    companies because the Principals “always will stay at least one step ahead of” judgment

    creditors.

             177. To accomplish this goal, the RICO Defendants have conducted a pattern of

    racketeering that continues to this day.

II.        Defendants’ Illegal Conduct Has Sustained the SLB Enterprise.

           A.      Defendants’ Misconduct Has Enriched the SLB Enterprise while Injuring
                   Aviva and Others.

           178.    Each Defendant has committed federal crimes and/or tortious conduct to help the

    SLB Enterprise obtain and keep money that rightfully should have gone to American creditors

    who were not controlled by members of the enterprise (the “independent creditors”), including

    Aviva.

           179.    Individually and collectively, these federal crimes and tortious acts have deprived

    Aviva of its ability to collect on the Minnesota and Iowa judgments and caused Aviva to suffer

    additional damages, including the costs of litigation.

           B.      Defendants Have Conspired to Keep Assets from Independent Creditors by
                   Propagating Lies, Material Omissions and False Narratives about the Assets
                   and Operations of SLB Companies.

                   1.     Defendants Have Coordinated to Help the SLB Enterprise Evade
                          Liabilities and Cheat Independent Creditors Like Aviva.

           180.    In the face of mounting judgments and other liabilities arising from the SLB

    Enterprise’s unethical business practices, Defendants conspired to hide the SLB Enterprise’s

    assets from independent creditors. Their plan was expansive, complex and dynamic, spanning




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    multiple continents and states and involving innumerable businesses engaged in interstate and

    foreign commerce.

          181.    To carry out their plan, Defendants promulgated a series of false narratives

    designed to mislead customers, creditors, and courts, including the Minnesota Federal Court,

    into believing that SLB Companies, including Manley and MTD, had few if any assets and

    business and were unable to pay their respective creditors.

          182.    As complex as this scheme was, its overarching and unlawful goal was simple: to

    deprive independent creditors of money they were due.

                  2.     Various Members of the SLB Enterprise Conspired Together

          372.    As courts in Minnesota and elsewhere have observed, the Principals and

Executives have a history of switching SLB Companies to conceal revenue and other

assets to evade judgments.

          373.    As needed, the Principals and Executives fund such companies or

undercapitalize them.

          374.    If a company has a judgment entered against it, the Principals and

Executives strip it of value while allowing the enterprise to continue to profit.

          375.    The Principals and Executives played this corporate shell game, for

example, with SLB Companies in Hong Kong. They have also played it with MTD, Toy

Network, and MGS.

          376.    While the names of these companies may have changed, the brand name of

the SLB Products they sell, including “Banzai” and “Tekno,” generally have remained the




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same. The companies also use the same facilities and personnel to sell the products to the

same retailers.

               1.     As Judgments Piled up, the Principals Shifted Business from
                      One Hong Kong Company to Another.

        377.   A prime example of the Principals’ corporate shell game is their sequential

looting of Manley and Toy Quest Ltd.

        378.   For years, Manley engaged in hundreds of millions of dollars in U.S.

transactions by selling tens of thousands of tons of SLB Products.

        379.   But when judgments against Manley became a problem, the Principals and

other Defendants acted to hide and disguise Manley assets and eventually liquidated

Manley, transferring its business and assets to other SLB Companies to Maintainprotect

the SLB Enterprise’s Control of Manley’s Assets and Business Using Defendant Toy Quest

Ltd.

        183.   The Principals’ manipulation of Manley’s assets and business exemplifies the

ways in which all Defendants have used the SLB Enterprise to victimize independent creditors

with widespread deception. for the Principals’ benefit. They did so by lying repeatedly to

retailers, courts, Manley’s Liquidators, customs officials, and others, as explained in

more detail below.

        380.   Manley’s business initially went to Park Lane and Toy Quest Ltd., and from

there to Banzai International and other SLB Companies.




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                       a.     Shift from Manley to Toy Quest Ltd. and Park Lane

       381.     184. Before the Minnesota Federal Court entered judgment for AvivaFor many

years, Manley used the trade names “Manley Toys Ltd.,” “ToyQuest,” “Toy Quest,” and

“Toy Quest Ltd.” interchangeably.

       382.     a) For example, Manley filed a registration for the “ToyQuest” trademark in

2008, stating that it had been using the mark since 1996. As part of its trademark

application, Manley included several “specimens” showing its use of the “ToyQuest” mark,”

including invoices, packing lists, and other form documents reflectingshowing its use of

the “ToyQuest” and “Toy Quest Ltd.” names. Some of thesethe documents explicitly

identifieddescribed Toy Quest as a “Division of Manley.”

       383.     b) Likewise, Manley also promoted its products on the website

www.toyquest.com. A 2006 press release from www.toyquest.com stated that “Manley

ToyQuest” was ranked the seventh largest toy manufacturer in the United States.

       384.     185. In 2013, faced with the specter of tens of millions of dollars of liability

arising from litigation, including Aviva’s $8.5 million judgment, the Principals and their

agents decided to use the trade name “Toy Quest Ltd.” to exploit the separate existence of

a separate SLB Company—Defendant Toy Quest Ltd.

       a)       Defendant Toy Quest Ltd. was incorporated in Hong Kong in 1993 as “Manley

Fashion Limited.” It, which itself had changed its official name several times over.

       385.     At the next ten years, and ultimately emerged as the company called Toy Quest

Ltd. in 2004.




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       b)      Prior to 2013, Defendanttime, Toy Quest Ltd. had almost no sales in the

United States, while Manley sold tens of millions of dollars of products annually,

including products sold usingbearing Manley’s “ToyQuest” and,” “Toy Quest Ltd.,” and

“Banzai” trade names.

       386.    c) InBut in 2013, the Principals and their agents abruptly and drastically

reduced Manley’sthe use of the trade name “Manley,” suddenlyabruptly converting almost

exclusively to the trade name “Toy Quest Ltd.” to confuse retailers, hide Manley’s assets and

operations, and defraud independent creditors.

       186.    As part of their fraudulent scheme, the Principals and their agents, including Toy

Quest Ltd., falsely claimed to courts, retailers, and others that the business Manley conducted

under its “Toy Quest” and “Toy Quest Ltd.” trade names actually was conducted by Defendant

Toy Quest Ltd.

       187.    These material misrepresentations enabled members of the SLB Enterprise to

seize and keep Manley assets even after the Bankruptcy Court issued an Order Granting

Provisional Relief and Setting Further Hearing (the “Bankruptcy Stay”), which prohibited all

attempts to seize Manley assets.

       387.    The company Toy Quest Ltd. then started demanding payment of money

that was actually owed to Manley using its “Toy Quest Ltd.” trade name.

       388.    In 2016, when the transfer of assets from Manley to Toy Quest Ltd. was

complete and Manley was facing crippling import sanctions for its litigation misconduct

in the District of Minnesota (more on that below), the Principals liquidated Manley and

began doing business using Toy Quest Ltd.


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       389.   Toy Quest Ltd. continued to collect money owed to Manley, in violation of

the bankruptcy stay, and to make new sales, generally with the assistance of Park Lane.

       390.   The Principals formed Park Lane—another SLB Company operating in

Manley Towers, one floor away from where Manley used to be—less than a month

before liquidating Manley.

       391.   On or about March 17, 2016, less than a week before the liquidation, the

Principals reassigned nearly all of Manley’s employees to identical positions at Park

Lane. Liu and Alan Chan, for example, hold the same positions at Park Lane that they

held at Manley—“managing director” and “manager,” respectively.

       392.   The Principals created Park Lane to, among other things, drain Manley of

resources and assume possession of Manley’s documents, thereby keeping those

resources and documents away from Manley’s creditors and Liquidators but within the

control of the SLB Enterprise.

       393.   Park Lane employees continued to sell the same Manley products to the

same Manley customers, using their @manleyservices.com.hk email addresses.

       394.   Those same employees lied to retailers and other customers of the SLB

Enterprise, sometimes claiming to represent Toy Quest Ltd. and other times claiming to

represent Park Lane, depending on which audience the employees appeared before.

       395.   Many of those employees continue to sell the same products to the same

customers to this day, routing the SLB Products through facilities operated by MTD, Toy

Network, and/or MGS and conspiring with those Iowa Entities, Aquawood, Toy Quest



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Ltd., Banzai International, Dollar Empire, and other Defendants to conceal the

importation and ultimate destination of those products from Aviva and other creditors.

       396.   Thus, by approximately March 2016, Manley had transferred all or virtually

all of its business assets—including its business relationships, good will, product

inventory, intellectual property, right to receive proceedings from various transactions,

employees, and documents—to Toy Quest Ltd. or Park Lane.

       397.   Toy Quest Ltd. and Park Lane did not pay anything for these assets, let

alone equivalent value. There was no purchase agreement between Manley and Toy

Quest Ltd.

                     b.     Shift from Toy Quest Ltd. to Banzai International and
                            Other SLB Companies

       398.   Later in 2016, the Principals started using yet another company, Banzai

International, to make it easier to continue evading independent creditors like Aviva.

       399.   In July 2016, Toy Quest Ltd.’s purported assets were sold to a new

company, Banzai International.

       400.   The sale agreement between Toy Quest Ltd. and Banzai International was

not an arm’s length transaction. The purchase price was less than $2 million (US). Toy

Quest Ltd.’s purported assets—comprised primarily of the assets transferred from

Manley—were worth far more than $2 million. Manley stated in its 2013 insurance

application that its sales in 2013 were $49 million, and that its projected sales in 2014

were $39 million.




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       401.      The purchase agreement also contains multiple false representations and

warranties. For example, Toy Quest Ltd. represented that it was not engaged in, subject

to, or threatened by any litigation related to the “Banzai” brand business.

       402.      While the sale agreement was written to appear legitimate, both the

agreement’s low purchase price and its recitation of numerous obviously false

representations and warranties make plain that the agreement was a sham and was not the

result of a fair negotiation.

       403.      Like “Toyquest” and “Toy Quest Ltd.,” “Banzai” was a registered

trademark of Manley. “Banzai” also was the name of one of Manley’s leading toy lines.

       404.      Import records show the shift from Toy Quest Ltd. to Banzai International.

       405.      For example, between January and May 2016, Dollar Empire received over

one hundred shipments—weighing a total of more than 860 tons—from Toy Quest Ltd.

Starting in December 2016, however, Dollar Empire no longer received shipments from

Toy Quest Ltd. and instead began to receive shipments from Banzai International. Many

of these shipments from Banzai International contained exactly the same products—often

using the same names and packaging—as prior shipments from Toy Quest Ltd.

       406.      The last imports of Toy Quest Ltd. to the United States were in August

2016, around the same time that Toy Quest Ltd. supposedly sold its assets to Banzai

International.

       407.      Banzai International, on the other hand, has continued to import thousands

of tons of “Banzai” brand water toys to the United States, including more than 1,290 tons



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of merchandise in 2018, more than 1,570 tons of merchandise in 2019, more than 1,560

tons of merchandise in 2020, and more than 760 tons of merchandise so far in 2021.

       408.   The instruction manuals of many of the “Banzai” brand water toys listed on

Banzai International’s website have identified those products as “Toy Quest” products,

and many of the products were previously imported to the United States by Toy Quest

Ltd. Before that, the products were sold by Manley as “Manley,” “Toy Quest” and

“Banzai” products.

       409.   For example, in 2013 and 2014, the “Banzai” brand “Speed Curve Water

Slide” was sold to retailers such as Big Lots using the “Manley” name. That same toy

subsequently was imported to Dollar Empire and others by Banzai International and is

advertised on Banzai International’s website, but with an instruction manual containing a

“Toy Quest” logo.

       410.   SLB Companies also sell SLB Products other than “Banzai” brand products

using other trade names.

       411.   For example, Tekno (sometimes Teksta) robots, for example, were

originally sold under the “Manley” name and then the “Toy Quest” name, and now are

sold under the name “Genesis.” Genesis is another SLB Company controlled by the

Principals.

       412.   The “Manley Toy Quest Corporation” first registered the “Tekno the

Robotic Puppy” mark in 2001. Shortly before that mark was cancelled in 2008, Manley

itself filed to register the mark “Tekno” for use with “robotic toy dogs.” The owner’s



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manual for the original Tekno the Robotic Puppy identified it as a Manley Toy Quest

product.

       413.   The “Manley” name now has been removed from all “Tekno” brand

products.

       414.   Instead, Defendants shifted those products to the “Toy Quest” name, and

then to the “Genesis” name, as evidenced by the instruction manuals for Tekno products.

       415.   A July 2016 press release for Tekno Newborns stated that the Tekno

“franchise” belonged to Genesis, quoted Aquawood employee Magalhaes, and directed

inquires to an Aquawood email address, press@epic-studios.com.

       416.   SLB Companies continues to export hundreds of tons of Tekno products to

the United States, often without bothering to list a “shipper” and sometimes identifying

Genesis as the shipper.

              2.     As Judgments Piled up, the Principals Shifted Business from
                     One Iowa Company to Another.

       417.   Another prime example of the Principals’ corporate shell game is their

sequential opening and closing of Iowa companies involved in product storage, product

distribution, and customer service.

       418.   As the Iowa Claimants pursued their court cases, the Principals and Toth

began a game of “corporate three-card monte” in Iowa to try to shed liability and ensure

that the women would not be able to execute on any judgments they would obtain.




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       419.   In 2013, the Principals and Toth caused Toy Network to sell off its

amusement park and carnival novelty toy product inventory. They and others then sent

the proceeds from this sale, totaling $1.3 million, from Iowa to Manley in Hong Kong.

       420.   The Principals and Toth then transferred MTD’s assets and business

opportunities selling toys to retailers to Toy Network, sold the Indianola facility, and

moved MTD and Toy Network to Des Moines.

       421.   Later, to defraud Aviva and the Iowa Claimants, MTD falsely claimed to

the Southern District of Iowa that it had never operated in Des Moines or done business

at 700 New York Avenue in Des Moines, and could not have been served with legal

papers there. In fact, between April 2015 and July 2015 alone, MTD received at least a

dozen shipments from Manley and Toy Quest Ltd. at the Des Moines address.

       422.   Shortly after MTD and Toy Network moved to Des Moines, the Principals

and Toth caused them to cease to do business altogether.

       423.   MTD continues to litigate even though it is purportedly defunct. It has, for

example, retained counsel and attempted to vacate Aviva’s Iowa judgment against it

based on MTD’s misrepresentation, supported by false declarations from Toth and

another individual from Hong Kong, that MTD did not do business at 700 New York

Avenue in Des Moines. Plaintiff believes MTD’s legal bills are being paid by one or

more of the Hong Kong Entities.

       424.   In the place of MTD and Toy Network arose MGS, which continued to

operate out of the same facility, performing the same functions, distributing the same



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products, using the same equipment, operated by the same people, on behalf of the same

customers, as MTD and Toy Network.

       425.   The Principals and Toth created MGS—immediately after Ms. Rennenger’s

jury verdict—for the explicit purpose of protecting the SLB Enterprise from any

judgments obtained by the Iowa Claimants.

       426.   As the Southern District of Iowa described in Ms. Rennenger’s case in

2017, after recounting the Defendants’ long history of “dodging and weaving to avoid

legal responsibility for their actions,” within days of Ms. Rennenger’s jury verdict, Toth

“received instructions that he was no longer employed by Toy Network, but was now

general manager of a company called MGS International, L.L.C. doing much the same

thing he had been doing before—marketing and distributing Toy Quest products.”

       427.   MGS opened for business at 700 New York Avenue, Des Moines, using the

same workforce that MTD and Toy Network were using when they were shut down.

Those employees performed the same tasks under substantially the same working

conditions as they had for MTD and Toy Network. MGS used the same equipment as

MTD and Toy Network.

       428.   Toth was the General Manager of Toy Network when it purportedly closed,

and he became General Manager of MGS when it opened for business immediately

thereafter, making him the highest level U.S. employee of MGS. Throughout the

changes from MTD to Toy Network to MGS, Toth has retained the same place in the

SLB Enterprise, managing its day-to-day operations in Iowa.



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        429.   MGS handled the same “Banzai” brand water toys and other SLB Products

as MTD and Toy Network, and sold those products to the same retailers as MTD and Toy

Network. MGS also interacted with the same representatives of the Hong Kong Entities,

Aquawood, and Dollar Empire in the same way as MTD and Toy Network to coordinate

the distribution of goods from Iowa.

        430.   MGS insiders have admitted that the company changed in name only. One

day they were working for one company and the next day they were for working for

somebody else, but doing the same job.

        431.   Despite all of these facts, MGS has falsely claimed to courts in Iowa that it

is not the corporate successor to MTD and Toy Network.

               3.     The Principals Changed the Ownership of SLB Toys and then
                      Replaced It with Aquawood.

        432.   The Principals’ prior abuses of the corporate form confirm that their

switches from Manley to Toy Quest Ltd. to Banzai International and Park Lane, and from

MTD to Toy Network to MGS, were undertaken to evade judgments and not for

legitimate business purposes.

        433.   In 2006, for example, the Principals changed the ownership of SLB Toys

and then replaced it with Aquawood for the express purpose of evading judgments.

        434.   SLB Toys was registered at the Barry Avenue address in Los Angeles in

2003.

        435.   In 2006, Dubinsky changed the “50/50” ownership of SLB Toys from a

partnership between Samson Chan and Liu to a partnership between Alan Chan and Liu.


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       436.   Dubinsky told Samson Chan that he had taken this step “because of legal

issues due to Manley…. We don’t want the same ownership in both companies. I can

always add back later. If you have any issue, let me know.”

       437.   Dubinsky later explained that the “perception” of different ownership in

related companies avoids “the perception that they’re one in the same.”

       438.   In October 2007, SLB Toys was hit with a multi-million dollar judgment in

favor of Wham-o, Inc. for willful trademark infringement.

       439.   Instead of paying that judgment, SLB Toys closed its doors and then—in

what a California federal court actually called a “shell game”—reopened the next day as

Aquawood.

       440.   Even though SLB Toys had been replaced in name by Aquawood, the same

employees continued to operate out of the same offices and performed the same role in

helping SLB Companies sell SLB Products in the United States.

       441.   As a former employee of two SLB Companies would later testify, “When I

inquired as to why the formal name of the company was being changed, I was told by [a

manager] that the company was being sued so changing the name would permit them to

continue to conduct business.”

              4.     The Principals and Hong Kong Entities Have Admitted that the
                     Purpose of Their Shell Games Is to Evade Creditors.

       442.   As discussed above, Dubinsky has boasted that he, the Chans, and their

various companies will always stay “one step ahead” of creditors because they are so

adept at playing the corporate shell game.


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       443.   Communications between a Manley employee and Excelligence Inc.

(“Excelligence”) show that the Principals and the SLB Companies fully understood how

their corporate shell games would create a misleading paper trail and harm creditors.

       444.   In 2015, after Aviva garnished accounts payable to Manley by

Excelligence, Excelligence attempted to cancel a purchase order.

       445.   When Manley refused to cancel the order, Excelligence warned Manley that

it would comply with the garnishment.

       446.   In response, a Manley employee proposed that Manley circumvent the

garnishment by “deliver[ing] the goods through another company.”

       447.   After Excelligence reiterated its cancellation request, Manley again

suggested that Excelligence “ship this order by another company (rather than Manley

Toys Ltd.).” Excelligence refused.

       448.   Dubinsky himself has bragged about another example—involving Toys R

Us (“TRU”)—of how the Principals deliberately have used phony paper trails to dupe

creditors.

       449.   For years, SLB Companies sold SLB Products, including “Banzai” water

slides, to TRU.

       450.   In 2011, a jury in Massachusetts awarded the estate of Robin Aleo over $19

million in damages against TRU in a wrongful death lawsuit. Ms. Aleo had died when a

defective “Banzai” water slide collapsed, causing her to suffer fatal injuries.




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      451.   TRU spent years trying to collect money from Manley for its alleged breach

of an agreement to indemnify TRU for the judgment.

      452.   By 2012, TRU had made an express decision not to do business with the

Principals or any SLB Companies.

      453.   Knowing this, the Principals and Toth hid behind a new trade name to fool

TRU into continuing to do business with SLB Companies, and sold SLB Products to

TRU using the name “Toy Box.”

      454.   Toybox is an Iowa LLC formed by Toth using the Indianola facility

address, and MTD, Toy Network, Toybox, and MGS have operated alone and

collectively using the “Toy Box” name.

      455.   Each of the Hong Kong Entities, acting at the direction of the Principals

and working with Toth, Aquawood, MTD, Toy Network, and MGS, used the “Toy Box”

façade in Iowa to sell SLB Products to TRU.

      456.   As a result of the Principals’ fraudulent concealment of their involvement

in “Toy Box” sales to TRU, TRU unwittingly remitted money to the SLB Enterprise that

it would not knowingly have agreed to provide to the enterprise.

      C.     Defendants Repeatedly Lied to Retailers to Evade Judgments and
             Fraudulently Transfer Manley’s Assets.

      457.   All of the Defendants repeatedly lied to retailers, or caused lies to retailers

to be made, about which SLB Company sold SLB Products to the retailer and which SLB

Company was owed money for those products.




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       458.   Relying on those false statements, many retailers made changes to their

vendor systems that allowed Defendants to deceive retailers, creditors, and (eventually)

Manley’s Liquidators into believing that money due to Manley was instead due to Toy

Quest Ltd.

       459.   As a result, multiple retailers that purchased millions of dollars of products

from Manley subsequently paid Toy Quest Ltd. for those Manley products.

       460.   For obvious reasons, these kinds of asset transfers made it much more

difficult for holders of judgments against Manley to enforce those judgments. For

example, Aviva collected only a tiny fraction of its judgment against Manley.

              1.     a. Members of the SLB EnterpriseThe Principals and Hong Kong
                     Entities Instructed Retailers to Stop Using the “Manley” Name
                     and to Use the “Toy Quest Ltd.” Trade Name Instead.

       461.   188. Between 2013 and 2015, as part of the Principals’ scheme to defraud

independent creditors by conducting Manley’s business under the “Toy Quest Ltd.” trade

name, members of the SLB Enterprise communicated by interstate mail, email, facsimile,

and telephone calls with at least nine different retailers in the course of conducting

interstate or foreign commerce.

       462.   189. In particular, members of the SLB Enterprise caused numerous emails

and electronic communications to be sent to such retailers to change the vendor name in

their systems from “Manley” to “Toy Quest Ltd.” Until Manley actually entered

liquidation, however, Manley was still the company entering into the transactions; it was

just using an affiliate’s name.



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       463.   190. For example, between 2014 and 2016, DefendantThese communications

usually were sent by low-level employees at the direction of the Principals and the Hong

Kong Entities, but Liu personally caused numerous letters to be sent by either mail or wire

transmission from Hong Kong to retailers in the United States.

       464.   These letters, which Liu signed on behalf of “Toy Quest Ltd.,” advised the

retailers that “an additional or change of vendor name is needed in your system” from

“Manley Toys Ltd.” to “ToyQuest Ltd.”

       465.   191. The letters went on to claim that “ToyQuest Ltd. products and toys

have been in the USA market place overt [sic] the last 18 years and sold in all the major

USA retailers under the ToyQuest Ltd vendor.”

       466.   192. That statement wasappears to be false. In fact, as Toy Quest Ltd., Liu,

and the other Principals well knew, over the preceding 18 years:

       a)     Toy Quest Ltd., unlike, although Manley, and the Iowa Judgment Debtors

had not sold “ToyQuest” brand products in the U.S. marketplace and to U.S. retailers at

all, let aloneToy Quest Ltd. had no employees and had not made such U.S. sales, and

certainly had not made such sales for the past 18 years; and

       b)     Few if any sales in the U.S. marketplace or to U.S. retailers had been made using

the “Toy Quest Ltd.” (as opposed to the “ToyQuest”) trade name.

       467.   193. Members of the SLB Enterprise directed several other retailers,

including Target, Costco, Bed Bath & Beyond, Big Lots, and Michaels, to switch from

the name “Manley” to the name “Toy Quest.” All of this was done fraudulently, so that



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retailers would not realize that they were helping to disguise assets of Manley and/or the

Iowa Judgment Debtors.

        468.   The full extent of those communications is known to Defendants.

        469.   The following table summarizes fraudulent electronic communications to

retailers sent in interstate and foreign commerce, primarily from Hong Kong to the

United States.

                   Deceptive Communications to Customers of Manley

Date             Purported Sender Recipient Method               Content

06/19/13         Manley               Dollar     Internet   Vendor Change Form,
                                      General    submission changing Manley to “Toy
                                                            Quest Ltd.”
07/26/13         Anthony Cheng        A. Koch    Electronic Name change, changing
                 (Manley)             (Seventh mail         Manley to “Toy Quest
                                      Avenue)               Ltd.”
06/13/14         Anthony Cheng        Tina       Electronic Name change, changing
                 (Manley)             Taylor     mail       Manley to “Toy Quest
                                      (Big Lots)            Ltd.”
06/18/14         Manley               Michaels Internet     Vendor Change Form
                                                 submission
09/10/14         Toy Quest Ltd.       Bed Bath Electronic Changing “Vendor of
                                      & Beyond mail         Record” to Toy Quest Ltd.
09/23/14         Kapo Tsang           Costco     Electronic Name change, changing
                 (Toy Quest Ltd.)                mail       Manley to “Toy Quest
                                                            Ltd.”
11/20/15         Jena Schmeling       Lindsey    Electronic Name Change, changing
                 (Northern Lights     Heffron    mail       Manley to “Toy Quest
                 Marketing)           (Blain                Ltd.”
                                      Supply,
                                      Inc.)

        470.   It is reasonable to infer that the Principals or Executives approved or

directed the sending of the communications.



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       471.   Many other retailers are likely to have received similar fraudulent

communications. Based on a UCC Financing Statement for Manley as debtor that was

publicly filed in August 2013, as well as information provided by Manley’s Liquidators,

the following list of retailers did business with Manley in the last few years before it

liquidated: Academy Sport; Albertsons, Inc.; Alco Stores Inc.; Amazon.Com, Inc.;

American Sales Corp.; Amscan Inc.; Apl Logistics OBB AAFES; Bed Bath & Beyond;

Big 5 Corp; Big Lots; Bi-Mart Corporation; BJs Wholesale Club Inc.; Bluestem Brands,

Inc.; Bonton Stores Inc.; Boscovs; Braha Industries, Inc.; Brooklyn Lollipop Import &

Export, Inc.; Burlington Coat Factory; C.K. Group, Inc.; CEC Entertainment, Inc.;

Columbus Closeouts; Cost Plus #901 - Stockton Dc; Costco Wholesale USA; Cracker

Barrel Old Country Stores; Current Usa; CVS Pharmacy Inc.; DD's Discount; Dicks

Sporting Goods; Direct Source Int'l Inc.; Dollar General; Excelligence Learning

Corporation; Family Dollar; Far East Brokers And Consultants., Inc.; Fred Meyer Inc.

dba Kroger; Fred's Inc.; Gordmans; Grocery Outlet Inc.; H.E. Butt, Inc.; Harris Teeter;

Hy-Vee, Inc.; Kenscott Ltd.; Kmart Corporation; Kohl’s Department Stores; Lakeshore

Learning Materials; Leisure Systems Inc.; Leslie's Swimming Pool Supplies; Liss Global,

Inc.; Ltd Commodities LLC; Marlon Creations, Inc.; Mckenzie Buying Co.; McRae And

Associates; Meijer Inc.; Menard Inc.; Michaels Stores Procurement Co.; Michaels, Inc.;

OKK Trading, ONC; Mills Fleet Farm; National Stores, Inc.; Ollie’s Bargain Outlet Inc.;

RSI International; Sears Roebuck & Co.; Seventh Avenue, Inc.; Shepher Distributors &

Sales Corp.; Shopko Stores Operating Co. LLC; Six Flags, Inc.; Strategic Global



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Sourcing, LLC; Supervalu International Division; Target Corp.; Target.com; Toys 4

USA; Toys R Us - Delaware, Inc. Dba Toys R Us; U.S. Toy Company, Inc.; Value

Source Intl. LLC; Variety Wholesalers Inc.; Wal-Mart.com; Wal-Mart Stores Inc. USA;

and Wegmans Food Markets.

      472.   The goal of those fraudulent communications was to seize money that

belonged or was due to Manley and/or the Iowa Judgment Debtors and deprive

independent creditors of that money.

      473.   Each of the communications was intended to deceive retailers about the

nature of the transaction discussed. Relying on these communications, numerous retailers

came to believe and report that that they were doing business with companies other than

Manley, when in fact the retailers continued to do business with Manley.

      474.   Exhibits A-E to Aviva’s Complaint are tables listing dozens of invoices that

the Principals, Hong Kong Entities, and Aquawood submitted or caused to be submitted

to the retailers Big Lots, Dollar General, Michaels, and Target between 2013 and 2016.

      475.   Each of those invoices falsely represented to the retailer that Toy Quest Ltd.

sold the SLB Products in question, when in fact those products were sold by Manley

using its “Toy Quest” trade name, and fraudulently demanded that the retailer pay money

to Toy Quest Ltd. that actually was owed to Manley.




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             2.     b. Despite the Vendor Name Changes, the SLB Enterprise
                    Retained the Same Employees, Products, Contact Information
                    and Customers.

      476.   194. Although the vendor names changed, nothing else did. The same

employees were selling the same products to the same customers out of the same offices

in Hong Kong, then shipping those products to the same locations in Iowa and elsewhere

in the United States. In order to hide assets and defraud creditors, however, the SLB

Enterprise used subterfuge to confuse vendors, creditors, and even its own employees

about which company was conducting business at any given moment.

      477.   195. Representatives of Manley representativesand/or the Iowa Judgment

Debtors assured many of its customers that the switch from “Manley” to “Toy Quest

Ltd.” was in name only.

      478.   196. For example, in May 2014, a Manley representative of Manley and/or

the Iowa Judgment Debtors introduced himself to the retailer Big Lots as “Anthony from

Toy Quest (Manley).” A month later, he emailed Big Lots to request a vendor name

change from “Manley Toys Ltd.” to “Toy Quest Ltd.,” but noted that the “address and

contact will remain the same.”

      479.   197. A few months later, in August 2014, Gary Dillman, a vendor

representative for Manley and, Toy Quest Ltd., and the Iowa Judgment Debtors sent an

email to Costco advising that:

             Manley has a new name. It is now known as TOYQUEST
             LTD. This was change as all Banzai product are now sold by
             TOYQUEST LTD. The programs and all vendor details,



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             addresses, etc are the same.        Only the name change to
             TOYQUEST LTD.

      480.   198. A Costco representative later observed that “Manley” and “Toy Quest

Ltd.” did in fact share the same personnel, mailing addresses, email addresses, and

vendor contacts, all with email addresses ending in “manley.com.hk.”

      481.   199. The vendor change form that Manley and/or the Iowa Judgment

Debtors submitted electronically to the retailer Michaels in September 2014 likewise

listed the same address for “Toy Quest Ltd.” as for “Manley Toys Limited,” and the same

individuals were listed as the export and shipping managers. Those individuals

continued to be Manley employees through March 2016. Manley and/or the Iowa

Judgment Debtors also checked the box for “change vendor information,” not the box for

“new vendor,” and retained Manley’s vendor ID number.

      482.   200. Similarly, Michael Leddy, a U.S. representative of Manley and/or the

Iowa Judgment Debtors located in Maryland, facilitated sales of Manley products to

agents for multiple customers, including K-Mart in Illinois and Dollar General in

Tennessee. After the Principals decided to use the “Toy Quest Ltd.” trade name for

Manley sales, Leddy coordinated sales to the same buyers’ agents, but claimed to be

working on behalf of “Toy Quest Ltd.”

      483.   Manley’s customers treated the change to “Toy Quest” as purely a change

in nomenclature.




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       484.   For example, Michaels’s Accounts Payable ledger lists “Manley Toys, Ltd.

Dba Toy Quest Ltd” as the payee for all payments, despite a vendor change form

submitted by Manley.

       485.   Similarly, Seventh Avenue directed at least twenty purchase orders to “Toy

Quest Ltd (Manley Toys).”

       486.   201. Employees of Manley employeesand/or the Iowa Judgment Debtors

likewise continued to use “Manley” and “Toy Quest Ltd.” interchangeably. For example,

the subject line of a November 2014 email from Gary Wong to Seventh Avenue referred

to a purchase order for “Toy Quest Ltd (Manley Toys . . .).” Wong introduced himself as

“Gary Wong from Toy Quest Ltd,” but used a Manley email address,

garywong@manley.com.hk, and his signature block identified him as a Manley

employee.

       487.   202. Multiple Manley employees of Manley and/or the Iowa Judgment

Debtors also signed their emails in 2013 and 2014 on behalf of both “Manley Toys Ltd.”

and “Toy Quest Ltd.,” or even on behalf of “Manley Toys Ltd. / Toy Quest Ltd.”

       488.   Yet in sworn court filings, Defendant Toy Quest Ltd. has stated that it had

“no employees” and was an altogether different company from Manley.

       489.   For example, in August 2014, after Manley and Manley employees had

used the trade name “Toy Quest Ltd.” to sell toys to U.S. retailers for over a year, Toy

Quest Ltd. told the Southern District of Iowa that it had no employees.




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       490.   Manley repeatedly has said that it does not represent Toy Quest Ltd., so the

Manley employees using the “Toy Quest Ltd.” name could not have been acting

simultaneously on behalf of Toy Quest Ltd.

       491.   In January 2016, Defendant Toy Quest Ltd. likewise represented to a

federal court that although an entity calling itself “Toy Quest” had been selling toys in

New York, Toy Quest Ltd. “does not engage in sales in the United States” and “does not

transact any business in the United States.”

       492.   203. As admitted in sworn court filings in Iowa and other jurisdictions, Defendant

Toy Quest Ltd. had “no employees,” was a different company than Manley, and was never

represented by Manley. Consequently, when Manley employees transacted business

usingAccordingly, the so-called “Toy Quest Ltd.” name, they mustentity operating in the

United States, taking orders from retailers, and obtaining rights to payment from those

retailers could only have been doing so on behalf of their employer Manley, not on behalf of

defendant Toy Quest Ltd., athe separate company.

       204.   Other facts confirm that when retailers did business with “ Toy Quest Ltd.,” they

still were doing business with Manley, not with Defendant Toy Quest Ltd. or any other company.

       493.   205. IndeedMoreover, for some licensed products, only Manley was

authorized to sell the products in the United States, yet retailers were instructed to place

orders for the products with “Toy Quest Ltd.” rather than Manley.

       494.   206. For example, only Manley and Aquawood were authorized in 2013 and

2014 to sell Crayola products in the United States, and those rights were not assignable.




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Nevertheless, Manley employees using the “Toy Quest Ltd.” trade name accepted

multiple orders for Crayola products from Dollar General Corp. (“Dollar General”) and Big

Lots.

         495.   207. Manley and/or the Iowa Judgment Debtors also continued to fill “Toy

Quest Ltd.” orders up until shortly before Manley’s liquidation.

         496.   208. In November 2014, Michaels placed a series of orders that Manley

and/or the Iowa Judgment Debtors initially acknowledged and began to fulfill under its

ownManley’s name before cancelling the orders and reissuing invoices and packing

slips—with the same invoice numbers, purchase order numbers, and dates—in the name

of “Toy Quest Ltd.” The invoices also list the identical physical address, telephone

number, fax number and “@manley.com.hk” email addresses for “Toy Quest Ltd.” as for

Manley, and identify “Toy Quest Ltd.” as “a division of Manley.”

         497.   209. In addition, prior to Manley’s liquidation, Manley continued to be

listed on purchase orders as the ultimate payment beneficiary for many transactions,

despite the SLB Enterprise’s increasing use of the “Toy Quest Ltd.” name with retailers.

         498.   210. For example, Dollar General issued purchase orders dated February 18,

2013 and June 27, 2013 that listed “Toy Quest Limited” as the “Vendor,” but identified

“Manley Toys Ltd” as the “Beneficiary” and provided that payment be sent “Direct to

Beneficiary.”




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       499.    211. Seventh Avenue also received invoices from both “Manley” and “Toy

Quest” through 2014 but continued to make all payments through irrevocable letters of

credit that named “Manley Toys Limited” as the sole beneficiary.

                       c.     Members of the SLB Enterprise Deceived Retailers to
                              Generate a False Paper Trail.

       212.    Defendants’ fraudulent scheme to use the “Toy Quest Ltd.” trade name to

disguise Manley sales worked largely as planned, resulting in (a) the creation of false records

that Defendants knew were materially false but would be relied upon by courts, creditors, and

Manley’s liquidators in Hong Kong (the “Liquidators”), and (b) retailers directing payments to

Defendant Toy Quest Ltd. that really were due to Manley.

       213.    The purpose of this scheme was to impede collection efforts, cause Manley’s

creditors and Liquidators to think that receivables were not actually owed to Manley, and,

ultimately, to deprive independent creditors of money.

       500.    214. A series of transaction documentsDocuments concerning a single Seventh

Avenue purchase in late 2014 and early 2015 illustrates theillustrate Defendants’ false

narrative Defendants were attempting to create.:

                a) Seventh Avenue issued the purchase order to “Toy Quest Ltd (Manley

                   Toys).” b) The invoice and packing list were issued on “Manley Toys

                   Ltd.” letterhead and the invoice was executed “For and on Behalf of”

                   “Manley Toys Ltd.,” but the packing list was executed by “Toy Quest

                   Ltd.”




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               c) And while the cargo receipt for the purchase order listed the shipper

                  as “Manley Toys Ltd.,” the express release form listed the shipper as

                  “Toy Quest Ltd.”

               d) Defendants’ scheme was designed to create a false record so that, if

                  Seventh Avenue ever were garnished or otherwise subject to execution

                  for judgments against Manley, the SLB Enterprise could hide behind the

                  “Toy Quest Ltd.” name and assert spurious objections to collection.

       501.   215. Purchase orders from retailers Dollar General and Big Lots similarly

showtell the same story—a sudden shift from the “Manley”in name to the “Toy Quest Ltd.”

name that Defendants orchestrated shortly after the Minnesotawith no change in substance:

                 Before Aviva’s judgment was entered against Manley in August 2013.

              a) Before that time, Dollar General placed more than 70 orders with

                  “Manley” and none with “Toy Quest Ltd.” But in the two years after

                  the judgment, Dollar General placed more than 30 orders with “Toy

                  Quest Ltd.” and only two with “Manley.”

                 b) Similarly, Big Lots placed hundreds of orders under the “Manley”

                  name in the beginning of 2013, and continued to place orders primarily

                  under the “Manley” name until May 2014. After that point, Big Lots

                  placed orders exclusively under the “Toy Quest Ltd.” name, even

                  though it was buying exactly the same items it had been buying from

                  “Manley.”


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       216.   This switch in name has allowed Defendants to deceive retailers

       D.     Defendants Falsified Financial Records to Deceive Creditors, the
              Courts, and Manley’s Liquidators.

       502.   Defendants’ fraudulent scheme to exploit the “Toy Quest Ltd.” trade name

to conceal Manley’s sales worked largely as planned, resulting in (a) the creation of false

sales and financial records that Defendants knew were materially false but would be

relied on by courts, creditors, and Manley’s Liquidators into believing that money due to

Manley is instead due to a separate company, Defendant Toy Quest Ltd.

       217.   As a result, multiple retailers who purchased millions of dollars of products from

Manley subsequently paid Toy Quest Ltd. millions of dollars in exchange for those Manley

products.

                     d.      Defendants Fraudulently Recorded Manley Sales as Toy Quest
                             Ltd. Sales to Mislead Creditors and Manley’s Liquidators.

       218.   The SLB Enterprise’s records demonstrate that Defendants fraudulently recorded

Manley sales using the “Toy Quest Ltd.” name as sales by Toy Quest Ltd. and other SLB

Companies, thereby generating false financial documents that Defendants could pass on to

Manley’s Liquidators., and (b) retailers directing payments to Toy Quest Ltd. that really

were due to Manley or its creditors.

       503.   Exhibits G & H to Aviva’s Complaint, for example, show payments that the

retailers Target and Bed Bath & Beyond made to Toy Quest Ltd. that should have been

made to Manley for distribution to its creditors.

       504.   219. As shown by the solid red line in the graph below, according to Manley’s

internal financial documents—which Defendants knew would be available to and relied on by



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show that Manley’s Liquidators—Manley’s sales dropped precipitously throughout 2013,

at the same time asthat multiple massive judgments were entered against Manley.

       505.    220. However, as discussed above, Manley’s sales did not really plummet in

2013; Manley merely conducted those sales using the “Toy Quest Ltd.” name rather than the “.

Rather, the Principals and Hong Kong Entities simply stopped recording sales under

Manley”’s name.

       221.    The Principals and Toy Quest Ltd. directed the enterprise to, and instead falsely

recordrecorded the Manley sales as sales by other SLB Companies, such as Toy Quest

Ltd., MGS, and Toy Network-HK.

       506.    Defendants later provided these doctored financial statements from Manley

and other SLB Companies to Manley’s Liquidators, with the expectation that the

Liquidators would rely on them.

       507.    222. As shown by the blue line in the graph below, thoseThose companies went

from having zero sales to a projected $40 million in sales in less than two years. (The

dotted portion of the blue line is derived from data contained in Manley’s insurance applications,

in which Defendants provided information about total annual U.S. sales for all named insureds,

including Toy Quest Ltd.)mid-2015.




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                  3.     The Principals Established Park Lane to Defraud Manley’s
                         Independent Creditors.

          223.    On February 29, 2016, less than a month before liquidating Manley, the Principals

    formed Park Lane, another SLB Company that operates from the same office building as

    Manley (and Toy Quest Ltd., and several other SLB Companies), one floor away from where

    Manley used to be.

          224.    The Principals created Park Lane to drain Manley of resources and assume

    possession of Manley’s documents, thereby keeping those resources and documents away from

    Manley’s creditors and Liquidators but within the control of the SLB Enterprise.


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          225.    On or about March 17, 2016, the SLB Enterprise reassigned nearly all of

    Manley’s employees to identical positions at Park Lane. Defendants Liu and Alan Chan, for

    example, hold the same positions at Park Lane that they held at Manley—”managing director”

    and “manager,” respectively.

          226.    Park Lane employees continued to sell the same Manley products to the same

    Manley customers, using their @manleyservices.com.hk email addresses.

          227.    Those same employees lied to retailers and other customers of the SLB

Enterprise, falsely claiming to represent Toy Quest Ltd., when in fact they represented Park Lane

and neither did nor could represent Toy Quest Ltd. As discussed above, Toy Quest Ltd. actually

had “no employees.” The individuals who suddenly worked for Park Lane had been working for

Manley, not Toy Quest Ltd. They had been selling products for Manley, not Toy Quest Ltd.

And they had been generating revenue that should have been recorded as Manley revenue.

          228.    Many of those employees continue to sell the same products to the same

    customers to this day.

                  4.     The SLB Enterprise Continues to Conduct Business with the Same
                         U.S. Retailers While Avoiding the Judgments of U.S. Courts.

                         a.        In 2016, the SLB Enterprise Began Selling Manley Products
                                   Through Banzai International.

          229.    In 2016—as Aviva was seeking injunctive sanctions from the Minnesota Federal

Court and gathering and presenting evidence to courts around the country that “Toy Quest Ltd.”

was a Manley trade name and that sales to “Toy Quest Ltd.” were really sales to Manley—the

SLB Enterprise started using yet another company, Banzai International Ltd., to make it easier to

continue evading independent creditors.




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         230.   Like “Toyquest” and “Toy Quest Ltd.,” “Banzai” was a registered trademark of

Manley. “Banzai” also was the name of one of Manley’s leading toy lines. Manley’s deceptive

marketing for its “Banzai” products formed the basis of the allegations in the lawsuit that led to

Aviva’s judgment against Manley.

         231.   Import records show the shift from “Toy Quest Ltd.” to “Banzai International

Ltd.”

         232.   For example, between January and May 2016, Defendant Dollar Empire received

over one hundred shipments—weighing a total of more than 860 tons—from “Toy Quest Ltd.”

Starting in December 2016, however, Dollar Empire no longer received shipments from “Toy

Quest Ltd.” and instead began to receive shipments from “Banzai International Ltd.” Many of

these shipments from “Banzai International Ltd.” contained exactly the same products—often

using the same names and packaging—as prior shipments from “Toy Quest Ltd.”

         233.   The last imports of “Toy Quest Ltd.” to the United States were in August 2016,

around the same time that Toy Quest Ltd. supposedly sold its assets to Banzai International.

         234.   Banzai International, on the other hand, is still importing thousands of tons of

Banzai products to the United States, including more than 1,290 tons of merchandise in 2018 and

more than 439 tons of merchandise in just the first two months of 2019.

         235.   The instruction manuals of many of the “Banzai” products currently listed on

www.banzaifun.com still identify those products as “Toy Quest” products, and many of the

products were previously imported to the United States by “Toy Quest Ltd.” Before that, the

products were sold by Manley as “Manley,” “Toy Quest” and “Banzai” products (using trade

names that belonged to Manley).




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         236.   For example, in 2013 and 2014, the Banzai brand “Speed Curve Water Slide” was

sold to retailers such as Big Lots using the “Manley” name. That same toy is now being

imported to Dollar Empire and others by “Banzai International Ltd.” and is advertised on the

website www.banzaifun.com, but still has an instruction manual containing a “Toy Quest” logo.

                       b.     The SLB Enterprise Now Sells Manley Products Through
                              Additional Trade Names Such as Genesis.

         237.   To evade creditors, the Principals, various Corporate Shell Defendants, and other

members of the enterprise have sold Manley products other than Banzai using a series of trade

names.

         238.   Tekno (sometimes Teksta) robots, for example, were originally sold under the

“Manley” name and then the “Toy Quest” name, and now are sold under the name “Genesis.”

         239.   The “Manley Toy Quest Corporation” first registered the “Tekno the Robotic

Puppy” mark in 2001. Shortly before that mark was cancelled in 2008, Manley itself filed to

register the mark “Tekno” for use with “robotic toy dogs.” The owner’s manual for the original

Tekno the Robotic Puppy identified it as a Manley Toy Quest product.

         240.   The “Manley” name now has been stripped from all Tekno brand products.

         241.   Instead, Defendants shifted those products to the “Toy Quest” name, and then to

the “Genesis” name, as evidenced by the instruction manuals for Tekno products.

         242.   Approximately half of the instruction manuals on www.tekno-robotics.com (the

current website for Tekno products), including the instruction manual for Tekno the Robotic

Puppy 4.0, identify the products as “Toy Quest” products. The other half of the instruction

manuals, including the instruction manual for Tekno the Robotic Puppy 5.0, identify the products

as “Genesis” products. (The website www.genesis-toys.com, which has the same logo as the




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instruction manuals, contains pages for all Tekno/Teksta products, including Tekno the Robotic

Puppy 4.0 and 5.0.)

       243.    A July 2016 press release for Tekno Newborns states that the Tekno “franchise”

belongs to Genesis, quotes Defendant Magalhaes, and directs inquires to

press@epic-studios.com.

       244.    Defendants continue to export hundreds of tons of Tekno products to the United

States, often without bothering to list a “shipper.”

       245.    When Defendants do include a shipper, they now use the name “Genesis

Industries.”

       246.    These are the same product lines that

       508.    This was a period during which the people selling the SLB Products

worked for Manley and/or other SLB Companies; Toy Quest Ltd. claimed in sworn court

filings in Iowa to have “no employees.”

       509.    In addition to frustrating creditors’ efforts to trace the assets of judgment

debtors and their successors, the false sales and financial records enabled members of the

SLB Enterprise used to sell using the name “seize Manley.”

               5.      The SLB Enterprise Has Cheated Independent Creditors by Hiding
                       Behind the Names of SLB Companies Run by Toth.

                       a.      The SLB Enterprise Has Evaded Judgments against MTD
                               Held by Aviva and the Iowa Victims.

       247.    In 2015, as courts began to find MTD liable for millions of dollars to the Iowa

victims, Defendants plotted to cheat MTD’s independent creditors of the money they were owed

by depleting MTD of all assets or business.




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           248.   Just as the SLB Enterprise moved Manley’s operations to Toy Quest Ltd. and then

Banzai International, it moved MTD’s operations to Toy Network and then MGS.

           249.   First, the SLB Enterprise moved MTD from Indianola, Iowa to Des Moines, Iowa

in 2015.

           250.   Then, the SLB Enterprise transferred MTD’s assets and business to Toy Network,

    which also moved from Indianola to Des Moines.

           251.   Next, the SLB Enterprise created MGS and transferred Toy Network resources to

    it.

           252.   In June 2016, shortly after Aviva obtained the Iowa judgment against MTD, MTD

dissolved.

           253.   Then, over the course of a few weeks that summer, Toth’s employment as

    “General Manager” of Toy Network ended, MGS was incorporated, and Toth’s employment as

    “General Manager” of MGS began.

           254.   Through all of these changes, Toth has retained his place in the SLB Enterprise,

    managing its day-to-day operations in Iowa.

           255.   The impact of these changes has been to cheat Aviva, the Iowa victims, and other

    independent creditors of money that they were owed.

           256.   As a result, Aviva has been unable to collect on either the Iowa or Minnesota

judgments.

                         b.      The SLB Enterprise Tricked Toys R Us, Inc. into Buying Its
                                 Products.

           257.   The SLB Enterprise also has played its shell game to dupe its own creditors into

paying it money.




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          258.    For years, Manley sold SLB Products, including Banzai water slides, to Toys R

Us, Inc. (“TRU”).

          259.    On July 2006, Robin Aleo, a young wife and mother, slid down one of these

slides.

          260.    The defective SLB Product collapsed as Ms. Aleo neared the bottom, causing her

to suffer fatal injuries after her head slammed against a concrete pool deck while her daughter

and husband watched in horror.

          261.    In 2011, a jury in Massachusetts awarded Ms. Aleo’s estate over $19 million in

damages in a wrongful death lawsuit against TRU (the “Aleo matter”).

          262.    TRU, in turn, spent years trying to collect money from Manley for its alleged

breach of an agreement to indemnify TRU for the judgment in the Aleo matter.

          263.    By 2012, TRU had made an express decision not to do business with Manley, its

affiliates, or the Principals. TRU wanted to limit its interactions with the SLB Enterprise solely

to efforts to collect money owed relating to the Aleo matter.

          264.    To fool TRU into continuing to do business with the SLB Enterprise, the

    Principals and Toth hid behind an intermediary and sold SLB Products to TRU using the name

    “Toy Box.”

          265.    As a result of the Principals’ fraudulent concealment of their involvement in sales

    to TRU, TRU unwittingly remitted money to the SLB Enterprise that it would not knowingly

    have agreed to provide to the enterprise.




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                 6.     To Stay “One Step Ahead” of Creditors, the Principals Continue to
                        Strip Corporate Shell Defendants of Assets That Could be Used to
                        Satisfy Judgments Against Them.

          266.   The SLB Enterprise’s fraudulent conduct with respect to Aviva, TRU, and its

    other independent creditors has been so brazen that Defendant Dubinsky openly bragged about

    it to Aviva’s counsel even as Aviva was attempting to enforce the Minnesota judgment.

                 a)     On September 7, 2017, after Aviva deposed Dubinsky in Los Angeles,

                        Dubinsky declared to Aviva’s counsel that Aviva had no chance of

                        recovering anything of significant value from the Chans, their companies,

                        or Dubinsky himself.

                 b)     Dubinsky boasted that he, the Chans, and their various companies would

                        always stay at least “one step ahead of” Aviva.

                 c)     Dubinsky further explained that the enterprise is very adept at moving

                        around assets and business relationships so that its companies can

                        continue selling products in the United States without having any assets

                        seized.

                 d)     As an example of the SLB Enterprise’s skill at using corporate shells to

                        hide the true source of their products, Dubinsky bragged about the

                        enterprise’s success in tricking TRU into selling SLB Products even

                        though TRU had decided to sever its business relationship with Manley,

                        its affiliates, Dubinsky, and the Chans.

                 e)     Dubinsky boasted that by selling what he called “my toys” through an

                        entity that appeared unrelated to Manley and the Principals, Dubinsky and




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                          the Chans were able to continue receiving money from TRU even though

                          TRU would not willingly have done business with them.

           267. The Principals and several Corporate Shell Defendants protected the SLB

    Enterprise’s assets by making sure that neither Manley nor Toy Quest Ltd. would have

    sufficient funds to satisfy Aviva’s judgment. In the same manner, the Principals, several

    Corporate Shell Defendants, and Toth caused MGS to take over the business operations of

    MTD and Toy Network when judgments were entered against those companies.

           268. There is no meaningful distinction between MTD, Toy Network, and MGS.

    These companies did not observe basic corporate formalities. Indeed, many of the same

    employees worked at all three companies, in the same location, with the same job title and/or

    job duties, with little or no understanding of the distinction between these companies.

           269. At this time, MTD, Toy Network, and MGS are not adequately capitalized and the

    Principals—who serve as officers and directors of the companies—have funded them strictly on

    an as-needed basis.

           270. MTD and Toy Network filed Statements of Dissolution with the Iowa Secretary of

    State in 2016, but there is no record of either company following the rules related to the winding

    up process.

           271. Because MTD, Toy Network, and MGS are not adequately capitalized, these

    entities are unable to satisfy a judgment against them.




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          C.      The SLB Enterprise Allows SLB Companies to Mistreat Their Employees
                  and Customers.

                  1.      The SLB Enterprise Hired and Enabled Sadistic Managers in
                          Indianola.

          272.    As described above, the SLB Enterprise based certain operations, including a call

    center for customers (the “Indianola call center”) and a warehouse, at 1800 N. 9th Street in

    Indianola, Iowa.

                       a) The Principals, Toth, and others used the 1800 N. 9th Street address for

                          several SLB Companies, including MTD, Toy Network, and Toy

                          Warehouse.

                       b) The Principals, Toth, and others closely intertwined the management,

                          assets, and operations of these companies with those of the SLB

                          Companies located on Barry Avenue in Los Angeles (collectively known

                          to Indianola call center employees as “California” or “corporate”).

                       c) The Principals, Toth, and others also intertwined the management, assets,

                          and operations of these companies with those of certain SLB Companies

                          located in Manley Towers (collectively known to Indianola call center

                          employees as “Hong Kong”).

          273.    In Iowa, as elsewhere, the SLB Enterprise’s goal was to maximize profit while

    minimizing or avoiding the necessary costs of running a legitimate business in the United

    States.

          274.    To that end, the Principals, Toth, and others kept its operations in Iowa

    unencumbered by traditional obligations such as corporate formalities, developing good




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    customer relations, or protections from what one court described as an “outrageous and hostile

    work environment.”

          275.    For example, employees at the Indianola call center did not receive any

    harassment policy, anti-discrimination training, or even basic information about who their

    employers were.

          276.    This culture of corporate informality attracted, incubated, and was sustained by

    perpetrators such as Tim Downey and Steffen Hampton (the “call center supervisors”).

          277.    The call center supervisors thrived at the Indianola call center, where they were

    free to degrade and harass the SLB Enterprise’s customers on the basis of their sex:

                      a) One of the call center supervisors muttered “suck my dick” and “anal sex”

                         to women who called to complain about SLB Products.

                      b) The supervisor regularly claimed that these customers “wanted” him.

                      c) In the presence of his subordinates, the same call center supervisor

                         “placed a female customer on speaker phone and told her that the only

                         way he would send the replacement equipment she needed was if she

                         would bark like a dog.”

          278.    The Sexual Harassment Debtors not only tolerated the misogynist mistreatment of

    the SLB Enterprise’s customers, they allowed the SLB Enterprise’s employees in Iowa to suffer

    cruel and inhumane harassment and discrimination on a daily basis.




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                  2.      SLB Companies Subjected the Iowa Victims to a Sexually Hostile
                          Work Environment.

                          a.       The Iowa Victims Suffered and Were Forced to Bear Witness
                                   to Extreme Sexual Harassment.

          279.    From 2005 to 2008, Ackelson was an employee of the SLB Enterprise who

    worked in the Indianola call center. At various points within this time period, each of the other

    Iowa victims also worked in the Indianola call center as employees of the SLB Enterprise.

          280.    A court later found that the Sexual Harassment Debtors “encouraged a sexually

    hostile environment” during this time by forcing employees to endure outrageous behavior by

    the call center supervisors.

          281.    The call center supervisors sexually harassed the Iowa victims by referring to

    them by vulgar sexualized terms.

                       a) These slurs—including “Bitch,” “Whore,” “Slut,” “Sexy Tits,” “Big

                          Boobs,” “Sweet Cheeks,” and “Cunt”—were directed at the Iowa victims

                          on a daily or sometimes hourly basis.

                       b) These slurs were often yelled at the Iowa victims in connection with

                          work-related commands, such as “Go do your invoicing, Whore!” or “Get

                          to work, Bitch!”

          282.    The call center supervisors sexually harassed each of the Iowa victims with

    physical sexual acts such as the following (and often laughing afterwards):

                       a) Trying to force her head down to a supervisor’s genital area;

                       b) Grabbing at and/or rubbing her buttocks, back, head, shoulders, or arms ;

                       c) Trying to massage her shoulders before talking to her about sex;

                       d) Simulating pelvic thrusts behind her when she bent over;



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                      e) Blowing in and/or whispering in her ear or hair; and

                      f) Holding up money in order to encourage female employees to strip naked.

          283.    The call center supervisors sexually harassed female employees by asking them

    sexually coercive questions, such as the following questions they asked of Ackelson:

                      a) Whether she liked anal sex;

                      b) Whether she preferred “doggie style” to anal sex;

                      c) Whether she was wearing a bra; and

                      d) Whether a supervisor could touch “just one” of her breasts.

          284.    The call center supervisors sexually harassed each Iowa victim by making other

    demeaning comments, noises, or gestures in references to female breasts, including:

                      a) Threatening to pinch her nipple;

                      b) Making milk sucking sounds;

                      c) Asking if a spot on her shirt meant that she was “leaking milk”;

                      d) Expressing a desire to see her wear clothing that revealed more cleavage;

                      e) Stating that a blouse would look better “laying on my bedroom floor”; and

                      f) Approaching her from behind and making hand motions of massaging her

                         breasts.

          285.    The call center supervisors sexually harassed the Iowa victims by subjecting them

    to lewd and graphic claims about their sexual activity and preferences such as:

                      a) Discussing the size of and uses for one’s own penis;

                      b) Discussing having a “stench on [one’s] finger for two days” after “finger

                         banging a chick”;




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                      c) Using language like “cock into her pussy” and “hot dog in the bun” to

                          brag about sexual exploits;

                      d) Declaring that the friend of one of the Iowa victims “would love this

                          cock”;

                      e) Professing to “love tight pussy – like a 14 year old”; and

                      f) Suggesting that it would be “fun” to engage in sexual intercourse with a

                          supervisor atop the popular children’s toy “Sit N Spin.”

          286.    The call center supervisors sexually harassed the Iowa victims by sexualizing

    children and adults depicted in personal photographs that they kept in their cubicles.

                      a) The call center supervisors drew pictures of exposed women’s breasts on

                          the Iowa victims’ personal pictures, including right next to the mouth of

                          Ackelson’s newborn granddaughter.

                      b) One supervisor told Ackelson that her 14 year old daughter was “hot” after

                          seeing a picture of the child in Ackelson’s cubicle.

                      c) The supervisor then began talking about 14 year old girls having firm

                          breasts and buttocks.

          287.    In addition to suffering the sexual harassment described above, each of the Iowa

    victims was forced to witness other female employees suffering similar if not identical abuses.

                          b.       The Iowa Victims Were Targeted Because of Their Sex.

          288.    The sexual harassment suffered and witnessed by the Iowa victims was part of a

    pattern in which the Sexual Harassment Debtors allowed them and other female employees to

    be subjected to discriminatory treatment based on their sex, including:




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                       a) allowing male employees to play games on the internet while female

                          employees were required to work;

                       b) requiring female employees to carry a full work load while not requiring

                          male employees to even answer phones;

                       c) allowing the call center supervisors to assign most of their work to female

                          employees so that they could spend the majority of the work day on

                          internet dating sites; and;

                       d) retaining male employees while laying off female employees.

          289.    One of the call center supervisors explained to a female employee: “I keep you

    women to handle the bullshit jobs.”

          290.    The call center supervisors also subjected the Iowa victims to symbols of male

    superiority and violence.

          291.    The call center supervisors also openly discussed their mutual belief that “all

    women are whores.”

                  3.      The Iowa Victims Filed Complaints Because the Sexual Harassment
                          Debtors Refused to Protect Them.

          292.    Despite numerous requests by Ackelson and the other Iowa victims, the call

    center supervisors refused to cease their constant sexual harassment of or discrimination against

    female employees.

          293.    Instead of honoring these requests to stop, the call center supervisors responded

    with even more misogynist abuse, including the following comments:

                       a) “Calling you a whore should be a compliment, considering the other

                          names you have been called”; and

                       b) “Why do women need to be so soft? This is why men run shit.”


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          294.    Ackelson complained to management at the Indianola call center, but these

    complaints did not result in any consequences for the supervisors nor an end to the sexual

    harassment.

          295.    Ackelson also complained to “Hong Kong” and “California” on behalf of herself

    and the Iowa victims, but these complaints did not result in any consequences for the call center

    supervisors nor an end to the sexual harassment.

          296.    After a female employee complained to “California” about the harassment,

    Downey screamed at her in front of many other employees: “Don’t ever try to contact them

    again. You are nothing but sex slaves to them anyway.”

          297.    Downey, the highest ranked employee at the Indianola call center, elaborated:

    “You think Hong Kong cares about women? They got kids working for cents.”

          298.    Trapped in a workplace in which they suffered and/or witnessed ongoing sexual

    harassment, discrimination, and retaliation, each of the Iowa victims suffered physical and

    emotional distress.

          299.    After the Sexual Harassment Debtors refused to address and remedy the ongoing

    sexual harassment and discrimination at the Indianola call center, the Iowa victims sought relief

    from the Iowa Civil Rights Commission and the courts.

          D.      The Principals and Other assets and send them out of the country even

after the bankruptcy stay prohibiting all attempts to take or transfer Manley U.S. assets

was put in place.

          510.    Exhibit F to Aviva’s Complaint, for example, reflects payments of more

than $3 million of Manley assets that Dollar Empire and Wu conspired with the




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Principals, Hong Kong Entities, Aquawood, Toth, and Iowa Entities to divert to Toy

Quest Ltd. after the bankruptcy stay was entered.

        E.     Defendants Abused Legal Process around the World to Protect the SLB
               Enterprise’s Assets.Lied to Courts.

        511.   300. The Principals have conspired with other Defendants to retain control of

money that was rightfully due torepeatedly have misled courts in their efforts to evade the

judgments of Aviva and other independent creditors by deceiving courts and litigants around

the country.

        301.   To accomplish this goal, the Principals have dispatched attorneys to disrupt the

administration of justice by presenting meritless motions and filings intended to create delay,

distractions, and outcomes other than the requested relief.

        302.   The Principals have used Corporate Shell Defendants, including Toy Quest Ltd.,

Wellmax, Jun Tai, and Winning, to conceal their influence in conducting and funding sham

litigation.

        303.   The Principals have directed attorneys, including Mann, to file motions and

advance positions that are both baseless and designed to achieve ulterior purposes.

        304.   These crude tools of obstruction have been condemned by courts as being

“improper,” “misguided,” and “indefensible.”

        512.   They have done so with the assistance of lawyers who have appeared

repeatedly on behalf of multiple SLB Companies across the country and served as the

willing conduits of Defendants’ misrepresentations. Such lawyers have included Monte

Mann of Novack and Macey LLP (“Novack”) and Stephen Raucher of Reuben Raucher

& Blum (“RRB”).

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              1.      The SLB Enterprise Attacked Independent Creditors with Sham
                      Litigation in Hong Kong.Toy Quest Ltd. and Samson Chan
                      Submitted Fabricated Evidence and an Affirmation from a
                      Fictitious Person in Hong Kong Litigation.

       513.   305. As independent creditors asserted their rights against Manley and MTD in

U.S. courts, theThe Principals retaliated by directingcaused Toy Quest Ltd. to pursue

vexatious litigationfile a lawsuit in Hong Kong.

       306.   On March 30, 2016 against Aviva. In that lawsuit, Toy Quest Ltd. filed suit

against Aviva in Hong Kong seekingsought alleged “damages” resulting from Aviva’s

judgment collection efforts, a declaration that Toy Quest Ltd. is not an alter ego of

Manley, and an injunction blocking the post-judgment discovery served on Manley that

the Minnesota Federalthis Court already had ordered Manley to answer.

       514.   The purpose of that lawsuit was to intimidate Aviva, to circumvent the

authority of the District of Minnesota and other courts, and to interfere with Aviva’s

efforts to collect on its judgment.

       515.   307. A few months previously, the Principals also had caused Toy Quest

Ltd. also filed suitto file a similar lawsuit in Hong Kong against all of the five Iowa

victimsClaimants except Ms. Miller.

       516.   Among other things, Toy Quest Ltd. sought a declaration that Toy Quest

Ltd. is not an alter ego of Manley orMTD, Toy Network, Aquawood, or Manley; an

injunction barring the Iowa victimClaimants from pursuing discovery relating to Toy

Quest Ltd. from Manley orMTD, Toy Network, Aquawood, or Manley; and damages.




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          517.   308. Manley likewise filed suit in Hong Kong against the Eclipse Group, which is

Manley’s former U.S. counsel and is now one of its independent creditors. Toy Quest Ltd. and

Manley even filed a lawsuit in Hong Kong against their own Iowa-based defense counsel,

Ahlers & Cooney, which had represented MTD and Toy Network in the Iowa Claimants’

cases in Iowa. Toy Quest Ltd. and Manley sought an injunction preventing Ahlers &

Cooney from pursuing discovery from Toy Quest Ltd. or Manley, or garnishing property

“relating” to Toy Quest Ltd. or Manley.

          309.   Through these Hong Kong lawsuits, the Principals have attempted to use the

Hong Kong legal system to deprive independent creditors of what they are owed by

circumventing litigations already underway in U.S. courts.

          310.   This vexatious litigation targeted Aviva and the Iowa victims, all of whom had no

contacts in Hong Kong and had obtained U.S. judgments against SLB entities based on those

entities’ U.S. activities.

          311.   To support this vexatious litigation, Toy Quest Ltd. submitted an affidavit from

Chan, who directed the litigation in coordination with the other Principals.

          312.   Toy Quest Ltd. also submitted at least one fabricated affidavit from a fictitious

person.

          518.   313. Specifically, onOn August 16, 2016, Toy Quest Ltd. filed an Affirmation

of submitted a purported sworn affirmation from a person supposedly named “Gary

Swerdlow” (the “Swerdlow Affirmation”) beforein the Hong Kong court. lawsuit that Toy

Quest Ltd. brought against Aviva.




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       519.   The Swerdlow Affirmation alleged thatwas submitted to support the

argument that Aviva’s judgment enforcement efforts had caused Toy Quest Ltd. had

suffered damages from a loss ofto lose business in the United States due to .

       520.   Aviva’s efforts to enforce the judgment against Manley.

       314.   Upon information and belief believes that the Swerdlow Affirmation is false

and fraudulent in its entirety. For example:

       521.   a) The Swerdlow Affirmation gave Swerdlow’s address as 1008 Homer

Street #508, Vancouver, BC. b) That claim was false; no. No such person resided or

worked there, because the address does not exist.

       522.   Diligent subsequent efforts by Aviva to identify anyone named Gary

Swerdlow who works in the toy industry or lives in Vancouver have failed.

       523.   c) The Swerdlow Affirmation also alleged that Swerdlow had spoken to

several retailers on behalf of Toy Quest Ltd., including Hot Topic, Dollar General, Home

Depot, and Jet.com.

       d)     NoneAviva subsequently learned that none of those retailers had any record

of Swerdlow, and Hot Topic provided a declaration that its personnel had never spoken

to anyone named Gary Swerdlow on behalf of Toy Quest Ltd.

              e)      In fact, despite a thorough search, Aviva cannot find any evidence that

                      “Gary Swerdlow” of Vancouver, Canada even exists.

       524.   On the same day the Swerdlow Affirmation was submitted, Samson Chan

also submitted an affirmation. Attached as “evidence” to his affirmation was a fabricated



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fax purportedly from Swerdlow that summarized his supposed conversations with

retailers.

              2.      To Protect the SLB Enterprise from Garnishment Actions, the
                      Principals Directed Sham Litigation Defendants and Corporate Shell
                      Defendants to Lie to U.S. Courts.The Principals Have Directed
                      SLB Companies to Interfere with Garnishment Proceedings on
                      False Pretenses.

       525.   315. To enforce the Minnesotaits judgment against Manley, Aviva brought a

series of garnishment actions seeking funds from retailers that had conducted business

with Manley when it was using the “Toy Quest” trade name.

       316.   Toy Quest Ltd. conspired with other Defendants to protect the SLB Enterprise by

interfering with garnishment actions brought by Manley’s creditors.

       526.   317. For exampleOne such action was brought in the Middle District of

Tennessee, so that Aviva registered its judgment in the Middle District of Tennessee and

opened a miscellaneous action there (the “Tennessee Action”), then filed a Motion for Judgment

in the Tennessee Action to obtaincould garnish funds owed by the retailer Dollar General to

Manley.

       527.   318. There, theThe Principals dispatched Defendant Wellmax to contest

Aviva’s garnishment by.

       528.   Wellmax operated out of space leased from and/or occupied by Manley,

and Wellmax was listed as a named insured on Manley’s insurance policy, along with

Toy Quest Ltd., Aquawood, and other SLB Companies. Samson Chan was one of the

initial directors of Wellmax.




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         529.   Wellmax falsely assertingasserted a security interest in the Dollar General

funds.

         319.   Wellmax’s, but its alleged security interest was a sham.

         530.   320. Wellmax had no evidence of any actual security interest in Manley’s or

Toy Quest Ltd.’s receivables and had taken none of the actions necessary to perfect a

security interest in the United States or Hong Kong.

         321.   As Aviva demonstrated with documents and expert testimony regarding Hong

Kong’s system for perfecting security interests, the Principals had concocted Wellmax’s alleged

security interest with no legal or factual basis.

         531.   322. Wellmax had no response to Aviva’s evidencethese facts.323. Instead,

Toy Quest Ltd. suddenly entered an appearance and sought to intervene to

opposechallenge Aviva’s Motion for Judgmentgarnishment.

         532.   324. Having been exposed as a sham intervenor, Wellmax withdrew from

the Tennessee Actioncase within a few hours of Toy Quest Ltd. entering its appearance.

         533.   325. Toy Quest Ltd.’s decision to intervene in the Tennessee Action was

made at the direction of Dubinsky, Mann, Gary Chan, Mann, and attorney Stephen Raucher

of Reuben Raucher & Blum (“RRB”)Raucher.

         534.   326. In its proposed opposition, Toy Quest Ltd. demandedproceeded to

demand approximately $100,000 that Dollar General had paid into the court’s registry in

response to Aviva’s garnishment of Manley accounts receivable, but offered no evidence to




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refute Aviva’s argument that Manley had done business using the “Toy Quest Ltd.”

name.

        535.   327. Like Wellmax, Toy Quest Ltd. intervened not to protect its own assets,

but to interfere with the ability of Manley’s creditors to collect Manley assets.

        536.   328. Moreover, Toy Quest Ltd.’s attempt to seize these assets constituted a

willful violation of 18 U.S.C. § 152 as well as the Bankruptcy Stay.

        329.   Upon learning of this attempt to seize assets subject to the Bankruptcy Stay, the

Bankruptcy Court imposed sanctions againstthe bankruptcy stay imposed when Manley

sought recognition of its liquidation in the United States. As discussed in more detail

below, Toy Quest Ltd. was sanctioned for that stay violation.

               3.     Alan Chan Lied to the Iowa Federal and State Courts.

        537.   In 2013, Alan Chan submitted affidavits in both Iowa federal and state

courts in which he swore that Manley did not own property in the United States or in the

State of Iowa, did not derive revenue from services rendered in Iowa, never maintained

any bank accounts or assets or financial interest in Iowa, and never owned, rented, or

leased property in Iowa.

        538.   All of these claims were false, and Alan Chan knew they were false.

        539.   At the time, Manley maintained offices in Indianola and Los Angeles.

        540.   Manley also owned property in Iowa, and had numerous other assets and

financial interests in Iowa.




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       541.   In January 2015, with the Iowa Claimants’ trials approaching, the

Principals caused Toy Warehouse to sell the Indianola facility for more than $6.1 million.

       542.   On January 8, 2015, to ensure that this money could not be used to satisfy

judgments obtained by the Iowa Claimants, Alan Chan wired building sale proceeds of

$6,198,456.10 from Iowa to Manley’s Hang Seng Bank account in Hong Kong.

       543.   Alan Chan’s false statements were material in that they were intended to

persuade the courts that they did not have jurisdiction over Manley and that the Iowa

Claimants’ claims against Manley should thus be dismissed.

       544.   The affidavits were electronically submitted in July or August 2013 to the

Southern District of Iowa in Ms. Rennenger’s case and Ms. Roush’s case and to the Iowa

state court in Ms. Ackelson’s case and the combined case of Ms. Drake and Ms. Miller.

              4.     Other False Statements to Courts

       545.   Defendants made many other false statements to courts.

       546.   The following table summarizes false court filings asserting that Manley

and Toy Quest Ltd. kept separate accounts and did not commingle funds. The purpose of

those misrepresentations, which were transmitted to the courts in interstate and foreign

commerce through the courts’ electronic case filing systems, was to conceal the true

activities of Manley and Toy Quest Ltd., thereby permitting the SLB Enterprise to

conduct business using the “Toy Quest Ltd.” name while evading liabilities.




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                  False and Fraudulent Communications to U.S. Courts

Date        Purported        Recipient       Content
            Sender
5/4/15      Toy Quest    U.S. Dist. Ct.     Declaration of Francis Wong, on behalf of
            Ltd. and     for the            Toy Quest Ltd., falsely claiming that Manley
            Francis Wong Northern Dist.     and Toy Quest Ltd. kept separate accounts
                         of Tex.            and did not commingle funds
5/4/15      Alan Chan    U.S. Dist. Ct.     Declaration of Chan Siu Lin a/k/a Alan Chan,
            and Manley   for the            on behalf of Manley, falsely claiming that
                         Northern Dist.     Manley and Toy Quest Ltd. kept separate
                         of Tex.            accounts and did not commingle funds
5/4/15      Toy Quest    U.S. Dist. Ct.     Declaration of Francis Wong, on behalf of
            Ltd. and     for the            Toy Quest Ltd., falsely claiming that Manley
            Francis Wong Northern Dist.     and Toy Quest Ltd. kept separate accounts
                         of Ill.            and did not commingle funds
5/4/15      Alan Chan    U.S. Dist. Ct.     Declaration of Chan Siu Lin a/k/a Alan Chan,
            and Manley   for the            on behalf of Manley, falsely claiming that
                         Northern Dist.     Manley and Toy Quest Ltd. kept separate
                         of Ill.            accounts and did not commingle funds
5/11/15     Toy Quest    U.S. Dist. Ct.     Declaration of Francis Wong, on behalf of
            Ltd. and     for the Middle     Toy Quest Ltd., falsely claiming that Manley
            Francis Wong Dist. of Tenn.     and Toy Quest Ltd. kept separate accounts
                                            and did not commingle funds
5/11/15     Alan Chan        U.S. Dist. Ct. Declaration of Chan Siu Lin a/k/a Alan Chan,
            and Manley       for the Middle on behalf of Manley, falsely claiming that
                             Dist. of Tenn. Manley and Toy Quest Ltd. kept separate
                                            accounts and did not commingle funds

         547.   The following table lists false statements about the operations of SLB

Companies in several electronic court filings around the country sent in interstate and

foreign commerce.




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                False and Fraudulent Communications to U.S. Courts

Date        Purported    Recipient          Summary of False and Fraudulent
            Sender                          Communication
12/12/16    Toy Quest    U.S. Bankr.        Motion to Compel Aviva to comply with
            Ltd.         Ct. for the        Bankruptcy Stay, attempting to block
            (through     Dist. of NJ        discovery into Toy Quest Ltd.’s activities and
            counsel)                        forestall sanctions motion and falsely
                                            alleging that Aviva was in violation of Stay
12/21/16    Chan         U.S. Dist. Ct.     Declaration falsely stating, inter alia, that
            (through     for Dist. Of       Chan “retired” from “day-to-day
            counsel)     Minn.              operation[s]” and being “CEO” of Manley in
                                            2011 and “was not aware of and made no
                                            decisions on behalf of Manley with respect to
                                            the post-judgment discovery at issue on this
                                            motion”
12/21/16    Dubinsky     U.S. Dist. Ct.     Declaration falsely stating, inter alia, that “at
            (through     for Dist. Of       no time did Aquawood or [Dubinsky] have
            counsel)     Minn.              any control over or decision-making
                                            authority” with respect to Manley
12/21/16    Alan Chan    U.S. Dist. Ct.     Declaration falsely stating, inter alia, that
            (through     for Dist. Of       making “decisions on behalf of Manley with
            counsel)     Minn.              respect to the post-judgment discovery at
                                            issue on this motion” was not part of Alan
                                            Chan’s job responsibilities
1/26/17     Toy Quest    U.S. Dist. Ct      Opposition to Motion for Status Conference,
            Ltd.         for the Middle     fraudulently claiming that funds owed by
            (through     Dist. of Tenn.     Dollar General to Manley were in fact owed
            counsel)                        to Toy Quest Ltd.
1/27/17     Toy Quest    U.S. Dist. Ct      Supplemental Opposition to Motion for
            Ltd.         for the Middle     Status Conference, seeking to take funds
            (through     Dist. of Tenn.     owed by Dollar General to Manley
            counsel)
3/15/17     Dubinsky     U.S. Dist. Ct.     Declaration of Dubinsky, falsely claiming
            (through     for the Dist. of   that Aquawood is an independent sales
            counsel)     NJ                 representative
4/11/17     Toy Quest    U.S. Bankr.        Opposition to motion to compel documents
            Ltd.         Ct. for the        and information, falsely representing Toy
            (through     Dist. of NJ        Quest Ltd.’s dealings with Dollar General
            counsel)
5/17/17     Toy Quest    U.S. Bankr.        Supplemental interrogatory response, falsely
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          Ltd.           Ct. for the      describing Toy Quest Ltd.’s dealings with
          (through       Dist. of NJ      Dollar General and Toy Quest Ltd.’s actions
          counsel)                        in response to discovery
6/8/17    Toy Quest      U.S. Bankr.      Second supplemental interrogatory response,
          Ltd.           Ct. for the      falsely describing Toy Quest Ltd.’s dealings
          (through       Dist. of NJ      with Dollar General and Toy Quest Ltd.’s
          counsel)                        actions in response to discovery
7/18/17   Toy Quest      U.S. Bankr.      Opposition to motion to compel depositions,
          Ltd.           Ct. for the      falsely representing Toy Quest Ltd.’s efforts
          (through       Dist. of NJ      to respond to discovery served in bankruptcy
          counsel)                        case
8/15/17   Wu (through U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
          counsel)    for the Central     Dollar Empire was “just a customer” of Toy
                      Dist. of Cal.       Quest Ltd. and Banzai International
10/2/17   Wu (through U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
          counsel)    for the Central     Dollar Empire was a “consignee” of Banzai
                      Dist. of Cal.       International without disclosing the alleged
                                          fact that Dollar Empire did not actually
                                          receive the “consigned” goods
1/12/18   Wu (through U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
          counsel)    for the Central     Dollar Empire had no interest in consigned
                      Dist. of Cal.       goods whatsoever and that Dollar Empire
                                          received no revenue from Banzai
                                          International
4/20/18   MTD            U.S. Dist. Ct.   Declaration falsely stating, inter alia, that
          (through       for the          MTD had “never done business at the address
          counsel and    Southern Dist.   of 700 New York Avenue, Des Moines,
          its            of Iowa.         Iowa,” and that MTD “has had no employees
          “Corporate                      in the United States [sic] 2013”
          Secretary”)
5/24/18   Toth           U.S. Dist. Ct.   Affidavit by certification falsely stating, inter
          (through       for the          alia, that MTD “never did business” at the
          counsel)       Southern Dist.   address of 700 New York Avenue, Des
                         of Iowa.         Moines, Iowa.
7/3/18    Chan           U.S. Dist. Ct.   Declaration falsely stating, inter alia, that
          (through       for Dist. Of     Chan “retired” from “day-to-day
          counsel)       Minn.            operation[s]” and being “CEO” of Manley in
                                          2011 and “was not aware of and made no
                                          decisions on behalf of Manley with respect to
                                          the post-judgment discovery at issue on this
                                          motion”
7/3/18    Liu (through   U.S. Dist. Ct.   Declaration falsely stating, inter alia, that Liu

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                counsel)       for Dist. Of     “was not aware of and made no decisions on
                               Minn.            behalf of Manley with respect to the
                                                post-judgment discovery at issue on this
                                                motion”
7/3/18          Dubinsky       U.S. Dist. Ct.   Declaration falsely stating, inter alia, that “at
                (through       for Dist. Of     no time did Aquawood or [Dubinsky] have
                counsel)       Minn.            any control over or decision-making
                                                authority” with respect to Manley
7/3/18          Alan Chan      U.S. Dist. Ct.   Declaration falsely stating, inter alia, that
                (through       for Dist. Of     making “decisions on behalf of Manley with
                counsel)       Minn.            respect to the post-judgment discovery at
                                                issue on this motion” was not part of Alan
                                                Chan’s job responsibilities
7/3/18          Park Lane      U.S. Dist. Ct.   Declaration falsely stating, inter alia, that
                (through       for Dist. Of     that Park Lane “was not aware of and made
                counsel and    Minn.            no decisions on behalf of Manley with
                its                             respect to the post-judgment discovery at
                “Manager”)                      issue on this motion”

         548.     Defendants similarly furthered their fraudulent scheme by lying to courts to

block independent creditors’ efforts to garnish funds, including by falsely asserting rights

to money that retailers owed to Manley and making false representations in response to

court-ordered discovery, as summarized in the following table.

                    Wire Communications Intended to Evade Garnishment
                              or Take Funds Owed to Manley
Date            Purported     Recipient      Method      Content
                Sender
5/4/15          Toy Quest     U.S. Dist. Ct  Electronic Motion to Dissolve
                Ltd. (through for the        Case Filing Garnishment, seeking to take
                counsel)      Northern Dist.             funds owed by Michaels to
                              of Texas.                  Manley
5/11/15         Toy Quest     U.S. Dist. Ct  Electronic Motion to Quash Garnishment,
                Ltd. (through for the Middle Case Filing seeking to take funds owed by
                counsel)      Dist. of Tenn.             Dollar General to Manley
5/11/15         Toy Quest     U.S. Dist. Ct  Electronic Motion to Quash Garnishment,
                Ltd. (through for the Middle Case Filing seeking to take funds owed by
                counsel)      Dist. of Tenn.             Dollar General to Manley
11/6/15         Wellmax       U.S. Dist. Ct  Electronic Motion to Quash Garnishment,
                (through      for the Middle Case Filing seeking to take funds owed by
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              counsel)         Dist. of Tenn.             Dollar General to Manley
11/6/15       Wellmax          U.S. Dist. Ct  Electronic  Memorandum in Support of
              (through         for the Middle Case Filing Motion to Quash Garnishment,
              counsel)         Dist. of Tenn.             seeking to take funds owed by
                                                          Dollar General to Manley
11/6/15       S. Lee and       U.S. Dist. Ct  Electronic Declaration of Samuel Lee on
              Wellmax          for the Middle Case Filing behalf of Wellmax, falsely
                               Dist. of Tenn.             asserting a security interest in
                                                          funds owed by Dollar General
                                                          to Manley
12/7/15       Toy Quest        U.S. Dist. Ct  Electronic Motion to Intervene and
              Ltd. (through    for the Middle Case Filing Opposition to Motion for
              counsel)         Dist. of Tenn.             Judgment, seeking to take
                                                          funds owed by Dollar General
                                                          to Manley
2/24/16       Jun Tai and      U.S. Dist. Ct. Electronic Motion to Intervene and
              Winning          for the Dist.  Case Filing oppose motion for sanctions,
              (through         of Minn.                   falsely representing the filers’
              counsel)                                    connection to Manley and
                                                          filed for the undisclosed
                                                          purpose of delaying the
                                                          sanctions motion long enough
                                                          for Manley to begin
                                                          bankruptcy proceedings

       F.       Defendants Have Deceived Creditors, Manley’s Liquidators, and the
                Courts in Connection with Manley’s Bankruptcy Case.

       549.     In late 2015 or early 2016, the Principals decided to liquidate Manley in

Hong Kong and seek chapter 15 recognition of the liquidation in the Bankruptcy Court.

       550.     In March 2016, as a result of the petition for chapter 15 recognition, the

Principals succeeded in obtaining a stay of all U.S. litigations involving Manley.

       551.     At that time, Aviva was seeking injunctive sanctions against Manley that

would have prevented Manley and its affiliates from importing SLB Products into the

United States. The bankruptcy stay put an abrupt halt to those sanctions proceedings.



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       552.    The Principals’ pre-liquidation misconduct also prevented Manley’s

Liquidators from pursuing any loss-recovery claims by depriving the Liquidators of the

money and documents necessary to pursue or sustain such claims.

       553.    Meanwhile, all of the Defendants violated the bankruptcy stay by

disguising Manley assets and sending them out of the country.

               1.     3. Faced with the Likelihood that thePrior to Manley’s Bankruptcy
                      Filing, the District of Minnesota Federal Court WouldWas Poised
                      to Impose Crippling Import Sanctions on the SLB Enterprise,
                      the Principals Used Sham Intervenors to Escape the Court’s
                      Authority.

               330.   On September 29, 2015, Aviva served Manley with post-judgment
                      document requests and interrogatories, which Manley ignored. Aviva then
                      filed a motion to compel Manley to respond.

       554.    331. On December 30, 2015, the District of Minnesota Federal Court granted

Aviva’s motion to compel and ordered Manley to respond to the discoveryAviva’s

post-judgment document requests and interrogatories by January 21, 2016. The deadline

passed, and Aviva received nothing, and Manley and the Principals once again violated a U.S.

court order.

       555.    332. On February 12, 2016, Aviva filed a motion for sanctions motion based

on that violation of the court’s order. The sanctions motion sought monetary sanctions and

an injunction preventing Manley—as well as Toy Quest Ltd. or any other intermediary,

affiliate, or alter ego of Manley—from selling, importing, distributing, or shipping SLB

Products into the United States (the “importation injunction”). A hearing was set for March

1, 2016.



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       556.    333. The importation injunction would have posed a major threat to the

SLB Enterprise.

       557.    334. During a previous hearing, the District of Minnesota Federal Court

expressly had warned counsel for Manley that it would impose thean importation

injunction that Aviva sought as a coercive sanction:

           I think that they are over there in Hong Kong or China, and they just
           don’t care. . . . I see no alternative but to put an embargo on all
           importation of Bonsai products, all Manley, and Manley-related
           products. None may be imported into this country until the
           responsibilities of Manley in this litigation have been discharged.
           And I intend to do that only because every other avenue seems
           hopeless. . . . So they’re going to have to care. If they are going to
           do business in this country, they are going to have to follow the
           Court’s orders. So that’s all there is to it. . . . I mean this is bad.
           This is beyond shocking. Beyond shocking. . . . [E]verything smells
           like a ruse, and it smells like contempt.

               2.     a. The Principals, Toy Quest Ltd., and Novack Concealed Their
                      Collusion from the Court.

       335.    On February 19, 2016, a Minnesota attorney called counsel for Aviva to state that

his firm was considering a proposed engagement as local counsel for Toy Quest Ltd. and

possibly other companies related to Aviva’s motion for sanctions. That attorney said that

Novack would serve as lead counsel, and asked Aviva to consent to an extension of time to file a

motion to intervene and to consent to Toy Quest Ltd.’s intervention.

       336.    Counsel for Aviva did not consent to this transparent effort to delay the discovery

process yet again.

       337.    At the direction of the Principals, Toy Quest Ltd. retained Novack.

       338.    Novack also represented Jun Tai and Winning—which were not mentioned

during the meet-and-confer call on February 19—in this coordinated effort.


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       339.    Dubinsky served as the “litigation agent” for Toy Quest Ltd., Jun Tai, and

Winning, just as he had in multiple previous lawsuits.

       340.    On February 24, 2016, at the direction of the Principals, Jun Tai and Winning

filed a motion to intervene before the Minnesota Federal Court.

       341.    Novack entered an appearance only on behalf of Jun Tai and Winning, while

failing to disclose its simultaneous representation of Toy Quest Ltd.

       342.    Toy Quest Ltd. paid for the motion but, to conceal its role from the Court,

refrained from joining the motion.

       343.    In this litigation, Jun Tai and Winning provided materially false information about

their corporate structure to the Court.

               a)      The corporate ownership of Jun Tai and Winning and their relationship to

                       Manley were material issues in the litigation.

               b)      In the motion, Jun Tai and Winning claimed that they shared one or more

                       corporate parents with Manley.

               c)      However, in the accompanying corporate disclosures Jun Tai and Winning

                       claimed that they had no corporate parents.

               d)      It was not possible for both claims to be true.

               e)      Accordingly, one or both claims were materially false.

       344.    In addition, Jun Tai and Winning falsely alleged that they had interests that could

be harmed by an import injunction affecting Manley products.

       345.    The Minnesota Federal Court agreed to hear the motion to intervene on March 14,

2016, and postponed the hearing on Aviva’s motion for sanctions until March 31, 2016.




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       346.    Mann appeared on behalf of Jun Tai and Winning at the March 14 hearing. Mann

(and Novack) knew that the false claims Novack was advancing on behalf of Jun Tai and

Winning had no merit and were being made purely for the purpose of delay.

       347.    Novack did not disclose to the court the fact that Toy Quest Ltd. and Dubinsky

were coordinating the motion or that its true purpose was to disrupt the sanctions hearing and

deprive the Minnesota Federal Court of its ability to enforce its judgment.

                      b.      The Motion to Intervene Was a Sham.

       348.    The Minnesota Federal Court denied the motion to intervene as “grossly

deficient” on March 17, 2016.

       349.    The court observed that Jun Tai and Winning had failed to set forth any factual

support for their claims or comply with basic procedural requirements:

           For whatever reason, the movants wholly failed to provide the Court with
           any facts as to who they are, what they do (e.g., do they even sell or
           distribute Manley toys in the United States), what their interest in the
           sanctions motion is, what their relationship to Manley is, or how the
           outcome of the sanctions motion would affect them. Significantly, their
           motion was unsupported by any declaration or affidavits that would permit
           the Court to evaluate their contention that intervention was warranted. In
           fact, even their conclusory statements that they have a common ownership
           with Manley, but are separate legal entities, was without any evidentiary
           support.

       350.    The Minnesota Federal Court also took Novack to task for not discharging its

duty to substantiate the claims it was presenting to the court, finding that Novack’s excuses

deserved “no credence”:

           At the motion hearing, the movants’ counsel described how the movants
           sold toys for Manley in the past and that they now have Manley products
           in their inventory that they would like to sell, but may not be able to do if
           the District Court granted the injunction portion of [Aviva’s] sanctions
           motion. Of course, this was news to the Court and opposing counsel as
           these representations were not reflected in the movants’ motion papers.
           Counsel then explained that the reason no supporting affidavits or
           declarations were filed was that the motion had to be brought hurriedly

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             and there was no time for counsel to obtain a declaration or affidavits from
             the movants in support of their motion. The Court placed no credence in
             this explanation. Counsel represents Manley and Toy Quest [Ltd.] in
             garnishment actions by [Aviva] around the country and had two weeks to
             file motion papers after [Aviva] initially filed its sanctions motion on
             February 12, 2016, and set the hearing for the sanctions motion for March
             1.

                        c.      The Delay the Sham Motion Caused Bought the Principals
                                Enough Time to Commence Bankruptcy Proceedings that
                                Stripped the Minnesota Federal Court of Its Ability to
                                Sanction Manley.

       351.     The sham motion to intervene was not filed to obtain the relief requested in the

motion.

       352.     Rather, it was intended only as a tactic of delay.

       353.     The sham motion achieved its intended result, in that the Minnesota Federal Court

continued the sanctions hearing until March 31, 2016 while it heard and considered the motion to

intervene.

       354.      As discussed below, that delay provided enough time for the Principals to begin

Manley’s liquidation in Hong Kong and for Manley’s Liquidators to file a petition for chapter 15

recognition and a request for emergency provisional relief to shut down all U.S. litigation

relating to Manley, including the litigation before the Minnesota Federal Court and efforts by

TRU to hold Manley accountable for selling the waterslide that killed Robin Aleo.

       355.     Thus, with less than a week to spare before the sanctions hearing, the Principals

sidestepped the Minnesota Federal Court’s authority, allowing them to continue to import

products into the United States (through customs fraud and money laundering schemes,

described below) and take millions of dollars out of the United States, without answering for

their repeated violations of the Minnesota Federal Court’s orders.




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       356.    Years later, acknowledging the mountain of evidence against Manley and the

Principals, the Bankruptcy Court stated that it did “not doubt that Toy Quest and other insiders

have taken actions to avoid paying Aviva’s claims,” that Manley’s “actions in various courts in

the United States appears to have been improper,” and that Manley’s “decision to enter into

liquidation may have been the latest step in an effort to avoid a day of reckoning in the United

States.”

               4.      The SLB Enterprise Protected its Assets through Sham Orchestrated
                       Fraudulent Liquidation and Bankruptcy Proceedings Designed
                       to Escape Liability in the U.S. and Cheat Independent Creditors
                       like Aviva.

                       a.     The Principals Rigged Manley’s Creditor List to Give
                              Themselves Control over the Liquidation.

       558.    357. Once the Principals realized that time was running out in Minnesota,

they rushed to liquidate Manley in Hong Kong, riggingmanipulating Manley’s creditor list

to ensure that members of the SLB EnterpriseCompanies would control the liquidation and

convening a “Creditors’ Meeting” before most independent creditors received notice.

       358.    Sixteen of the seventeen “creditors” at that meeting—including Toy Quest Ltd.,

which had assumed most of Manley’s business relationships—were members of the SLB

Enterprise and controlled by Chan and his family, including Alan Chan. The Committee of

Inspection (“COI”) formed to supervise the Liquidators also is controlled by the Chans and is

comprised exclusively of members of the SLB Enterprise.

       359.    The Principals have prevented the Liquidators from pursuing any alter ego or

fraudulent transfer claims by depriving the Liquidators of the money and documents necessary to

sustain such claims. Instead, the only significant funds available to the Liquidators were




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reserved exclusively for shutting down all litigation that independent creditors had brought

against Manley in the United States.

                      a.      The Principals Maintained Control over the Liquidation
                              Process by Stacking Manley’s Creditor List with Sham
                              “Creditors.”

       559.    360. In late February and early March 2016, at the same time the sham motion

to intervene was being filed and briefed, the Principals took steps to gerrymander Manley’s

creditor list to make it appear that the percentage of Manley liabilities owed to Manley

affiliatesSLB Companies exceeded fifty percent, thereby giving those affiliates power

over the liquidation at the expense of independent creditors.

       560.    361. As of mid-February 2016, Manley owed approximately HK $125

million to two banks, Hang Seng Bank and HSBC Hong Kong. The banks were among

Manley’s largest creditors.

       561.    362. OverBut over the next two weeks, the Principals substituted in two

Manley affiliatesSLB Companies—Toy Quest Ltd. and Manley Fashion—as purported

creditors of Manley by having them provide funds to Manley to pay off the bank loans.

       562.    363. If Toy Quest Ltd. and Manley Fashion had not transferred funds to

Manley to pay the banks, the affiliates would not have been Manley creditors when

Manley liquidated. Indeed, financial records demonstrated that those companies actually

owed money to Manley until shortly before Manley’s liquidation.




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       563.   364. Moreover, Toy Quest Ltd. and Manley Fashion were themselves

obligors on the loans, meaning that those affiliatescompanies were paying off their own

loans, even though their payments were funneledrouted through Manley.

       564.   365. The manufactured bank loan payments from Toy Quest Ltd. and Manley

Fashion through Manley to the banks artificially increased the percentage of Manley’s total

liabilities that supposedly were owed to Manley’s affiliatesSLB Companies just enough for

Manley affiliatesthose companies to assert control over the entire creditor group.

                     b.     The Principals Looted Manley Prior to the Liquidation.

       565.   As discussed above, the Principals and the Hong Kong Entities looted

Manley prior to the liquidation, taking its accounts receivable, inventory, business

opportunities, goodwill, and nearly all its cash, and hiding its documents with one or

more of the Hong Kong Entities.

       566.   The Principals and Hong Kong Entities also divested Manley of six luxury

automobiles—a Bentley, a Ferrari, a Porsche, a Jaguar, and two Mercedes Benz sedans.

                     c.     b. Manley’s Creditors’ Meeting Was Timed to Prevent
                            Aviva and Other Independent Creditors from Receiving
                            Adequate Notice.

       567.   366. The Principals held their first meeting with the Manley’s Liquidators

on March 4, 2016, the day after the final bank loan was paid off.

       568.   367. The Principals convened a “Creditors’ Meeting” in Hong Kong on

March 22, 2016, the “quickest date” possible.




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       569.   368. The Principals waited to mail notice of the meeting to Manley’s

U.S.-based creditors until it was too late for those creditors to attend the meeting, even if

they had the time and money needed to fly halfway around the world. The notices were

not emailed or faxed.

       570.   369. Aviva did not receive notice of the Creditors’ Meeting until March 24,

2016, two days after the meeting occurred.

       370.   The notice was dated March 11, 2016, and was postmarked in Hong Kong on

March 12, 2016, leaving only six working days for it to make it to Aviva before the meeting

occurred.

       571.   371. Other U.S. creditors likewise did not receive notice until after the

meeting.

               The law firm that represented the Iowa Claimants in their civil rights

                   claims against SLB Companies did not receive notice of the Creditors’

                   Meeting until after the meeting occurred.

                  a) The Eclipse Group, a law firm that formerly represented Manley, did

                   not receive notice until April 4, 2016, almost two weeks after the

                   meeting.

              b)      Newkirk Zwagerman, a law firm that represents the Iowa victims in civil

                      rights claims against SLB Companies, similarly received notice after the

                      meeting.




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               c) Out of Manley’s nine U.S. creditors, only one apparently knew about

                 the meeting sufficiently ahead of time to submit a claim form, and he

                 apparently learned about the meeting from a source other than the

                 mailed notice.

       572.   372. The Principals thus created a situation where it was impossible for

most of Manley’s independent creditors to have any effective voice in the initial

liquidation proceedingsproceeding.

                     d.     c. The Meeting WasPrincipals Dominated by Shamthe
                            Creditors Who’ Meeting and Commissioned a COI
                            Controlled by“Committee of Inspection” to Direct the
                            PrincipalsLiquidation.

       573.   373. Even if some of Manley’s U.S. creditors had managed to learn about

and attend the Creditors’ Meeting, the Principals made certain that the deck would be

stacked so heavily in favor of Manley insidersthe SLB Companies that the wishes of

independent creditors would be overridden.

       574.   374. BeforeImmediately before the Creditors’ Meeting, Samson Chan,

—acting as the shareholder and “proxy holder” for Manley’s parent company Teng Yue

Holdings Ltd., —was literally the only person present at the “Extraordinary General

Meeting” at which the resolution to initiate Manley’s liquidation was passed.

       575.   375. HeSamson Chan then chaired the Creditors’ Meeting, in his capacity as

a director of Manley.

       576.   376. Of the seventeen “creditors” represented at the Creditors’ Meeting,

sixteen of them —including Toy Quest Ltd., which had assumed most of Manley’s


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business relationships—were members of the SLB Enterprise andCompanies controlled by

Samson Chan and, Alan Chan, and Lisa Liu.

       577.   377. Either Samson Chan or Alan Chan was identified as the point of

contact and signed proof of debt forms for all sixteen of them.

       578.   378. The sixteen SLB creditors appointed a five-member committee of

inspection (“COI”) to direct the liquidation.

       579.   379. Samson Chan, Alan Chan, and Liu control all five companies on the

COI, including Toy Quest Ltd.

               a) Alan Chan is the sole natural-person director of three of themthe

                   companies, all of which are owned by Manley Overseas Ltd.

               b) Samson Chan is the sole natural-person director of the other two

                   companies, Toy Quest Ltd. and Manley Fashion, which are also the

                   entities that provided the funds to pay off the bank loans.

               c) Liu is also the “authorized signatory” for Toy Quest Ltd.

              3.      The Principals Used Sham Intervenors to Circumvent the
                      Authority of the District of Minnesota.

       580.   On February 24, 2016, a week before Aviva’s motion seeking injunctive

sanctions was scheduled to be heard, the law firm Novack, which frequently represents

SLB Companies, filed a motion to intervene in the District of Minnesota on behalf of two

companies, Jun Tai Co. Ltd. (“Jun Tai”) and Winning Industrial Ltd. (“Winning”).




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       581.   Although Novack had been retained by Toy Quest Ltd., Novack failed to

disclose its representation of Toy Quest Ltd. to the court. And while Toy Quest Ltd. paid

for the motion filed on behalf of Jun Tai and Winning, Toy Quest Ltd. refrained from

joining the motion itself and instead concealed its role from the court.

       582.   Dubinsky served as the “litigation agent” not only for Toy Quest Ltd. but

also for Jun Tai and Winning, just as he had served as the “litigation agent” for other

SLB Companies in multiple previous lawsuits.

       583.   Through Novack and at the direction of Dubinsky, Jun Tai and Winning

provided materially false information about their corporate ownership to this Court,

claiming both that they shared one or more corporate parents with Manley and that they

had no corporate parents.

       584.   Jun Tai and Winning also falsely alleged that they had interests that could

be harmed by an import injunction affecting Manley products.

       585.   The Court agreed to hear the motion to intervene on March 14, 2016, and

postponed the hearing on Aviva’s motion for sanctions until March 31, 2016.

       586.   On March 17, 2016, the Court denied the motion to intervene as “grossly

deficient.” The Court observed that Jun Tai and Winning had failed to set forth any

factual support for their claims or comply with basic procedural requirements:

          For whatever reason, the movants wholly failed to provide the Court
          with any facts as to who they are, what they do (e.g., do they even
          sell or distribute Manley toys in the United States), what their
          interest in the sanctions motion is, what their relationship to Manley
          is, or how the outcome of the sanctions motion would affect them.
          Significantly, their motion was unsupported by any declaration or
          affidavits that would permit the Court to evaluate their contention
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            that intervention was warranted. In fact, even their conclusory
            statements that they have a common ownership with Manley, but are
            separate legal entities, was without any evidentiary support.

       587.    Indeed, it is not clear that Jun Tai and Winning are even real companies.

Aviva has served discovery on Dubinsky, Aquawood, Toy Quest Ltd., Samson Chan,

Alan Chan, Lisa Liu, Banzai International, and Park Lane in an attempt to locate Jun Tai

and Winning so Aviva can serve them.

       588.    In response, Dubinsky, Aquawood, Toy Quest Ltd., Samson Chan, Alan

Chan, Lisa Liu, Banzai International, and Park Lane have maintained that they do not

have a single piece of paper reflecting contact information for Jun Tai and Winning, and

that they communicated only with a “Mr. Li” at a phone number that is not functional.

       589.    Nevertheless, the sham motion to intervene achieved its intended result, in

that the District of Minnesota moved the sanctions hearing from March 1, 2016 to March

31, 2016.

       590.    That delay provided enough time for the Principals to begin Manley’s

liquidation in Hong Kong and direct Manley’s Liquidators to file a petition for chapter 15

recognition and a request for emergency provisional relief to shut down all U.S. litigation

relating to Manley, including the litigation before this Court and efforts by TRU to hold

Manley accountable for selling the waterslide that killed Robin Aleo.

       591.    Thus, with less than a week to spare before the sanctions hearing, the

Principals sidestepped this Court’s authority, allowing them to continue to import

products into the United States (through customs fraud and money laundering, described



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below) and take millions of dollars out of the United States, without answering for their

repeated violations of this Court’s orders or paying the judgments owed to Aviva and

other creditors.

              4.     d. The Principals Have Arranged forPaid the Liquidators to Shut
                     Down U.S. Litigation against Manley but Have Prevented the
                     Liquidatorsin the U.S. While Preventing Them from Pursuing
                     Alter Ego or Fraudulent Transfer Claims.

       592.   380. From the beginningstart of the liquidation, the Principals and the

Liquidators agreed that Toy Quest Ltd. would fund efforts to stop U.S.

litigations—including the proceedings before the Minnesota Federal Court— through a

chapter 15 proceeding. Toy Quest Ltd. would pay the Liquidators only for work in

relation to chapter 15 activities, and none of Toy Quest Ltd.’s money could be spent on

liquidation activities in Hong Kong.

       593.   The Principals also chose and are paying the Liquidators’ U.S. bankruptcy

counsel, Archer & Greiner and Goodwin Procter. Toy Quest Ltd. is paying these lawyers

directly (and with criminal proceeds), without going through the Liquidators.

       594.   381. Meanwhile, Manley itself paid the Liquidators only a minimal amount

of money to be used in the Hong Kong litigation.

       595.   The Principals also concealed Manley’s assets from the Liquidators.

       596.   The Liquidators incorrectly concluded—based on records supplied by the

Principals—that Manley had conducted little to no business in the United States in recent

years and had less than $100,000 in realizable U.S. assets. In reality, Dollar Empire alone

owed Manley more than forty times that amount.


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       597.   In addition, the Liquidators purportedly did not know that Manley had been

operating as “Toy Quest Ltd.” until the week before Manley’s liquidation filing. The

Liquidators thus failed to identify as Manley assets the millions of dollars that major

retailers owed to Manley for sales it made using its “Toy Quest Ltd.” name.

       598.   382. AccordinglyWhile they have had no funding to take action in Hong

Kong, the Liquidators have had substantial resources—including the proceeds of criminal

activity—to fight Aviva and other independent creditors in U.S. courts.

       599.   The Liquidators have used that money to pay their lawyers to file the initial

chapter 15 recognition petition that triggered the bankruptcy stay, block Aviva’s efforts

to take discovery and to compel Toy Quest Ltd. to comply with the bankruptcy stay, and

oppose Aviva’s request for stay relief to allow independent creditors to assert alter ego or

fraudulent transfer claims.

       600.   383. In Hong Kong, however, the Liquidators have had almost no money to

investigate or prosecute claims involving Manley’s pre-liquidation transactions or the

conduct of Manley insiders.

       384.   Thethe Principals also chose and are paying Archer & Greiner and Daniel

Glosband, the Liquidators’ U.S. bankruptcy counsel. Toy Quest Ltd. is paying these lawyers

directly (and with criminal proceeds), without going through the Liquidators.or the Hong Kong

Entities.




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       601.    385. In additionAt the same time, the Principals have withheld documents

and information from the Liquidators that would enable them to pursuemight support alter

ego and fraudulent transfer claims.

       602.    Manley’s Liquidator Mat Ng testified that the Liquidators were not granted

access to the server used to store Manley’s emails, which was in the custody of

“Manley’s related companies.”

       603.    386. For example, theThe Liquidators also could not obtain documents

concerning Manley’s bank loans because Toy Quest Ltd. and other borrowers on the

loans would not consent to the documents’ production.

       604.    The Principals have retained possession of the servers on which, Aquawood,

Toth, and the Iowa Entities also have withheld from the Liquidators Manley’s electronic

documents are stored and have not permitted the Liquidators to access those documents. The

Principals also have prevented the Liquidators from seeing documents relating to Manley’s bank

loans by directing Toy Quest Ltd. and other borrowers on the loans to refuse to consent to the

documents’ release. , as well as other documents related to Manley’s financial condition

and assets, located in California and Iowa.

       605.    The Liquidators took possession of only a small subset of Manley’s books

and records.

       606.    The Principals refused to produce Manley’s documents in response to

discovery requests that Aviva and others have served in the Bankruptcy Court.




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              5.     Toy Quest Ltd. and the Liquidators Were on the Verge of
                     Entering into a Collusive Settlement, Which Was Rejected by
                     the Hong Kong Court.

       607.   On February 18, 2019, Manley’s Liquidators informed Aviva by letter that

the Liquidators had “negotiated” a settlement with Toy Quest Ltd.

       608.   The proposed settlement was not negotiated “with” Toy Quest Ltd. so much

as it was negotiated at the behest of Toy Quest Ltd. and its affiliates in a collusive attempt

to prevent independent creditors from recovering the money rightfully owed to them by

Manley.

       609.   All sides of the negotiation over the proposed settlement were represented

by professionals who were paid by Toy Quest Ltd. and/or other members of the SLB

Enterprise.

       610.   The Liquidators’ own lawyers also have represented SLB Companies in

connection with the Manley liquidation and have been paid by SLB Companies

throughout the process.

       611.   Pursuant to the proposed settlement, Toy Quest Ltd. would have paid HK

$300,000 (around US $38,700) to be distributed pro rata among Manley’s independent

creditors. The Liquidators themselves separately would have received another HK

$300,000 under the settlement terms.

       612.   Aviva would have received about US $30,000 of the settlement proceeds,

leaving only about US $9,000 to be split among all other independent creditors, including




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the five Iowa Claimants. In all, independent creditors would have received

approximately one-tenth of one percent of their claims.

       613.   In return for Toy Quest Ltd. paying this tiny fraction of Manley’s debts,

Manley’s Liquidators would have given up Manley’s rights to assert alter ego and

fraudulent transfer claims against Toy Quest Ltd. and any other affiliated company or

individual. The deal was intended to deprive independent creditors of the money that

could be obtained through such claims and ensure that no one ever would pursue the

assets the Principals took from Manley.

       614.   The Liquidators’ February 18, 2019 letter blamed their inability to

adequately investigate alter ego and fraudulent transfer claims on a lack of funds. As

discussed above, the Principals deliberately orchestrated that lack of funds in Hong Kong

by looting Manley prior to the Principals’ commencement of Manley’s voluntary

liquidation proceedings.

       615.   At the same time, the Principals bankrolled the Liquidators’ efforts to shut

down litigation in the United States. Bills by the Liquidators and their professionals for

work to shut down U.S. litigation were paid by the Principals, the Hong Kong Entities,

and/or other SLB Companies. By contrast, bills for other work have been left unpaid.

       616.   Moreover, the Liquidators’ letter failed to address that for years, Aviva has

been providing extensive documents and information that could have formed the basis of

alter ego and fraudulent transfer claims with minimal additional effort and expense from

the Liquidators.



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       617.     The letter likewise failed to address that Aviva repeatedly had offered to

prosecute alter ego and fraudulent transfer claims against Toy Quest Ltd. and the other

entities and persons that looted Manley before its liquidation, but that those offers had

been refused.

       618.     The Liquidators petitioned the Hong Kong court to approve the collusive

settlement.

       619.     In July 2020, the Hong Kong court rejected the proposed settlement. The

Hong Kong court adjourned the matter for the purpose of allowing the Liquidators to

attempt to negotiate a settlement that would provide more value to independent creditors.

       620.     The Liquidators subsequently announced that no sufficiently enhanced

settlement was likely, terminated settlement negotiations with Toy Quest Ltd., so notified

the Hong Kong court and U.S. courts, and requested leave to withdraw the petition to

approve the proposed settlement.

                6.     The Liquidators Have Abandoned All Fraudulent Transfer and
                       Alter Ego Claims and Intend to Close the Hong Kong
                       Liquidation without a Distribution to Independent Creditors.

       621.     On September 9, 2020, the Liquidators advised Aviva that the Liquidators

plan to close Manley’s Hong Kong liquidation proceeding.

       622.     The Liquidators stated that they will make no distribution to Manley’s

independent creditors and are abandoning all alter ego and fraudulent transfer claims that

the Liquidators could have asserted against all individuals and entities, including

principals and affiliates of Manley.



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       623.   In March 2021, the Liquidators held a final creditors meeting and filed the

necessary paperwork with the Hong Kong Registrar of Companies to dissolve Manley.

According to the Liquidators, Manley will be dissolved three months thereafter, around

the end of June 2021.

              7.     At Toy Quest Ltd.’s Insistence, Manley’s Liquidators Sought to
                     Destroy All Manley Documents in Their Possession.

       624.   After abandoning their proposed collusive settlement, Manley’s Liquidators

sought to destroy all Manley documents in their possession as their last act before closing

the liquidation.

       625.   The Liquidators stated to Aviva and the Bankruptcy Court that they

intended to destroy the documents because the “committee of inspection” instructed them

to do so. The committee of inspection is comprised entirely of Manley affiliates,

including Toy Quest Ltd.

       626.   After the Liquidators rejected all of Aviva’s proposals to preserve the

documents, Aviva sought and obtained relief from the Bankruptcy Court.

              8.     The Bankruptcy Court Ordered the Liquidators to Preserve
                     Manley’s Documents and Granted Stay Relief to Aviva.

       627.   In February 2021, the Bankruptcy Court ordered the Liquidators to preserve

Manley’s books and records through at least June 30, 2021.

       628.   The Bankruptcy Court also granted Aviva stay relief to (a) ask other courts

to compel the production and/or preservation of Manley documents; (b) pursue alter ego,

fraudulent transfer, and other claims against third parties, including Manley’s principals,



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affiliates, and agents, in any appropriate court; and (c) name Manley as a defendant in

related litigations.

               9.      e. While Independent Creditors Have Been Stayed from Seeking
                       Manley Assets, SLB Companies Like Toy Quest Ltd. Have
                       Sought Those Assets Illegally.

       629.    387. The Bankruptcy Staybankruptcy stay prohibited any act to obtain

possession of Manley’s assets or to allow such assets to leave the United States.

       630.    388. This order has prevented Manley’sBefore obtaining stay relief in

February 2021, Aviva and other independent creditors have complied with that order,

refraining from seeking assets from Manley and has been exploited by the Principals, who

continue to deprive Aviva of money it is rightfully dueor asserting claims based on Manley’s

alter-ego relationships with other companies or individuals.

       631.    389. SinceBy contrast, the entry of the Bankruptcy Stay,Principals and Toy

Quest Ltd. improperly has taken—with the help of Wu, Dollar Empire, Park Lane, and

other Defendants—disguised millions of dollars fromin Manley’s debtors assets as Toy

Quest Ltd. assets and took them out of the country, in violation of 18 U.S.C. § 152.

       632.    Since the entry of the bankruptcy stay, Toy Quest Ltd. improperly has taken

more than $7 million of Manley’s money by causing retailers and distributors to pay Toy

Quest Ltd. instead of preserving the funds for the benefit of Manley’s creditors.

       633.    Toy Quest Ltd. has then passed those Manley assets on to the Principals,

Banzai International, Park Lane, Aquawood, and possibly other RICO Defendants.




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       634.   390. For example, after the entry of the Bankruptcy Staybankruptcy stay was

entered, Wu directed Dollar Empire to wire Toy Quest Ltd. millions of dollars that

actually were owed toin Manley doing business using its “Toy Quest” trade name.

       391.   The Principals have sought to defraudreceivables to keep that money from

Manley’s independent creditors by directing the SLB Enterprise’s representatives to send

e-mails and other wire communications to deceive Manley’s debtors about which.

       635.   Representatives of SLB Companies also have deceived retailers about

whom they represented, in violation of 18 U.S.C. §§ 152 and 1343.

       392.   The misrepresentations and omissions in these communications were material, in

that they induced or tended to induce certain actionthereby aiding efforts to move Manley

assets offshore.

       636.   393. For example, in June 2016, Peter Magalhaes, a longtime employee of

the SLB Enterprise’s California companies, emailed a representative of the retailer

Costco to demand that Costco transfer approximately $25,000 it owed to Manley from

Manley’s vendor account to Toy Quest Ltd.’s vendor account, and then turn those funds

over to Toy Quest Ltd. Magalhaes identified himself as the “General Manager and SVP”

of Epic Studios.

       637.   394. To deceive Costco, Magalhaes omitted from his message any mention

of the connection between Manley and Toy Quest Ltd., the chapter 15 bankruptcy

proceedings, or the Bankruptcy Court’s stay order prohibiting any act to obtain possession of

Manley’s assets or to allow such assets to leave the United Statesbankruptcy stay.



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         638.   395. Magalhaes sent at least two additional emails to Costco demanding the

funds.

         639.   396. A few months later, Toy Quest Ltd. again attempted to seize Manley

assets by filing papers demanding that the court in the Tennessee garnishment action

involving the retailer Dollar General hand over to Toy Quest Ltd. approximately

$100,000 that the retailer Dollar General had paid into the court’s registry in response to

Aviva’s garnishment of Manley accounts receivable.

         640.   397. The Bankruptcy Court imposed sanctions against Toy Quest Ltd.,

noting it was “the second time Toy Quest has taken actions against property that was

subject to the Bankruptcy Stay without first appearing before this Court to seek relief.”

                10.    f. Toy Quest Ltd. and the Liquidators Are on the Verge of Entering
                       into a Collusive SettlementOther SLB Companies Submitted False
                       Proofs of Claim.

         398.   On February 18, 2019, the Liquidators informed Aviva and Manley’s other

independent creditors that the Liquidators had “negotiated” a settlement with Toy Quest Ltd.

         399.   The proposed settlement was not negotiated “with” Toy Quest Ltd. so much as it

was negotiated at the behest of Toy Quest Ltd. and its affiliates in a collusive attempt to prevent

Aviva and other independent creditors from recovering the money rightfully owed to them by

Manley.

         400.   All sides of the negotiation over the proposed settlement were represented by

professionals who were paid by Toy Quest Ltd. and/or other members of the SLB Enterprise.

         401.   Pursuant to the proposed settlement, Toy Quest Ltd. would pay HK $300,000

(around US $38,000) to be distributed pro rata among Manley’s independent creditors. By the



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Liquidators’ own admission, Manley owes its independent creditors at least HK $77,688,108.07

(almost US $10 million), most of which is owed to Aviva.

       402.    In return for Toy Quest Ltd. paying this tiny fraction (less than .4%) of Manley’s

debts, Manley’s Liquidators apparently would give up all rights to assert alter ego and fraudulent

transfer claims against Toy Quest Ltd. and any other affiliated company. The deal is intended to

deprive Aviva and other independent creditors of the money that could be obtained through such

claims and ensure that no one ever will pursue the assets the Principals took from Manley.

       403.    The Liquidators blamed their inability to adequately investigate alter ego and

fraudulent transfer claims on a lack of funds. As discussed above, the Principals deliberately

orchestrated that lack of funds in Hong Kong, while bankrolling efforts to shut down litigation in

the United States.

       404.    The Liquidators failed to disclose that for years Aviva has been providing

extensive documents and information that could have formed the basis of alter ego and

fraudulent transfer claims with minimal additional effort and expense from the Liquidators.

       405.    The Liquidators also failed to disclose that Aviva repeatedly has offered to

prosecute alter ego and fraudulent transfer claims against Toy Quest Ltd. and the other entities

and persons that looted Manley before its liquidation, but that those offers have been refused.

               5.     The SLB Enterprise Has Attempted to Mislead Courts in Iowa.

       406.    With the help of numerous lawyers, including Mann, the SLB Enterprise has

fought aggressively to shield various Corporate Shell Defendants from liability for the damages

the Iowa victims suffered while they worked for MTD.

       407.    The SLB Enterprise’s “bad faith” tactics to evade judgments against MTD have

been condemned by state and federal courts in Iowa.



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         408.   The Principals’ efforts to protect the SLB Enterprise from liability included the

use of material misrepresentations to defraud independent creditors.

         409.   Alan Chan, for example, tried to defraud the Iowa victims by submitting affidavits

in which he falsely swore that Manley “does not maintain an office in the United States and does

not own any assets within the United States.”

         410.   The first claim was

         641.   Toy Quest Ltd. and other SLB Companies submitted false proofs of claim

in connection with Manley’s liquidation and U.S. bankruptcy case. Those proofs of

claim falsely alleged that the companies were creditors of Manley.

         642.   The gerrymandering of the creditor list had a direct impact on Manley’s

U.S. bankruptcy case because Manley’s Liquidators expressly relied on the false proofs

of claim in the U.S. proceedings.

         643.   The Liquidators’ petition for chapter 15 recognition of the Hong Kong

liquidation stated that Manley’s “creditors” had authorized the Liquidators to act.

Without the fraudulent proofs of claim, the Principals could not have filed the bankruptcy

case.

         644.   Manley’s Liquidators also relied on Toy Quest Ltd.’s fraudulent proof of

claim when the Liquidators accepted money from Toy Quest Ltd. as a “funding creditor.”

         645.   If Toy Quest Ltd. had been identified as owing money to Manley, the

Liquidators’ willingness to take Toy Quest Ltd.’s money and use it to block U.S.

litigation would have been improper.




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         646.   The Liquidators continued to rely on the fraudulent proofs of claim to

oppose Aviva’s efforts to obtain documents and make decisions related to the bankruptcy

case.

         647.   Toy Quest Ltd. also appeared in the chapter 15 case and asserted its

purported status as a Manley creditor.

                11.    Dubinsky and Others Made False Oaths and Declarations in
                       Connection with Manley Bankruptcy Case.

         648.   Dubinsky and others made many false oaths in thatconnection with Manley,

as Alan Chan well knew, maintained one or more offices in the United States.

         411.   The second claim was false in that Manley, as Alan Chan well knew, had

numerous assets in the United States, including accounts receivable.

         412.   These claims were material in that they were intended to persuade courts that they

did not have jurisdiction over Manley.

         413.   Alan Chan asserted these materially false claims in (a) an affidavit electronically

submitted to an Iowa federal court on or about July 15, 2013 and (b) an affidavit electronically

submitted to an Iowa state court on or about July 25, 2013.

         414.   Iowa courts have rejected such false claims, including MTD’s false claim that it

had no employees in the United States after 2013.

         415.   Indeed, as late as 2014, Defendant Toth was serving as MTD’s president and

defending it in a lawsuit, as a federal judge in Iowa noted when commenting on “troubling”

examples of “falsification of evidence” by members of the SLB Enterprise.’s bankruptcy case.

         649.   For example, the interrogatory answers that Samson Chan’s son Gary Chan

verified on behalf of Toy Quest Ltd. in the bankruptcy case were contradictory.


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       650.    Toy Quest Ltd.’s original answers claimed that Gary Chan had approved

Toy Quest Ltd.’s decision to participate in the Dollar General garnishment action in

violation of the bankruptcy stay and that Dubinsky, Raucher, and Mann were

“consulted.”

       651.    The amended answers reversed the roles of Gary Chan and Dubinsky,

stating that Dubinsky “approved” the decision, Gary Chan “consented to” the decision,

and Raucher and Mann were “consulted.”

       652.    Those answers cannot both be true. Accordingly, at least one of Chan’s

verifications under penalty of perjury was false.

       653.    In addition, during a deposition in Manley’s bankruptcy case on September

26, 2017, Dubinsky falsely testified that he lacked knowledge about:

                The relationship between Complex Trader (the alleged owner of

                  Aquawood) and the Chan family;

                The ownership of Complex Trader;

                The products sold by Manley; and

                Manley’s use of the “Toy Quest” trade name.

       654.    Dubinsky also denied knowing—just months after submitting a declaration

signed in Vancouver—whether he himself had ever been to Vancouver. (The point was

relevant because, at around the time Dubinsky visited Vancouver, Toy Quest Ltd.

submitted an affidavit from a purported Vancouver resident (“Gary Swerdlow”) who

provided a fake name and a nonexistent address, as discussed above.)


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        655.   Similarly, on September 22, 2017, Gary Chan, who has acted on behalf of

Toy Quest Ltd., Park Lane, and other SLB Companies, gave the following false

testimony in a deposition taken in Manley’s bankruptcy case:

                That he lacked knowledge of the identity of the head of Park Lane—the

                    company for which he allegedly worked;

                That he lacked knowledge regarding the reason he is identified as a

                    director of multiple Manley affiliates; and

                That he had extremely limited information about Toy Quest Ltd.—the

                    company whose interrogatory answers he already had verified.

        G.     Defendants Lied about the Importation and Distribution of SLB
               Products.

        656.   Defendants repeatedly have incorrectly described the sources and

destinations of SLB Products so they can continue to make money in the U.S., while

simultaneously hiding assets of SLB Companies and concealing the presence of assets in

Iowa.

               1.      E. Defendants Have Committed Customs Fraud and Money
                       Laundering to Keep SLB Products Flowing into the United States and
                       Money Streaming to the SLB Enterprise in Hong Kong.Defendants
                       Falsely Identified Toy Quest Ltd. as the Seller of Goods on
                       Customs and Shipping Records.

               416.

        657.   Multiple shipments of SLB Products in 2015 and 2016 were accompanied

by false invoices and other documents that falsely identified Toy Quest Ltd. as the seller




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of goods that were actually sold by Manley using its “Toy Quest” trade name or another

SLB Company.

          658.    The purpose of these fraudulent documents was to trick retailers into

making payments to Toy Quest Ltd. of money actually owed to Manley or another SLB

Company.

          659.    As discussed above, between 2013 and 2016, to protect the SLB Enterprise from

pending and potential judgments in Iowa and Minnesota, members of the SLB Enterprise

trickedfor example, Exhibits A-E to Aviva’s Complaint list dozens of invoices that falsely

represented to retailers into believing that they were dealing with Defendant Toy Quest

Ltd.Toy Quest Ltd. sold the products in question, when in fact they stillthose products

were doing business with Manley and MTD.

          417.    Since 2016, members of the SLB Enterprise have deceived U.S. Customs and

    others into believing that its products were being shipped to or imported by Dollar Empire in

    California, when in fact most of these goods ultimately were sent to retailers across the United

    States.

          418.    These ruses have allowed the SLB Enterprise to continue importing Manley’s

    products into the United States and streaming payments out to Hong Kong.

          419.    Moreover, the related financial transactions have laundered the proceeds of

    criminal activity while concealing the funds from independent creditors, including the creditors

    of Manley and MTD.




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                   1.      Defendants Have Used the SLB Enterprise to Continue Importing
                           SLB Products Illegally Without Being Vulnerable to Garnishments.

           420.    To hide assets from Aviva, the SLB Enterprise attempted to involve unwitting

    retailers in its deceitful shipping practices.

                   a)      In 2015, for example, after Aviva garnished accounts payable to Manley

                           by Excelligence Inc. (“Excelligence”), Excelligence attempted to cancel a

                           purchase order.

                   b)      When Manley refused to cancel the order, Excelligence warned Manley

                           that it would comply with the garnishment.

                   c)      In response, a Manley employee proposed that Manley circumvent the

                           garnishment by “deliver[ing] the goods through another company.”

                   d)      After Excelligence reiterated its cancellation request, Manley again

                           suggested that Excelligence “ship this order by another company (rather

                           than Manley Toys Ltd.).”

                   e)      Excelligence refused.

           421.    When outsiders like Excelligence declined to participate in their fraudulent

    schemes, Defendants used members of the SLB Enterprise, such as MTD and Dollar Empire, to

    commit crimes to protect and sustain the enterprise’s flow of imports into the United States.

           422.    As described below, members of the SLB Enterprise have used deceptive and

fraudulent shipping practices to shield the enterprise from garnishments from independent

creditors.sold by Manley.

           660.    Exhibit J to Aviva’s Complaint is a table listing purchase orders placed by

Bed Bath and Beyond between 2013 and 2016.



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       661.   Exhibit K to Aviva’s Complaint is a table listing the dates and ports of

entries of shipments to Target in 2015 and 2016.

       662.   Each of the shipments reflected in Exhibits J and K was accompanied by

invoices and other documents falsely claiming that Toy Quest Ltd. was the seller of the

goods when in fact the seller was Manley, MTD, Toy Network, MGS, or another SLB

Company.

       663.   Furthermore, Exhibit I to Aviva’s Complaint identifies dozens of

transactions totaling more than $5 million in the months leading up to and following

Manley’s bankruptcy case. To carry out those transactions, Dollar Empire and Wu

conspired with the Principals, Hong Kong Entities, Aquawood, Toth, and the Iowa

Entities to misrepresent the seller of SLB Products as Toy Quest Ltd. rather than Manley

or another SLB Company.

              2.     Defendants Falsely Listed Dollar Empire as the “Importer of
                     Record” on Customs Documents and Lied to Courts about It.

                     a.     The SLB Enterprise Used Dollar Empire to Disguise the
                            Destination of Its Products and the Source of Its
                            Payments.

       664.   423. For example, inFrom at least 2014 to 2015, MTD was designated in

customs documents as the recipient or consignee and importer of record for shipments sent

from “Toy Quest Ltd.”,” even after MTD ostensibly had ceased to do business. Once

       665.   That arrangement concealed from customs officials and creditors the

ultimate destination of the goods.




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          666.    However, once MTD became vulnerable to its own U.S. judgments,

including the judgments of the Iowa Claimants, it became less capable of shielding the

SLB Enterprise from liability.

          424.    By contrast, Dollar Empire continues to commit federal crimes to protect and

    sustain the enterprise to this very day.

                  2.      Wu Directed Dollar Empire to Become a Sham Consignee for the SLB
                          Enterprise to Generate False Import Records and Obstruct Judgment
                          Enforcement Efforts.

                          a.      The SLB Enterprise Used Dollar Empire to Disguise the
                                  Destination of Its Products and the Source of Its Payments.

          667.    425. As Aviva and the Iowa victims began to accrue judgments against MTD,

theThe SLB Enterprise turned to Dollar Empire to impede collection efforts by masking

the final destination of products shipped to Iowa and elsewhere in the United States.

          426.    Between December 2015 and February 2016, Dollar Empire purportedly bought

    millions of dollars of toys from the SLB Enterprise. The orders were placed with, and filled by,

    Manley employees.

          668.    From 2016 through at least 2018, Toy Quest Ltd. and Banzai International,

at the direction of the Principals and with the assistance of Park Lane, Aquawood, and

the Iowa Entities, falsely listed Dollar Empire as “importer of record” for hundreds of

tons of “Banzai” water toys and other SLB Products worth millions of dollars. Those

publicly available customs forms said that the SLB Products would end up at Dollar

Empire in California.




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          669.   The Chans, Liu, and Dubinsky knew that Wu would be willing to lie under

oath—which he did—to conceal the nature and existence of shipments of SLB Products

into the United States.

          670.   427. Although Dollar Empire purportedly bought those SLB ProductsIn reality,

the SLB Enterprise continued to direct their resale and delivery to other customerscontrol

where those products went, shipping the products directly to retailers in the United States

after, or sending the nominal transfer ofproducts to MTD, Toy Network, and MGS in Iowa

to distribute.

          671.   Non-public documents like shipping records obtained from the shippers

themselves expose that both Toy Quest Ltd. and Banzai International issued invoices

bearing notations that the SLB Products were destined for Des Moines or other locations,

contrary to the public customs declarations that the products were going to Dollar Empire

in California.

          428.   This charade prevented Aviva and other independent creditors from learning

    which companies actually were receiving Manley products, and thus could have been subjected

    to garnishments prior to the Bankruptcy Stay.

          429.   In March 2016, Manley began its liquidation in Hong Kong. According to

    Manley’s Liquidators, all of Manley’s employees were laid off and Manley ceased doing

    business. Nevertheless, former Manley employees continued to send the same products to

    Dollar Empire on behalf of Toy Quest Ltd.

          430.   In or around August 2016, Banzai International, Ltd. began sending goods to

    Dollar Empire. But the same former Manley employees continued to send the same products to


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    Dollar Empire, supposedly pursuant to various so-called “consignment” arrangements that

    Dollar Empire has refused to describe in any detail.

          431.    This deception allowed the SLB Enterprise to continue listing Dollar Empire as

    the importer of record for millions of dollars of shipments into the United States.

          432.    In reality, the SLB Enterprise continued to control where those products went,

    using Dollar Empire to send the products on to other retailers in the United States.

          672.    Exhibit L to Aviva’s Complaint, for example, shows 50 shipments spanning

from January 2016 to July 2018 that Toy Quest Ltd., Banzai International, and other SLB

Companies purportedly shipped to Dollar Empire in California, but were actually sent to

MTD, Toy Network, and MGS in Iowa.

          673.    433. The arrangement was intended to conceal the sources of

paymentpayments to the SLB Enterprise, to hide assets from creditors like Aviva and the

Iowa Claimants, and to make it harder for creditors to trace the SLB Enterprise’s

businessmovement of money, so that the SLB Enterprise could continue its unlawful

activities.

          674.    The scheme also disguised the final destination of products, effectively

blocking Aviva from attempting to garnish money that could have been owed by retailers

like Wal-Mart, Target, Amazon, and Dick’s Sporting Goods to Manley.

          675.    Toy Quest Ltd. originally orchestrated the use of Dollar Empire to mask the

true destinations of SLB Products and the shipment of goods to and through Iowa.




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       676.   The public Customs Entry Summary for a Toy Quest Ltd. shipment in June

2016, for example, identifies Dollar Empire as the importer of record, stating that the

shipment would go to Dollar Empire in California.

       677.   But the non-public Toy Quest Ltd. invoices associated with the

shipment—which contained an assortment of “Banzai” water toys and other SLB

Products—reveal that the products actually were destined for “Toy Quest Customer

Service” at the 700 New York address in Des Moines.

       678.   Banzai International subsequently entered into a sham consignment

relationship with Dollar Empire.

       679.   The public Customs Entry Summary for a Banzai International shipment in

April 2017, for example, again identifies Dollar Empire as the consignee and importer of

record, stating that the shipment would go to Dollar Empire in California.

       680.   This time, the non-public Banzai International invoices associated with the

shipment—which again contained “Banzai” water toys—revealed that the products were

destined for “Banzai International Ltd. / Consignment 2017 / GL Group / Spring &

Summer” at the 700 New York address in Des Moines.

       681.   A confidential witness has confirmed that Banzai International would ship

products from China to California, and then move the products to Des Moines, where

MGS would then be directed to send them out to customers like Target, Wal-Mart,

Amazon, and Dick’s Sporting Goods. Park Lane also helped coordinate the customs




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paperwork and the actual movement of the Hong Kong Entities’ products, as described

above. Billing was handled by Aquawood and Dubinsky’s staff in California.

       682.   434. Dollar Empire’s designation as the importer of record for shipments

from the SLB Enterprise also violated U.S. Customscustoms law:.

              a)     As an importer of record, Dollar Empire is required by law to be either an

       683.   Each shipment described above required the creation and submission of a

fraudulent statement to U.S. Customs, because the Customs Entry Summary included a

declaration that the signee is the “importer of record and that the actual owner, purchaser,

or consignee for CBP purposes is as shown above, OR owner or purchaser or agent

thereof.”

       684.   That declaration was false for each shipment from a Hong Kong Entity to

Dollar Empire, because Dollar Empire was not the owner or, purchaser, consignee, or

agent thereof of the goods it receives, or a licensed customs brokerSLB Products in that

shipment.

       685.   b) Although Dollar Empire has given contradictory sworn statements on the

subject (as discussed below), Dollar Empire most recently has denied that it was an

owner or purchaser of the SLB Products that Banzai International sent to it received.c)

Dollar Empire also is not a licensed customs broker for the Port of Los Angeles or

anywhere else.




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       686.    The Customs Entry Summary declaration for each shipment also includes a

certification that “the merchandise was obtained pursuant to a purchase or agreement to

purchase and that the prices set forth in the Invoices are true.”

       687.    Dollar Empire already has admitted that it had not made any “purchase or

agreement to purchase” the SLB Products purportedly sent to it, and the declarations

therefore were false in that respect.

       688.    d) Thus, rather than acting as either a true purchaser or a legitimate consignee,

Dollar Empire, at Wu’s direction, insteadknew about and consented to this scheme, and

has allowed Toy Quest Ltd. and Banzai International fraudulently to use Dollar Empire’s

name on customs forms so that the SLB Enterprise can conceal the destination of SLB

Products that it importsbrings into Iowa and elsewhere in the United States.

       435.    The false records created and submitted by Dollar Empire and/or Banzai

International constitute violations of 18 U.S.C. § 542.

       689.    The Hong Kong Entities responsible for each shipment knowingly caused

their attorneys-in-fact falsely to declare that the conditions for entry of the SLB Products

into the United States had been met.

       690.    Aquawood and MGS personnel also have colluded in the purported

“consignee” relationship between Dollar Empire and the SLB Enterprise and have

assisted the SLB Enterprise in sending “consigned” goods to U.S. retailers.

       691.    436. As a result of this ongoing criminal conduct, the SLB Enterprise has

been able to import and sell thousands of tons and millions of dollars of SLB Products in



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the United States while hiding the nature of much of its business, including the

destination of its products and the source of its payments, from Aviva and other

independent creditors who have been deprived of the ability to enforce judgments against

SLB Companies.

       692.    Moreover, the prices set forth in the invoices for SLB Products purportedly

sold to Dollar Empire—but actually sent to MTD, Toy Network and/or MGS in

Iowa—were far below the prices of SLB Products actually delivered to retailers.

Examples of such false pricing include, but are not limited to, each of the shipments

identified in Exhibit L.

       693.    Some, and perhaps all, of the SLB Products sent to Iowa were intended for

specific third-party retailers or customers, who paid or would pay prices significantly

higher than the amounts reported to U.S. Customs. Indeed, although all of the invoices

identified Dollar Empire as the purchaser, some of the shipping marks or carton main

marks actually listed customers such as Leisure Systems, Scheels, Buy Buy Baby, and

other retailers as the real recipients.

       694.    By underreporting the prices of the SLB Products sent to Iowa, the Hong

Kong Entities also reduced the Merchandise Processing Fee and Harbor Maintenance Fee

charged by U.S. Customs on each shipment and thereby defrauded the United States

government.




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       695.    In addition, to the extent that taxes, duties, or other charges were based on

the reported invoice prices, the underreporting of those prices would fraudulently reduce

the amounts paid for those taxes, duties, or other charges.

                      b.      To Prevent Aviva from Obtaining Evidence of these Crimes,
                              Wu Lied to a Federal Court about Dollar Empire’s
                              Relationship with Banzai International.

       696.    437. In furtherance of Defendants’ scheme to defraud creditors, Wu has

submitted several materially false statements, under penalty of perjury, to the United

States District Court for the Central District of California (the “California Federal Court”)

about Banzai International’s agreement with Dollar Empire.

       697.    438. As described below, WuHe has made mutually exclusive factual

representations in different sworn declarations, while essentially confessing to Dollar

Empire’s participation in the recording of sham transactions on official Customscustoms

documents.

       698.    439. On July 24, 2017 and July 26, 2017, in response to Aviva’s subpoena,

two of Dollar Empire’s attorneys represented that Dollar Empireit had import records for

shipments from Banzai International, which an importer of record would beis required to

maintain under federal law.

       699.    440. IndeedWhile Dollar Empire did not actually produce those records,

Dollar Empire’s counsel told the California Federal Courtcourt—with bold, italicized

emphasis—not only that itDollar Empire had import records from Banzai International,

andbut also that Dollar Empire had offered to produce those records to Aviva:



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              Dollar Empire offered to produce its import records during
              the meet and confer process. (See Ex. B to Declaration of
              Stephen Z. Boren, attached to original Motion.) Dollar
              Empire never said it keeps no records; it merely explained
              how it keeps records, and it keeps customer records separate
              from import records.”

(emphasisEmphasis in original.)

       700.   441. Then, in a declaration datedan August 15, 2017 declaration submitted to

the California Federal Courtcourt, Wu claimed that Dollar Empire was “just a customer” of

Toy Quest Ltd. and Banzai International and had no special relationship with either

company.

       701.   442. By Order datedIn September 18, 2017, Dollar Empire was ordered to

produce information involving purchases from all companies identified in a list of

Manley-related “Entitiesseveral SLB Companies,” including Banzai International.

       702.   443. Dollar Empire, however, failed to produce any documents regarding

any purchases from Banzai International.

       703.   On October 3, 2017, attorneys for Dollar Empire explainedargued that Dollar

Empire didit should not believe it hadhave to produce any documents about Banzai

International because Dollar Empire was merely a “consignee” for Banzai International

shipments and –—despite Wu’s earlier declaration under penalty of perjury to the

contrary—had never been a customer of Banzai International.

       704.   444. In response to those new arguments, the California Federal CourtThe court

then ordered Dollar Empire to produce any consignment agreements with Manley

Entities-related entities and any documents showing Dollar Empire receiving or


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forwarding goods as a consignee, as well as documents reflecting revenue associated with

those goods, for in 2016 and 2017.

        705.    445. But in a subsequent declaration dated January 12, 2018, Wu claimed,

on behalf of Dollar Empire, that Dollar Empire had no import records for any of the

“consignment” shipments—notwithstanding its lawyers’ earlierhis prior statements to the

contrary.

        706.    Wu also claimed, on behalf of Dollar Empire, that Dollar Empire had never

received physical possession of the “consigned” goods and had no interest in the goods

whatsoever.

        707.    446. At a minimum, Wu’s claim that Dollar Empire never received physical

possession of the “consigned” goods was false.

        708.    a) Emails obtained from Dollar Empire show the company communicating

with Aquawood and Park Lane employees, including Toth (using Toth’s an Aquawood

“Epic Studio domainStudios” email address), to coordinate shipments of goods to

third-party retailers.

        709.    b) Based upon the purchase orderson documents produced by Dollar Empire,

none of those goods had been purchased by Dollar Empire.

        710.    c) Since at least some of those shipments originated from Dollar Empire’s

own warehouse, Dollar Empire therefore had at least some so-called “consigned” goods

in its possession.




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        711.     447. The California Federal Courtcourt then ordered Dollar Empire to explain

its consignment relationship with Banzai International and account for any revenue

received.

        712.     448. In response, Wu submitted a declaration dated August 7, 2018, in

which he asserted, on behalf of Dollar Empire, that Dollar Empire has a “commercial

relationship” with Banzai International and allows Banzai International to use Dollar

Empire’s company name as a “consignee” on Banzai International’s shipments to various

third parties.

        713.     449. In thisthat version of Wu’s story to the California Federal Courtcourt, he

facilitates a “commercial relationship” in which he allows Banzai International to list

Dollar Empire as “consignee” even though (a) Dollar Empire does not take any goods

into its own possession and (b) lacks the credentials necessary to serve as “consignee”

for imported goods.

        714.     450. Wu continued to deny that Dollar Empire took any actions in its

alleged role as “consignee,” despite the emails demonstrating that Dollar Empire

regularly conferred with SLB Company employees as to where —including Iowa—Dollar

Empire should direct the SLB Products in its warehouse.

        715.     451. Wu also claimed that Dollar Empire receives no revenue for its

“commercial relationship” with Banzai International.




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          716.   However, Wu failed to explain why Dollar Empire would agree to

participate in an arrangement designed to create false customs records for tons of

imported products if Dollar Empire received nothing of value.

          452.   Many of Wu’s numerous representations were intentionally false, and were

designed by Wu, Dollar Empire, and the Principals to deceive the California Federal Court and

Aviva.

          453.   Wu’s misrepresentations were material, in that they were designed to persuade the

California Federal Court that Dollar Empire was not required to give Aviva documents

responsive to Aviva’s requests.

          454.   As a result of these misrepresentations, Aviva has been unable to obtain Manley

and other SLB Enterprise records from Dollar Empire.

III.      The RICO Defendants Have Conducted and Conspired to Conduct the Affairs of
          the SLB Enterprise through a Pattern of Racketeering that Victimized Independent
          Creditors.

          A.     The RICO Defendants Are Committing Federal Criminal Offenses.

          455.   To sustain the SLB Enterprise, the RICO Defendants have committed, and

    continue to commit, numerous crimes at the expense of independent creditors, in violation of 18

    U.S.C. §§ 152 (bankruptcy offenses), 542 (customs fraud), 1343 (wire fraud), 1512 (obstruction

    of justice) and 1956-57 (money laundering).

                 1.      The SLB Enterprise Has Obtained Money through the Commission of
                         Wire Fraud.

          456.   From on or about June 19, 2013 through on or about March 23, 2016, the

Principals, the Executives, Magalhaes, Toy Quest Ltd., Park Lane, Jun Tai, Winning, and Dollar

Empire (the “Wire Fraud Conspirators”) and other members of the SLB Enterprise devised and




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intended to devise a scheme and artifice to defraud independent creditors, and to obtain money

and property through false and fraudulent pretenses, representations, and promises.

       457.    As part of the fraudulent scheme, members of the SLB Enterprise, including the

Wire Fraud Conspirators, made material omissions and misrepresentations to retailers and U.S.

courts about Manley’s operations and assets, the relationship of Manley to Toy Quest Ltd., and

other matters. Such omissions and representations were intended to allow the SLB Enterprise to

continue doing business in the United States while evading liability and the obligation to pay

judgments against Manley.

       458.    For example, the Wire Fraud Conspirators sent or caused to be sent electronic

communications to several retailers designed to trick the retailers into believing that they were

dealing with Defendant Toy Quest Ltd., when in reality they still were dealing with Manley.

Such electronic communications were sent on the following dates, in interstate and foreign

commerce, primarily from Hong Kong to the United States.

                         Deceptive Communications to Customers of Manley

       Date        Purported Sender       Recipient     Method        Content

       06/19/13    Manley                 Dollar        Internet      Vendor Change Form,
                                          General       submission    changing Manley to “Toy
                                                                      Quest Ltd.”
       07/26/13    Anthony Cheng          A. Koch       Electronic    Name change, changing
                                          (Seventh      mail          Manley to “Toy Quest Ltd.”
                                          Avenue)
       06/13/14    Anthony Cheng          Tina          Electronic    Name change, changing
                   (Manley)               Taylor        mail          Manley to “Toy Quest Ltd.”
                                          (Big Lots)
       06/18/14    Manley                 Michaels      Internet      Vendor Change Form
                                                        submission
       09/10/14    Toy Quest Ltd.         Bed Bath      Electronic    Changing “Vendor of
                                          & Beyond      mail          Record” to Toy Quest Ltd.
       09/23/14    Kapo Tsang             Costco        Electronic    Name change, changing
                   (Toy Quest Ltd.)                     mail          Manley to “Toy Quest Ltd.”
       11/20/15    Jena Schmeling         Lindsey       Electronic    Name Change, changing

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                    (Northern Lights      Heffron      mail           Manley to “Toy Quest Ltd.”
                    Marketing)            (Blain
                                          Supply,
                                          Inc.)


       459.    The goal of the fraudulent communications was to seize money that belonged or

was due to Manley and deprive independent creditors of that money.

               a)      Each of the communications was intended to deceive retailers into

                       believing that they were doing business with Toy Quest Ltd. rather than

                       Manley, and thereby defraud independent creditors such as Aviva.

               b)      Relying on these communications, numerous retailers falsely believed and

                       reported that they were doing business with companies other than Manley,

                       when in fact, as the Wire Fraud Conspirators well knew, the retailers

                       continued to do business with Manley.

               c)      Relying on false representations that the retailers were not doing business

                       with Manley, and thus had no Manley receivables, Aviva did not garnish

                       funds that were listed as payable to “Toy Quest Ltd. “

               d)      Had Aviva known that the retailers had Manley receivables, Aviva would

                       have garnished funds that were listed as payable to “Toy Quest Ltd.” and

                       thus prevented the SLB Enterprise from transferring certain assets from

                       the United States to Hong Kong.

       460.    As the next step in their fraudulent scheme, the Wire Fraud Conspirators and

other members of the SLB Enterprise subsequently sent or caused to be sent invoices to retailers

containing fraudulent demands to pay money to Toy Quest Ltd. that instead belonged to Manley.

Attached as Exhibits A-D are charts of invoices submitted electronically in interstate and foreign



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commerce between 2013 and 2015 to Big Lots, Dollar General, Michaels, and Target. All of

these invoices, which are dated prior to the Bankruptcy Stay, seek payment to Toy Quest Ltd. of

money actually owed to Manley. Such money should have been subject to execution or seizure

by Aviva and other independent creditors.

         461.     Similar fraudulent demands for payments of money due to Manley continued to

be made after the Bankruptcy Stay was put in place. Attached as Exhibit E is a chart of invoices

submitted electronically to Target after March 24, 2016, that seek payment to Toy Quest Ltd. of

money actually owed to Manley.2

         462.     Other fraudulent demands for payment of money due to Manley were made to

recipients known to the Wire Fraud Conspirators but are not yet known to Aviva.

         463.     Attached as Exhibits F-H are charts of payments made from Dollar Empire, Bed

Bath & Beyond, and Target in the United States to Toy Quest Ltd. in Hong Kong.

         464.     On the dates set forth in those charts, for the purpose of executing the fraudulent

scheme, and aiding and abetting its execution, the Wire Fraud Conspirators and other members

of the SLB Enterprise, sent and caused to be sent electronically: writings, signs, and signals

effectuating the financial transactions set forth in Exhibits F, G, and H, in interstate and foreign

commerce.

         465.     It was also part of the fraudulent scheme that the Wire Fraud Conspirators and

other members of the SLB Enterprise used court filings to advance their fraudulent scheme and

further obstruct independent creditors’ efforts to obtain money owed to Manley.




2
  Aviva will file Exhibits A-E,G, H, J and K conditionally under seal as required by a protective order entered by the
Minnesota Federal Court in Aviva Sports, Inc. v. Fingerhut Direct Marketing, Inc., No. 0:09-cv-1091, and seek
leave of court to maintain them under seal as set forth in the Local Rules.

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       466.     For example, as set forth in the chart below, Toy Quest Ltd., Alan Chan, and other

members of the SLB Enterprise falsely claimed in multiple U.S. court filings that Manley and

Toy Quest Ltd. kept separate accounts and did not commingle funds. The purpose of these false

representations, which were transmitted to the courts in interstate and foreign commerce through

the courts’ electronic case filing systems, was to conceal documents and information about the

true activities of Manley and Toy Quest Ltd., thereby permitting the SLB Enterprise to conduct

business using the “Toy Quest Ltd.” name while evading liabilities to Aviva and other

independent creditors.

                         False and Fraudulent Communications to U.S. Courts

       Date       Purported       Recipient        Content
                  Sender
       5/4/15     Toy Quest       U.S. Dist. Ct.   Declaration of Francis Wong, on behalf of
                  Ltd. and        for the          Toy Quest Ltd., falsely claiming that Manley
                  Francis         Northern         and Toy Quest Ltd. kept separate accounts
                  Wong            Dist. of Tex.    and did not commingle funds
       5/4/15     Alan Chan       U.S. Dist. Ct.   Declaration of Chan Siu Lin a/k/a Alan
                  and Manley      for the          Chan, on behalf of Manley, falsely claiming
                                  Northern         that Manley and Toy Quest Ltd. kept
                                  Dist. of Tex.    separate accounts and did not commingle
                                                   funds
       5/4/15     Toy Quest       U.S. Dist. Ct.   Declaration of Francis Wong, on behalf of
                  Ltd. and        for the          Toy Quest Ltd., falsely claiming that Manley
                  Francis         Northern         and Toy Quest Ltd. kept separate accounts
                  Wong            Dist. of Ill.    and did not commingle funds
       5/4/15     Alan Chan       U.S. Dist. Ct.   Declaration of Chan Siu Lin a/k/a Alan
                  and Manley      for the          Chan, on behalf of Manley, falsely claiming
                                  Northern         that Manley and Toy Quest Ltd. kept
                                  Dist. of Ill.    separate accounts and did not commingle
                                                   funds
       5/11/15    Toy Quest       U.S. Dist. Ct.   Declaration of Francis Wong, on behalf of
                  Ltd. and        for the          Toy Quest Ltd., falsely claiming that Manley
                  Francis         Middle Dist.     and Toy Quest Ltd. kept separate accounts
                  Wong            of Tenn.         and did not commingle funds
       5/11/15    Alan Chan       U.S. Dist. Ct.   Declaration of Chan Siu Lin a/k/a Alan
                  and Manley      for the          Chan, on behalf of Manley, falsely claiming
                                  Middle Dist.     that Manley and Toy Quest Ltd. kept
                                  of Tenn.         separate accounts and did not commingle

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                                                  funds


       467.     The Wire Fraud Conspirators and other members of the SLB Enterprise similarly

furthered their fraudulent scheme by blocking independent creditors’ efforts to garnish funds by

attempting to ship Manley goods through other companies, falsely asserting rights to money

owed to Manley by retailers, and making false representations in response to court-ordered

discovery. As described in the chart below, these false statements were contained in numerous

electronic communications and electronic court filings and were sent in interstate and foreign

commerce.

                       Wire Communications Intended to Evade Garnishment
                                 or Take Funds Owed to Manley
       Date        Purported     Recipient      Method     Content
                   Sender
       2/26/15     Dorothy Lo    P. Milestone   Electronic Offer to “deliver goods
                   (Manley)      (Excelligence Mail        through another company” to
                                 )                         evade creditor’s garnishment
       3/2/15      Dorothy Lo    P. Milestone   Electronic Suggestion to “ship this order
                   (Manley)      (Excelligence Mail        by another company (rather
                                 )                         than Manley Toys Ltd.”)
       5/4/15      Toy Quest     U.S. Dist. Ct  Electronic Motion to Dissolve
                   Ltd. (through for the        Case       Garnishment, seeking to take
                   counsel)      Northern Dist. Filing     funds owed by Michaels to
                                 of Texas.                 Manley
       5/11/15     Toy Quest     U.S. Dist. Ct  Electronic Motion to Quash
                   Ltd. (through for the Middle Case       Garnishment, seeking to take
                   counsel)      Dist. of Tenn. Filing     funds owed by Dollar General
                                                           to Manley
       5/11/15     Toy Quest     U.S. Dist. Ct  Electronic Motion to Quash
                   Ltd. (through for the Middle Case       Garnishment, seeking to take
                   counsel)      Dist. of Tenn. Filing     funds owed by Dollar General
                                                           to Manley
       11/6/15     Wellmax       U.S. Dist. Ct  Electronic Motion to Quash
                   (through      for the Middle Case       Garnishment, seeking to take
                   counsel)      Dist. of Tenn. Filing     funds owed by Dollar General
                                                           to Manley
       11/6/15     Wellmax       U.S. Dist. Ct  Electronic Memorandum in Support of
                   (through      for the Middle Case       Motion to Quash
                   counsel)      Dist. of Tenn. Filing     Garnishment, seeking to take

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                                                                  funds owed by Dollar General
                                                                  to Manley
       11/6/15     S. Lee and      U.S. Dist. Ct  Electronic      Declaration of Samuel Lee on
                   Wellmax         for the Middle Case            behalf of Wellmax, falsely
                                   Dist. of Tenn. Filing          asserting a security interest in
                                                                  funds owed by Dollar General
                                                                  to Manley
       12/7/15     Toy Quest       U.S. Dist. Ct  Electronic      Motion to Intervene and
                   Ltd. (through   for the Middle Case            Opposition to Motion for
                   counsel)        Dist. of Tenn. Filing          Judgment, seeking to take
                                                                  funds owed by Dollar General
                                                                  to Manley
       2/24/16     Jun Tai and     U.S. Dist. Ct.   Electronic    Motion to Intervene and
                   Winning         for the Dist.    Case          oppose motion for sanctions,
                   (through        of Minn.         Filing        falsely representing the filers’
                   counsel)                                       connection to Manley and
                                                                  filed for the undisclosed
                                                                  purpose of delaying the
                                                                  sanctions motion long enough
                                                                  for Manley to begin
                                                                  bankruptcy proceedings


       468.   The RICO Defendants’ pattern of wire fraud and other racketeering activity

injured Aviva by depriving it of the ability to enforce the Minnesota and Iowa judgments before

the Principals put Manley into liquidation in March 2016.

       469.   Since the Bankruptcy Stay, the Wire Fraud Conspirators have continued to

conduct the affairs of the SLB Enterprise through the commission of wire fraud.

              a)      These crimes have injured Aviva by depriving it of the ability to collect on

                      and enforce the Iowa judgment.

              b)      These acts of wire fraud also have helped conceal the criminal activity that

                      resulted in Aviva being unable to enforce the Minnesota judgment prior to

                      the Bankruptcy Stay.




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               c)      These acts of wire fraud also have allowed the SLB Enterprise to continue

                       conducting business in the United States while evading liabilities to Aviva

                       and other independent creditors, all of which has enabled the Principals to

                       fund litigation efforts that have resulted in substantial legal fees to Aviva.

       470.    Since the Bankruptcy Stay, for example, the Wire Fraud Conspirators and other

members of the SLB Enterprise have carried on their fraudulent scheme by lying to U.S. courts

about the nature of Manley’s pre-liquidation operations and concealing information and

documents from Manley’s creditors and Liquidators.

       471.    These false statements were contained in several electronic court filings around

the country and were sent in interstate and foreign commerce, as listed below.

                       False and Fraudulent Communications to U.S. Courts

       Date         Purported      Recipient           Summary of False and Fraudulent
                    Sender                             Communication
       12/12/16     Toy Quest      U.S. Bankr.         Motion to Compel Aviva to comply with
                    Ltd.           Ct. for the         Bankruptcy Stay, attempting to block
                    (through       Dist. of NJ         discovery into Toy Quest Ltd.’s activities
                    counsel)                           and forestall sanctions motion and falsely
                                                       alleging that Aviva was in violation of Stay
       12/21/16     Chan           U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
                    (through       for Dist. Of        Chan “retired” from “day-to-day
                    counsel)       Minn.               operation[s]” and being “CEO” of Manley in
                                                       2011 and “was not aware of and made no
                                                       decisions on behalf of Manley with respect
                                                       to the post-judgment discovery at issue on
                                                       this motion”
       12/21/16     Dubinsky       U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
                    (through       for Dist. Of        “at no time did Aquawood or [Dubinsky]
                    counsel)       Minn.               have any control over or decision-making
                                                       authority” with respect to Manley
       12/21/16     Alan Chan      U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
                    (through       for Dist. Of        making “decisions on behalf of Manley with
                    counsel)       Minn.               respect to the post-judgment discovery at
                                                       issue on this motion” was not part of Alan
                                                       Chan’s job responsibilities
       1/26/17      Toy Quest      U.S. Dist. Ct       Opposition to Motion for Status

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               Ltd.          for the Middle Conference, fraudulently claiming that
               (through      Dist. of Tenn. funds owed by Dollar General to Manley
               counsel)                     were in fact owed to Toy Quest Ltd.
     1/27/17   Toy Quest     U.S. Dist. Ct  Supplemental Opposition to Motion for
               Ltd.          for the Middle Status Conference, seeking to take funds
               (through      Dist. of Tenn. owed by Dollar General to Manley
               counsel)
     3/15/17   Dubinsky      U.S. Dist. Ct.      Declaration of Dubinsky, falsely claiming
               (through      for the Dist.       that Aquawood is an independent sales
               counsel)      of NJ               representative
     4/11/17   Toy Quest     U.S. Bankr.         Opposition to motion to compel documents
               Ltd.          Ct. for the         and information, falsely representing Toy
               (through      Dist. of NJ         Quest Ltd.’s dealings with Dollar General
               counsel)
     5/17/17   Toy Quest     U.S. Bankr.         Supplemental interrogatory response, falsely
               Ltd.          Ct. for the         describing Toy Quest Ltd.’s dealings with
               (through      Dist. of NJ         Dollar General and Toy Quest Ltd.’s actions
               counsel)                          in response to discovery
     6/8/17    Toy Quest     U.S. Bankr.         Second supplemental interrogatory response,
               Ltd.          Ct. for the         falsely describing Toy Quest Ltd.’s dealings
               (through      Dist. of NJ         with Dollar General and Toy Quest Ltd.’s
               counsel)                          actions in response to discovery
     7/18/17   Toy Quest     U.S. Bankr.         Opposition to motion to compel depositions,
               Ltd.          Ct. for the         falsely representing Toy Quest Ltd.’s efforts
               (through      Dist. of NJ         to respond to discovery served in bankruptcy
               counsel)                          case
     8/15/17   Wu            U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
               (through      for the Central     Dollar Empire was “just a customer” of Toy
               counsel)      Dist. of Cal.       Quest Ltd. and Banzai International
     10/2/17   Wu            U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
               (through      for the Central     Dollar Empire was a “consignee” of Banzai
               counsel)      Dist. of Cal.       International without disclosing the alleged
                                                 fact that Dollar Empire did not actually
                                                 receive the “consigned” goods
     1/12/18   Wu            U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
               (through      for the Central     Dollar Empire had no interest in consigned
               counsel)      Dist. of Cal.       goods whatsoever and that Dollar Empire
                                                 received no revenue from Banzai
     4/20/18   MTD           U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
               (through      for the             MTD had “never done business at the
               counsel and   Southern Dist.      address of 700 New York Avenue, Des
               its           of Iowa.            Moines, Iowa,” and that MTD “has had no
               “Corporate                        employees in the United States [sic] 2013”
               Secretary”)
     7/3/18    Chan          U.S. Dist. Ct.      Declaration falsely stating, inter alia, that
               (through      for Dist. Of        Chan “retired” from “day-to-day

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                     counsel)       Minn.              operation[s]” and being “CEO” of Manley in
                                                       2011 and “was not aware of and made no
                                                       decisions on behalf of Manley with respect
                                                       to the post-judgment discovery at issue on
                                                       this motion”
       7/3/18        Liu (through U.S. Dist. Ct.       Declaration falsely stating, inter alia, that
                     counsel)     for Dist. Of         Liu “was not aware of and made no
                                  Minn.                decisions on behalf of Manley with respect
                                                       to the post-judgment discovery at issue on
                                                       this motion”
       7/3/18        Dubinsky       U.S. Dist. Ct.     Declaration falsely stating, inter alia, that
                     (through       for Dist. Of       “at no time did Aquawood or [Dubinsky]
                     counsel)       Minn.              have any control over or decision-making
                                                       authority” with respect to Manley
       7/3/18        Alan Chan      U.S. Dist. Ct.     Declaration falsely stating, inter alia, that
                     (through       for Dist. Of       making “decisions on behalf of Manley with
                     counsel)       Minn.              respect to the post-judgment discovery at
                                                       issue on this motion” was not part of Alan
                                                       Chan’s job responsibilities
       7/3/18        Park Lane      U.S. Dist. Ct.     Declaration falsely stating, inter alia, that
                     (through       for Dist. Of       that Park Lane “was not aware of and made
                     counsel and    Minn.              no decisions on behalf of Manley with
                     its                               respect to the post-judgment discovery at
                     “Manager”)                        issue on this motion”

                2.      The SLB Enterprise Obtained and Retained Money through the
                        Commission of Bankruptcy Crimes.

       472.     To keep money and property within the control of the enterprise and away from

independent creditors, the Principals, the Executives, Toy Quest Ltd., Aquawood, Park Lane, and

Dollar Empire (the “Sham Bankruptcy Conspirators”) have perpetrated a criminal bankruptcy

scheme that continues to injure Aviva to this day.

                        a.       The Sham Bankruptcy Conspirators Fraudulently Concealed
                                 Property.

       473.     The Sham Bankruptcy Conspirators violated 18 U.S.C. § 152(1) by knowingly

and fraudulently concealing property belonging to the estate of a debtor (Manley) from both (a)

officers of the court charged with the control or custody of property (Manley’s Liquidators) and

(b) independent creditors, in connection with a case under title 11.


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              474.   Prior to the liquidation, the Sham Bankruptcy Conspirators and other members of

    the SLB Enterprise took several steps to hide Manley’s assets from its future liquidators and its

    independent creditors.

              475.   The Sham Bankruptcy Conspirators divested Manley of six luxury

    automobiles—a Bentley, a Ferrari, a Porsche, a Jaguar, and two Mercedes Benz

    sedans—writing them off as “depreciated.” They simultaneously divested Manley of other

    assets.

              476.   As described above, the Sham Bankruptcy Conspirators and other members of the

    SLB Enterprise likewise concealed millions of dollars of Manley’s accounts receivables due to

    Manley using its “Toy Quest” name.

              477.   Each invoice set forth in Exhibits A-E seeking payment to Toy Quest Ltd. of

    money actually owed to Manley was sent, or caused to be sent, with the knowledge that it was

    fraudulent and with the intent to conceal Manley’s property in violation of 18 U.S.C. § 152(1).

              478.   Each transaction involving money owed to Manley set forth in Exhibits F, G, and

    H, including transactions made after March 24, 2016, was made, or caused to be made, with the

    knowledge that it was fraudulent and with the intent to conceal Manley’s property in violation

    of 18 U.S.C. § 152(1).

              479.   The purpose of these fraudulent transfers and concealment was to hide the money

    from creditors and ensure that the SLB Enterprise could take and keep those funds for itself.

              480.   In addition, the Sham Bankruptcy Conspirators fraudulently transferred and

    concealed Manley’s electronic records, which were removed before the filing of Manley’s

    chapter 15 petition for recognition on March 24, 2016.




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          481.    The Sham Bankruptcy Conspirators failed to provide those documents to the

    Liquidators prior to March 24, 2016, then refused to produce them in response to requests for

    discovery served in the Bankruptcy Court, to prevent Aviva or the Bankruptcy Court from

    obtaining further evidence of the Sham Bankruptcy Conspirators’ conduct.

                         b.     The Sham Bankruptcy Conspirators Made False Oaths in
                                Connection with Manley’s Bankruptcy Case.

          482.    Dubinsky and Gary Chan violated 18 U.S.C. § 152(2) by knowingly and

fraudulently making false oaths or accounts in Manley’s bankruptcy case.

          483.    On September 22, 2017, in a deposition taken in Manley’s bankruptcy case, Gary

Chan gave, at a minimum, the following false testimony under oath:

                  a)     That he lacked knowledge of the identity of the head of Park Lane—the

                         company for which he allegedly worked;

                  b)     That he lacked knowledge regarding the reason he is identified as a

                         director of multiple Manley affiliates; and

                  c)     That he had extremely limited information about Toy Quest Ltd.—the

                         company whose interrogatory answers he already had verified.

          484.    On September 26, 2017, also in a deposition taken in Manley’s bankruptcy case,

Dubinsky gave, at a minimum, the following false testimony under oath:

                  a)     That he lacked knowledge of the relationship between Complex Trader,

                         the alleged owner of Aquawood, and the Chan family;

                  b)     That he lacked knowledge regarding the ownership of Complex Trader;

                  c)     That he lacked knowledge regarding the products sold by Manley;

                  d)     That he lacked knowledge regarding Manley’s use of the “Toy Quest”

                         trade name; and


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               e)      That he did not know—just months after submitting a declaration he had

                       signed in Vancouver (the supposed home of “Gary Swerdlow,” discussed

                       below)—if he had ever been to Vancouver.

                       c.      The Sham Bankruptcy Conspirators Made False Declarations
                               in Connection with Manley’s Bankruptcy Case.

       485.    Chan, Dubinsky, Gary Chan, and “Gary Swerdlow” violated 18 U.S.C. § 152(3)

by knowingly and fraudulently making false declarations or statements under penalty of perjury

in or in relation to Manley’s bankruptcy case.

       486.    In the Hong Kong proceedings, Toy Quest Ltd. sought to preclude Aviva from

arguing that Toy Quest Ltd. was a trade name and/or alter ego of Manley.

       487.    A purpose of seeking this relief was to frustrate Aviva’s ability to advance its

position in the proceedings before the Bankruptcy Court and enforce the Minnesota judgment.

       488.    On or about August 16, 2016, Samson Chan submitted an affirmation to a court in

Hong Kong, where Toy Quest Ltd. had filed lawsuits against Aviva and the Iowa victims.

                    a) In that affirmation, Chan made multiple false statements in which he

                       falsely denied knowledge that Manley had been operating as “Toy Quest

                       Ltd.”

                    b) Accordingly, Chan knowingly and fraudulently made false statements in

                       his affirmation.

       489.    On or about August 16, 2016, “Gary Swerdlow” submitted an affirmation to the

Hong Kong court.

                    a) In that affirmation, “Swerdlow” claimed to have spoken with multiple

                       retailers that no longer would do business with Toy Quest Ltd. due to

                       Aviva’s judgment enforcement efforts.


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                   b) However, none of those retailers had any record of any contact with “Gary

                      Swerdlow,” and one retailer confirmed that it had not had any contact with

                      any “Gary Swerdlow.”

                   c) In addition, the address listed by Swerdlow in his affirmation does not

                      exist.

                   d) If Swerdlow himself exists, his statements regarding fictitious contact with

                      retailers and his false address were knowingly and fraudulently made.

       490.    The Chan and Swerdlow affirmations were in relation to the Manley bankruptcy

case before the Bankruptcy Court.

       491.    Additionally, Gary Chan submitted multiple verifications under penalty of perjury

to the Bankruptcy Court in April 2017.

       492.    Gary Chan’s first verification claimed that he had approved Toy Quest Ltd.’s

decision to participate in the Tennessee Action in violation of the Bankruptcy Stay and that

Dubinsky, Raucher, and Mann were “consulted.”

       493.    Toy Quest Ltd.’s amended answers reversed the roles of Gary Chan and

Dubinsky, stating that Dubinsky “approved” the decision, Gary Chan “consented to” the

decision, and Raucher and Mann were “consulted.”

       494.    Chan verified both answers, which cannot both be true, under penalty of perjury.

Accordingly, at least one of Chan’s verifications under penalty of perjury was false.

                      d.       The Sham Bankruptcy Conspirators Made False Claims for
                               Proof.

       495.    Toy Quest Ltd. and other Manley affiliates submitted false claims for proof

against Manley’s estate, in violation of 18 U.S.C. § 152(4).




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          496.   In these claims, submitted in Manley’s Hong Kong liquidation, the companies

alleged that they were creditors of Manley.

          497.   Financial records from just a few months earlier demonstrate that those

companies had been debtors of Manley.

          498.   As discussed above, the Principals gerrymandered Manley’s financial affairs by

routing money through Manley to pay off a loan on which all of the affiliated companies were

co-obligors.

          499.   In truth, Toy Quest Ltd. and the other affiliated companies were only paying off

their own debt. By routing the “loan payment” through Manley however, they claimed to be

creditors of Manley.

          500.   This claim was false. The routing of money was nothing more than a financial

sleight of hand designed to cheat independent creditors during the Hong Kong liquidation and

bankruptcy proceedings.

          501.   Manley’s Liquidators relied on these false proofs of claim in the chapter 15

bankruptcy proceeding in the United States. In drafting their verified petition for recognition of

the Hong Kong liquidation proceeding in the chapter 15 bankruptcy proceeding, Manley’s

Liquidators alleged that Manley’s “Creditors” had passed a resolution confirming the

Liquidators’ appointment and providing authority to act under Hong Kong law. Without the

fraudulent proofs of claim, the Principals would not have been able to authorize the Liquidators

to act.

          502.   Manley’s Liquidators also relied upon Toy Quest Ltd.’s fraudulent proof of claim

to take money from Toy Quest Ltd. as a funding creditor. If Toy Quest Ltd. had in fact been

recognized as a debtor of Manley, the Liquidators’ willingness to take Toy Quest Ltd.’s money,



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and block litigation efforts in the United States, would have been blatantly improper under any

conceivable standard of impartiality.

       503.      In opposing Aviva’s efforts to obtain documents and information, and in

supporting their petition for liquidation and related decision-making and litigation efforts,

Manley’s Liquidators continued to rely upon the fraudulent proofs of claim.

       504.      In addition, Toy Quest Ltd. itself directly asserted its purported status as a Manley

creditor in the chapter 15 bankruptcy proceedings.

                        e.      The Sham Bankruptcy Conspirators Fraudulently Received
                                Property.

       505.      The Sham Bankruptcy Conspirators fraudulently received payments, books, and

records belonging to Manley, in violation of 18 U.S.C. § 152(5).

       506.      When Manley filed its Chapter 15 petition for recognition of the Hong Kong

bankruptcy, it was owed millions of dollars in outstanding payments for goods that Manley sold

using the “Toy Quest Ltd.” trade name.

       507.      By order of the Bankruptcy Court, those payments could not be removed from the

United States.

       508.      Nevertheless, Toy Quest Ltd. sought and received more than $7 million in

payments for goods sold by Manley, including the payments after March 24, 2016 set forth in

Exhibits F through H.

       509.      In addition, the Sham Bankruptcy Conspirators caused Manley’s books and

records, including electronically stored information, as well as several vehicles to be taken and

hidden from Manley’s Liquidators.




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        510.    Each of those takings constituted the knowing and fraudulent receipt of material

amounts of property from a debtor after the filing of a case under title 11, with intent to defeat

the provisions of title 11.

                        f.     The Sham Bankruptcy Conspirators Made Fraudulent
                               Payments for Acting or Forbearing to Act in a Case under
                               Title 11.

        511.    The Sham Bankruptcy Conspirators made payments to lawyers and the

Liquidators in violation of 18 U.S.C. § 152(6).

        512.    The Principals did not intend for Manley’s Chapter 15 petition in the United

States to allow an orderly marshaling of assets and winding up of affairs.

        513.    Rather, the petition was designed to protect sham creditors while blocking

independent creditors’ efforts to collect debts owed to them by the SLB Enterprise.

        514.    Accordingly, payments to Manley’s Liquidators and counsel, as well as Toy Quest

Ltd.’s bankruptcy counsel, were knowingly and fraudulently made in an effort to get those

individuals to act in a case under Title 11—Manley’s bankruptcy case.

        515.    Those payments funded the filing of the chapter 15 petition, which imposed an

automatic stay of all actions against Manley, including Aviva’s then-pending motion for

sanctions in Minnesota, as well as Aviva’s efforts to garnish funds in the Middle District of

Tennessee and other jurisdictions to satisfy its judgment. As a result of the stay, Aviva no longer

was able to compel Manley to produce documents and information.

        516.    Those payments also were used to fund efforts to block Aviva from taking

discovery from the Liquidators and Toy Quest Ltd. and obstruct Aviva from compelling Toy

Quest Ltd.’s compliance with various orders.




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          517.     Those payments also funded the Liquidators’ efforts to oppose Aviva’s request for

stay relief to pursue alter-ego and fraudulent-transfer claims, as well as the Liquidators’ failure to

enforce the stay against participants in the SLB Enterprise.

                           g.      The Sham Bankruptcy Conspirators Fraudulently Transferred
                                   and Concealed Property.

           518.    The Sham Bankruptcy Conspirators transferred and concealed assets, documents,

    and information in violation of 18 U.S.C. § 152(7).

           519.    Since at least July 2013 through March 23, 2016, the Sham Bankruptcy

    Conspirators contemplated that Manley would pursue one or more bankruptcy proceedings in

    the event that it could not otherwise defeat or evade pending and prospective U.S. judgments.

           520.    In contemplation of a bankruptcy proceeding and/or to defeat the provisions of

    title 11, as detailed above, the Principals took steps to artificially strip Manley of assets in order

    to defraud Manley’s creditors.

           521.    The Principals also misled the Liquidators in order to defraud and conceal assets

    from Manley’s creditors.

                       a) As a result of the Principals’ conduct, Manley’s Liquidators purportedly

                           believed that Manley had conducted little to no business in the United

                           States in recent years. Consequently, the Liquidators also failed to contact

                           business parties, like Dollar Empire, that owed millions of dollars to

                           Manley when the liquidation recognition process began.

                       b) The Liquidators purportedly did not know that Manley had been operating

                           as “Toy Quest Ltd.” until the week before Manley’s liquidation filing.

                       c) Liquidator Mat Ng offered a declaration dated March 22, 2016, in which

                           he stated that Manley’s primary assets in the United States were limited to


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                 a $5 million claim against TRU. Ng relied entirely on documents and

                 information provided by the Principals regarding Manley’s financial

                 affairs, which did not disclose the sales made by Manley while it was

                 using Manley’s “Toy Quest Ltd.” name. Relying on financial information

                 supplied by the Principals, Ng failed to identify the millions of dollars

                 owed to Manley by retailers such as Dollar Empire, Dollar General,

                 Target, Bed Bath & Beyond, and Costco.

              d) In a supplemental declaration dated April 25, 2016, Ng identified

                 “realizable assets” in the United States of less than US$100,000. In truth,

                 Dollar Empire alone owed more than 40 times that amount to Manley.

              e) Ng’s supplemental declaration also attached a “Statement of Affairs”

                 prepared by Manley that set forth the company’s liabilities. That

                 Statement of Affairs was false and misleading because it failed to

                 accurately reflect the nature of Manley’s dealings with its affiliates.

              f) Ng testified on May 12, 2016, before the Bankruptcy Court, that he

                 believed that Manley and Toy Quest Ltd were separate companies that had

                 conducted business independently. That statement was false.

              g) The minutes of a meeting between Chan and the Liquidators stated that

                 Chan became aware on March 11, 2016, that Manley was insolvent. Ng

                 testified on May 13, 2016, that those minutes were false, and that Chan

                 knew much earlier than that date that Manley was insolvent.

              h) The Liquidators’ petition for recognition stated that Manley’s corporate

                 parent was Teng Yue Holdings. But Manley’s corporate disclosure



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                       statements filed in United States District Courts in 2015 claimed that the

                       company had no corporate parent; Ng admitted that those statements were

                       inconsistent.

       522.    The Sham Bankruptcy Conspirators’ efforts to take assets, documents, and

information owed to Manley, such as the retailer payments and Manley’s books and records, also

constituted the knowing and fraudulent transfer of property of a debtor in a case under Title 11.

       523.    In addition, the Sham Bankruptcy Conspirators’ failure to disclose those assets,

documents and information—including Manley books and records held by Aquawood in

California—to Manley’s Liquidators constituted the knowing and fraudulent concealment of

property of a debtor in a case under Title 11.

                       h.      The Sham Bankruptcy Conspirators Fraudulently Concealed
                               and Withheld Information.

       524.    Finally, the Sham Bankruptcy Conspirators concealed and withheld information

in violation of 18 U.S.C. § 152(8) and (9).

       525.    The Liquidators testified on May 12, 2016 that “Manley’s related companies

currently have custody of the server or servers used” to store Manley’s emails electronically.”

The Liquidators further testified that the Liquidators were not granted “access to the underlying

general server.” By refusing to grant access to the Liquidators, the Principals and certain

Corporate Shell Defendants withheld critical information relating to Manley’s financial affairs.

       526.    At Aviva’s insistence, the Liquidators requested documents relating to bank loans

extended to Manley and its affiliates that were secured by the proceeds of the sales of Manley

products from the Principals and the banks. But the Liquidators could not obtain Manley’s bank

loan documents because other borrowers on the loans—including Toy Quest Ltd.—would not

consent to the documents’ production.


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          527.    The Liquidators also have been able to take possession of only a small subset of

Manley’s books and records. At Aviva’s request, the Liquidators sent three letters on May 9,

2016 about obtaining Manley’s books and records, one to Manley’s board of directors, one to

Teng Yue, and one to Chan. To Aviva’s knowledge, there has been no response to these letters.

                  3.      The SLB Enterprise Has Illegally Concealed Evidence and Assets.

                          a.      The RICO Defendants Obstructed Justice by Concealing
                                  Evidence.

          528.    As described above, in order to unlawfully deprive Aviva of the value of the

    Minnesota and Iowa judgments, the RICO Defendants corruptly concealed evidence with the

    intent to prevent Aviva and others from being able to use this evidence in official proceedings

    in the District of New Jersey, the Central District of California, and elsewhere, in violation of

    18 U.S.C. § 1512(c)(1).

          529.    Because they concealed this evidence in order to obstruct, influence, or impede

    official proceedings before those courts, the RICO Defendants acted in violation of 18 U.S.C. §

    1512(c)(2) as well.

                          b.      RICO Defendants Concealed Assets by Falsely Listing MTD
                                  and Dollar Empire as Consignees of Other SLB Companies.

          530.    Since at least 2014, the Principals, the Executives, Aquawood, Banzai

    International, Park Lane, and Dollar Empire have violated 18 U.S.C. § 542 in that they have

    imported merchandise into the United States by submitting false and fraudulent invoices,

    declarations, affidavits, letters, papers, and statements to U.S. Customs and others as follows:

                       a) From at least 2014 through 2015, SLB Enterprise members, including but

                          not limited to the Principals, Toth, Toy Quest Ltd., and MTD, falsely

                          listed MTD as the importer of record and/or consignee for “Toy Quest



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                          Ltd.” in order to conceal assets from Aviva and other independent

                          creditors.

                       b) Since at least March 2016 to the present, SLB Enterprise members,

                          including but not limited to the Principals, Wu, Dollar Empire, and Banzai

                          International, have falsely listed Dollar Empire as the importer of record

                          and/or consignee for Banzai International in order to conceal assets from

                          Aviva and other independent creditors.

          531.    By importing merchandise in this way, the above-mentioned Defendants have

    enabled the SLB Enterprise to continue importing SLB Products into the United States from

    Hong Kong while unlawfully depriving Aviva and other independent creditors of their ability to

    enforce judgments against SLB Companies.

                  4.      Defendants Have Transferred Millions of Dollars between the United
                          States and Hong Kong, in Violation of Federal Criminal Laws.

          532.    In violation of U.S. money laundering laws, Defendants also have engaged in

    numerous financial transactions that involved proceeds from and/or were intended to promote

    the carrying on of certain specified unlawful activity, as defined by 18 U.S.C. § 1956(c)(7),

    including the above-described violations of 18 U.S.C. §§ 542 (customs fraud), 1343 (wire

    fraud), and, for transactions occurring after March 23, 2016, 152 (bankruptcy offenses)

    (collectively the “Money Laundering Predicates”).

          533.    The commission of the Money Laundering Predicates allowed the SLB Enterprise

    to keep and receive millions of dollars (the “criminal proceeds”), including money that was due

    to Aviva and other creditors.




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          534.    Each of the transactions described below occurred in whole or in part in the

    United States and/or was committed by one or more United States persons, as defined by 18

    U.S.C.§ 3077(2)(A),(B),(C)(E), and/or (F).

                         a.      The RICO Defendants Illegally Transferred Money from the
                                 United States to Hong Kong.

          535.    The following transactions in 2016 and 2017 constituted criminal money

    laundering in violation of 18 U.S.C. § 1956(a)(1)(a), § 1956(a)(2)(a), § 1956(a)(2)(b), and (for

    each transaction over $10,000), 18 U.S.C. § 1957.

          536.    Exhibits F-H are charts of payments made to Toy Quest Ltd.

          537.    Each transaction was a “monetary transaction” because each transaction involved

the deposit, withdrawal, transfer, or exchange, in or affecting interstate or foreign commerce, of

funds or a monetary instrument (as defined in 18 U.S.C. § 1956(c)(5)), by, through, or to a

financial institution.

          538.    Each transaction was a payment made from the United States to Hong Kong.

          539.    Each transaction involved the proceeds of multiple crimes, including the Money

Laundering Predicates.

          540.    For example, each transaction represented the proceeds of violations of 18 U.S.C.

§ 542 because the products for which payment was made constituted imported merchandise that

was introduced into the commerce of the United States by means of fraudulent or false invoices,

declarations, affidavits, letters, papers, false statements, and/or false or fraudulent practices or

appliances.

                      a) In many instances, the RICO Defendants concealed the true source of the

                         goods—Manley or MTD—behind the names of Toy Quest Ltd., Genesis,

                         and other participants in the SLB Enterprise.


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                          1. Attached as Exhibit I is a table listing of invoices submitted to

                              Dollar Empire in 2016. Each shipment(s) of products reflected in

                              an invoice was accompanied by fraudulent or false invoices,

                              declarations, affidavits, letters, or papers because each shipment

                              failed to identify Manley or MTD as the true seller of the goods.

                          2. Attached as Exhibit J is a table listing purchase orders placed by

                              Bed Bath and Beyond between 2013 and 2016. Each resulting

                              shipment was accompanied by fraudulent or false invoices,

                              declarations, affidavits, letters, or papers because each shipment

                              failed to identify Manley or MTD as the true seller of the goods.

                          3. Attached as Exhibit K is a table listing the dates and ports of

                              entries of shipments to Target in 2015 and 2016. Each shipment

                              was accompanied by fraudulent or false invoices, declarations,

                              affidavits, letters, or papers because each shipment failed to

                              identify Manley or MTD as the true seller of the goods.

                   b) In other instances, the RICO Defendants concealed the true destination of

                       the goods by designating an SLB Enterprise company as the recipient or

                       consignee.

       541.    Each transaction also violated 18 U.S.C. § 1343 because it was transmitted via

interstate and/or international wire transmission, in furtherance of the fraudulent scheme.

       542.    Each transaction occurring after March 24, 2016, also violated 18 U.S.C. § 152

because it was a fraudulent transfer or concealment of property that would have belonged to

Manley’s estate. Each such transaction was made, or caused to be made, by the Defendants with



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the knowledge that it was fraudulent and with the intent to conceal the property of Manley in

violation of 18 U.S.C. § 152(1) and receive material amounts of property owed to Manley in

violation of 18U.S.C. § 152(5). For example, as seen in Exhibit I, Dollar Empire helped the SLB

Enterprise conceal millions of dollars of Manley assets through dozens of transactions in the two

and a half months leading up to Manley’s liquidation.

                      b.      The RICO Defendants Transferred Money from Hong Kong to
                              the United States.

       543.    In addition, the RICO Defendants committed other violations of 18 U.S.C. §

1956(a)(2)(A) by sending money from Hong Kong to Aquawood, MGS, and the SLB

Enterprise’s attorneys in the United States, because those payments were used to fund the SLB

Enterprise’s ongoing efforts to defraud creditors and carry out the Money Laundering Predicates

       544.    The U.S. operations of Aquawood and MGS have been funded by the SLB

Enterprise from Hong Kong.

       545.    As part of those operations, Aquawood and MGS personnel coordinated the

shipments of products to U.S. retailers in conjunction with Manley/Park Lane employees in

Hong Kong. Those personnel claimed to be acting on behalf of Toy Quest Ltd. or, later, Banzai.

       546.    Aquawood and MGS personnel also have colluded in the purported “consignee”

relationship between Dollar Empire and the SLB Enterprise and have assisted the SLB

Enterprise in sending “consigned” goods to U.S. retailers.

       547.    Likewise, the SLB Enterprise’s counsel in the United States—including attorneys

at Archer & Greiner P.C., Goodwin Procter LLP, Reuben, and Novack, as well as others in

Texas, Tennessee, and New Jersey (the “U.S. Counsel”)—were paid with funds originating in

Hong Kong.




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          548.    The U.S. Counsel were used to file pleadings, motions, and papers in the United

States Courts and ensure that the SLB Enterprise could continue to carry out the Money

Laundering Predicates. Likewise, the U.S. Counsel were used to interfere with Aviva’s efforts to

curtail the Money Laundering Predicates.

          549.    Thus, for each of the payments to Aquawood, MGS, and U.S. Counsel, the RICO

Defendants knowingly transported, transmitted, or transferred the funds identified in each

transaction, or caused the funds to be transported, transmitted or transferred, from Hong Kong to

the United States.

          550.    The RICO Defendants transported, transmitted, or transferred the funds identified

in each transaction, or caused the funds to be transported, transmitted or transferred, with the

intent to promote the carrying on of the Money Laundering Predicates.

                         c.      The RICO Defendants Have Laundered Millions of Dollars by
                                 Transferring Criminal Proceeds Between the United States
                                 and Hong Kong.

          551.    The RICO Defendants’ ongoing commission of the Money Laundering Predicates

    has resulted in substantial U.S. revenue accruing to the SLB Enterprise (the “criminal

    proceeds”), including money that was rightfully due to Aviva and other independent creditors.

          552.    Knowing that the financial transactions, as defined in 18 U.S.C. § 1956(c)(4),

    represent the proceeds of some form of unlawful activity, RICO Defendants have transferred

    millions of dollars in criminal proceeds between the United States and Hong Kong as follows:

                     a) RICO Defendants transferred criminal proceeds with the intent to promote

                         the carrying on of one or more of the Money Laundering Predicates, in

                         violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and 1956(a)(2)(A);




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                      b) RICO Defendants knowingly transferred criminal proceeds, knowing that

                         the money involved the proceeds of some form of unlawful activity and

                         that the transfer was designed in whole or in part to conceal or disguise the

                         nature, the location, the source, the ownership, or the control of the

                         criminal proceeds, in violation of 18 U.S.C. § 1956(a)(2)(B)(i); and

                      c) RICO Defendants knowingly engaged in money transactions involving

                         criminal proceeds in amounts greater than $10,000, in violation of 18

                         U.S.C. § 1957.

          553.    These money laundering offenses have harmed Aviva and other independent

    creditors by preventing them from being able to enforce their respective judgments against

    members of the SLB Enterprise.

          B.      The RICO Defendants Have Conducted the Affairs of an Enterprise
                  Through a Pattern of Racketeering That Victimized Aviva.

          554.    As described in Section I, the RICO Defendants have conducted, and continue to

    conduct, the affairs of the SLB Enterprise through a pattern of related and continuous predicate

    acts as defined by 18 U.S.C. §1961(1), in that they committed violations of 18 U.S.C. §§ 152

    (bankruptcy offenses), 1343 (wire fraud), 1512 (obstruction of justice), and 1956-57 (money

    laundering) (collectively “the Predicate Crimes”).

          555.    Through the commission of the Predicate Crimes, the RICO Defendants have

    conducted, and continue to conduct, the affairs of the SLB Enterprise through a pattern of

    related and continuous predicate acts as defined by 18 U.S.C. §1961(1).

          556.    The Predicate Crimes committed or caused to be committed by the RICO

    Defendants constituted a variety of unlawful activities, each conducted with the common

    purpose of keeping money that rightfully belonged to independent creditors.


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             557.   Each Predicate Crime was committed or caused to be committed by the RICO

    Defendants with the common purpose of generating and keeping money for the SLB Enterprise

    at the expense of the independent creditors.

             558.   Each instance of racketeering activity alleged above and herein was related,

    involved the same or similar participants and methods of commission, and had similar results

    affecting similar victims, including Aviva.

             559.   The Predicate Crimes were related and not isolated events. The last racketeering

    incident occurred well within five years of the commission of a prior incident of racketeering.

             560.   Many of the precise dates of the RICO Defendants’ criminal actions at issue here

    have been hidden and cannot be alleged without access to the books and records of the

    Defendants and the SLB Enterprise. An essential part of the successful operation of the pattern

    of racketeering alleged herein depended upon secrecy.

             561.   Indeed, RICO Defendants such as MGS and Dollar Empire have vigorously

    fought Aviva for years – defying court orders when necessary – as Aviva has attempted to

    obtain this information through proper legal channels. Despite courts agreeing to impose

    sanctions against such RICO Defendants as Chan, Alan Chan, Dubinsky, Toy Quest Ltd., and

    Aquawood, the RICO Defendants continue to obstruct and evade Aviva’s efforts to uncover the

    truth.

             562.   Neither Aviva’s RICO claims nor its state law claims are barred by any applicable

    statute of limitations.

             563.   Much of the racketeering activity, which is ongoing, has occurred in the last two

    years.




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          564.    Indeed, Aviva could not have learned that it had been injured by a pattern of

    racketeering that included bankruptcy offenses prior to March 23, 2016, when Manley first

    initiated the liquidation proceedings which prevented Aviva from collecting the judgment

    against Manley.

          565.    Moreover, prior to this time – and until at least July 2015 – Aviva, like other

    independent creditors, detrimentally relied on the materially false representations that the RICO

    Defendants made and caused to be made.

                      a) Between November 6, 2014, when Aviva’s judgment first became

                         finalized, and March 23, 2016, when the Bankruptcy Court shut down all

                         U.S. litigation, Aviva attempted to garnish funds from large retailers

                         including Target, Fingerhut, Wal-Mart, and Kmart.

                      b) Though the retailers had all conducted business with Manley,

                         representatives from Target, Fingerhut, Wal-Mart, and Kmart reported that

                         there were no garnishable funds available.

                             1. For example, Kmart told Aviva that Kmart did not have any

                                 garnishable funds for Manley.

                             2. Kmart stated that it ceased doing business with Manley and instead

                                 entered into a contract with a new entity called Toy Quest Ltd.

                      c) The retailers made these statements due to Toy Quest Ltd.’s material false

                         representations.

                      d) Based on the statements by retailers, Aviva relied on Toy Quest Ltd.’s

                         material misrepresentations and did not garnish funds that were listed as

                         payable to Toy Quest Ltd.



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          566.    Indeed, Aviva did not discover (and reasonably could not have discovered) that

    the SLB Enterprise was conspiring to evade the Minnesota judgment illegally until July 2015.

          567.    It was only in July 2015 that Aviva first gained access to critical emails and

    documents that provided sufficient evidence of the criminal judgment evasion scheme being

    carried out by the SLB Enterprise.

          568.    The pattern of racketeering activity alleged herein is continuing as of the date of

    this Complaint and, upon information and belief, will continue into the future.

          569.    Indeed, the RICO Defendants’ racketeering has continued unabated and, without

    the intervention of the courts, is likely to continue because it now has become the SLB

    Enterprise’s regular way of conducting certain business.

          717.    The various statements by Wu and Dollar Empire conflict with numerous

documents submitted to U.S. Customs and Border Protection by shipping companies.

          718.    These documents list Dollar Empire as the consignee and importer of

record for dozens of shipments, many of which were accompanied by Banzai

International invoices that identify Dollar Empire as the “purchaser” of the goods and

state that the goods would be sent to Des Moines, Iowa, to MGS or another SLB

Company.




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.




                                     CAUSES OF ACTION

                                           COUNT I

                                            : FRAUD

                               (Against the Civil Fraud Defendants)

      719.     570. The allegations of theAviva re-alleges and incorporates by reference all

preceding paragraphs are incorporated herein by reference.

       720.    571. As set forth above, the Civil Fraud Defendants made or caused to be

made materially false representations and omissions of material facts susceptible of

knowledge, with the knowledge that the representations or omissions were false (or

without knowing whether they were true or false), and with the intention to induce

another to act in reliance thereon. These false representations or omissions caused Aviva

and other creditors to act in reliance thereon, causing Aviva to suffer pecuniary damages

as a result of the reliance.

                          Misrepresentations to Manley’s Retailers

       721.    572. The Principals, Toy Quest Ltd., Aquawood, and Magalhaes caused

SLB Enterprise representatives to make material misrepresentations to at least sevennine

different retailers between 2013 and 2015, falsely claiming that the business Manley

conducted under its “Toy Quest” and “Toy Quest Ltd.” trade names was actually

conducted by a separate company, Defendant Toy Quest Ltd.




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       722.   In the paragraphs and tables above, and in the attached exhibits, Aviva has

identified dozens of fraudulent communications that furthered the RICO Defendants’

fraudulent scheme. Every single line on a table or exhibit constitutes a fraudulent

communication. Many other fraudulent communications occurred, but the specific

details of such communications are not known to Aviva because they are in the

possession of the RICO Defendants, who have blocked Aviva from obtaining meaningful

discovery.

       723.   a) For example, on June 13, 2014, Anthony Cheng, a SLB Enterprise

representative in Hong Kong, emailed Tina Taylor, a Big Lots representative in

Columbus, Ohio, attaching a letter requesting a “change of vendor name.”

       724.   b) The email falsely claimed that the reason for the change was for “Toy

Quest to be the face of the company,” when in fact, as the Principals, Toy Quest Ltd., and

Magalhaes well knew, the reason for the change was to allow the SLB Enterprise to

evade independent creditors by creating a false and misleading paper trail.

       725.   c) Cheng further requested that future purchase orders be issued under the

Toy Quest Ltd. name, which would ensure that independent creditors like Aviva would

be induced to rely on Manley’s material misrepresentation.

       726.   573. SLB Enterprise representatives made similar material

misrepresentations to other retailers through emails and letters sent between June 2013

and November 2015, making the material misrepresentation that the retailers had been

doing business with Toy Quest Ltd., and inducing retailers to create business records



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documenting the material misrepresentation, including but not limited to the communications

identified in paragraphs 458 through 464.

       727.   574. The Principals, Toy Quest Ltd., Aquawood, and Magalhaes knew that

those material misrepresentations caused by Toy Quest Ltd. were susceptible of knowledge

and were clearlywere false as, because Manley employees continued to conduct business as

Manley, selling the same Manley products to the same Manley customers:.

       728.   a) On November 17, 2014, Gary Wong, a SLB Enterprise representative,

emailed Kathy Gahm, a representative of Colony Brands, Inc., with a subject line that

referred to a purchase order for “Toy Quest Ltd. (Manley Toys . . .).” The sender of the

email had a “manley.com.hkmanley.com.hk“ email address and an email signature that

identified himself as a Manley representative, but introduced himself as “Gary Wong

from Toy Quest Ltd.”

       729.   b) On July 8, 2016, Lynn Mitchell, as Costco representative, noted in an

email to Peter Magalhaes, a SLB Enterprise representative, that Manley and Toy Quest

Ltd. shared personnel, mailing addresses, and email addresses, all with email addresses

ending in “manley.com.hkmanley.com.hk,” and the same accounts payable address.

       730.   c) On August 8, 2014, months after SLB Enterprise representatives claimed

Manley was doing business as Toy Quest Ltd., Toy Quest Ltd. stated in sworn court

filings that it had “no employees.” In January 2016, Toy Quest Ltd. likewise represented

in federal court that Toy Quest Ltd. “does not engage in sales in the United States” and

“does not transact any business in the United States.”



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       731.   d) Manley employees masquerading as “Toy Quest Ltd.” sold Crayola

products in the United States in 2013 and 2014, although only Manley and Aquawood

were authorized to sell Crayola products in the United States.

       732.   e) Until shortly before Manley’s liquidation, Manley continued to fill “Toy

Quest Ltd.” orders. For example, in November 2014, five invoices were issued on

Manley letterhead for purchase orders from Michaels Stores, Inc. The same invoices

were subsequently reissued—with the same invoice numbers, purchase order numbers,

and dates—on “Toy Quest” letterhead.

       733.   f) Until shortly before Manley’s liquidation, Manley continued to be listed

as the ultimate payment beneficiary on purchase orders placed with “Toy Quest Ltd.”

       575.   As discussed above, Toy Quest Ltd. knew these misrepresentations were

materially false and that Manley employees continued to conduct business as Manley, selling the

same Manley products to the same Manley customers.

       734.   576. The Principals, Toy Quest Ltd., Aquawood, and Magalhaes made or

caused to be made the material false representations to be made in order to induce retailers

and other third parties to create numerous records, including purchase orders, invoices,

and import records that identified Manley assets as belonging to Toy Quest Ltd.

       735.   The Principals, Toy Quest Ltd., Aquawood, and Magalhaes further intended

for Aviva to act in reliance on the purchase orders and other records identifying Manley

assets as belonging to Toy Quest Ltd. by causing Aviva to decline to garnish or otherwise




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seize the Manley assets that Aviva was entitled to collect pursuant to its judgment against

Manley.

       736.   577. As discussed above, Aviva detrimentally relied on these materially false

representations to retailers when it attempted to garnish funds from Manley’s debtors.

       737.   578. In instances where it obtained evidence disproving these materially

false representations, Aviva pursued appropriate legal remedies. On January 4, 2016, for

example, Aviva successfully obtained a judgment in Texas for approximately $140,000

held by Michaels owed to Manley, as well as attorneys’ fees.

       738.   579. Once the Bankruptcy Court stayed all U.S. proceedings involving

Manley, however, Aviva was unable to seek further enforcement of the Minnesota

judgment, including garnishments to other retailers and a Tennessee motion for turnover

of garnished funds that was pending at the time of Manley’s bankruptcy filing.

       739.   580. As a direct and proximate result of Aviva’s actions in reliance on

these false representations to retailers, Aviva has been injured in its business and property

in that Aviva has only collected approximately $140,000 of its $8,588,931.59 judgment

against Manley and has expended substantial costs and expenses in its efforts to enforce and

recover the judgment through garnishment and other litigation.

                      Misrepresentations and Omissions in Litigation

       740.   581. Since 2018, theThe Principals, the Executives, Toy Quest Ltd., Banzai

Internationalthe Hong Kong Entities, Aquawood, Dollar Empire, MTD, and Park LaneMTD

made or caused to be made false statements and omissions during post-judgment



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discovery and garnishment proceedings in federal courts, all in order to prevent Aviva

from collecting on the Minnesota and Iowaits judgments.

       741.   582. The Principals, the Executives, Toy Quest Ltd., Banzai Internationalthe

Hong Kong Entities, Aquawood, Park Lane, Dollar Empire, and MTD each have omitted

or caused Aquawood, Manley, Dollar Empire, and/or MTD to omit material facts during

post-judgment discovery and garnishment proceedings by withholding from Aviva and

federal courts certain answers, information, and documents, (the “judgment enforcement

materials”) as follows:

              a)     Since 2018, inIn violation of the Federal Rules of Civil Procedure and

                     the District of Minnesota Federal Court’s orderorders, the Principals,

                     Toy Quest Ltd., Banzai International, Aquawood, and Park Lane

                     caused the withholding and concealment of information responsive

                     to Aviva’s post-judgment discovery Interrogatoriesinterrogatories,

                     including information regarding the assets, debts, fiduciaries,

                     personnel, shareholders, and business of Manley, Toy Quest Ltd.,

                     and related SLB Companies, including Manley’s connections to Toy

                     Quest Ltd.;

              b)     Since 2018, inIn violation of the Federal Rules of Civil Procedure and

                     the District of Minnesota Federal Court’s orderorders, the Principals,

                     Toy Quest Ltd., Banzai International, Aquawood, and Park Lane

                     caused the withholding and concealment of documents and



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                   communications responsive to Aviva’s post-judgment discovery

                   Document Requestsdocument requests, including documents and

                   communications regarding the assets, judgments, debts, fiduciaries,

                   personnel, shareholders, initial capitalization, products, plans, and

                   business of Manley, Toy Quest Ltd., and related SLB Companies,

                   including Manley’s connections to other SLB Companies,;

             c)    Since 2017, inIn violation of the Federal Rules of Civil Procedure,

                   Dollar Empire and Wu caused the withholding and concealment of

                   information regarding the nature and extent of Dollar Empire’s

                   relationship with the SLB Enterprise; and

             d)    Between December 2015 and June 2016, inIn violation of Fed. R. Civ.

                   P.Federal Rule of Civil Procedure 69(a), Iowa Code § 642.6, and an

                   order issued by a United States District Court in the Southern District

                   of Iowa (the “Iowa Federal Court”), the Principals, Toth, and MTD

                   caused the withholding and concealment of information about

                   MTD’s financial ties to Toy Quest Ltd. and Manley and MTD’s

                   knowledge about debts to those entities, all of which was responsive

                   to Aviva’s garnishment Interrogatoriesinterrogatories.

      742.   583. In omitting facts and information which were susceptible of

knowledge, the Principals, Toy Quest Ltd., Banzai International, Aquawood, Toth, MTD,

and Park Lane knew that they were creating a clearly false record when Aquawood,



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MTD, and Manley deliberately and fraudulently withheld the judgment enforcement

materials even though, as the Principals, Toy Quest Ltd., Banzai International,

Aquawood, Toth, MTD, and Park Lane well knew, they had access to and control over

the judgment enforcement materials as well as a legal duty to disclose them under the

Federal Rules of Civil Procedure, the Iowa Code, and/or court orderorders.

       743.   584. In addition to causing material omissions to be made, the Principals

and others made material misrepresentations that compounded the impact of those

omissions.

       744.   585. For example, on April 20, 2018, the Principals, Toth, and MTD caused

to be electronically filed with the Southern District of Iowa Federal Court a signed

declaration of “Li Wong” (the “Corporate Secretary” of MTD’s corporate owner), made

under penalty of perjury, which was materially false with respect to one or more alleged

facts as follows.

              a)     The declaration falsely stated that MTD had “never done business at

                     the address of 700 New York Avenue, Des Moines, Iowa,” when in

                     fact, as MTD and the Principals well knew, MTD had in fact done

                     business at that address.

              b)     The declaration falsely stated that MTD “has had no employees in

                     the United States [sic] 2013” when in fact, as MTD and the

                     Principals well knew, MTD had employees in the United States

                     during and after 2013.



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       745.   586. On or about December 21, 2016, Samson Chan, Dubinsky, and Alan

Chan each caused to be electronically filed with the District of Minnesota Federal Court a

signed declaration, made under penalty of perjury, that was materially false with respect

to one or more alleged facts, as follows.

              a)     Chan falsely stated in his declaration that he “retired” from

                     “day-to-day operation[s]” and being “CEO” of Manley in 2011 when

                     in fact, as he well knew, Chan continued to play these roles as of the

                     date of his false declaration.

              b)     Chan also falsely stated in his declarations that he “was not aware of

                     and made no decisions on behalf of Manley with respect to the

                     post-judgment discovery at issue on this motion” when in fact, as

                     Chan well knew, he was aware of and made decisions on behalf of

                     Manley with respect to that post-judgment discovery.

              c)     Dubinsky falsely stated in his declaration that “at no time did

                     Aquawood or myself have any control over or decision-making

                     authority” with respect to Manley when in fact, as Dubinsky well

                     knew, he had possessed and exercised such authority, including but

                     not limited to decisions with the pending post-judgment discovery.

              d)     Alan Chan falsely stated in his declaration that making “decisions on

                     behalf of Manley with respect to the post-judgment discovery at

                     issue on this motion” was not part of his “job responsibilities” when



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                       in fact, as he well knew, making such decisions was part of Alan

                       Chan’s job responsibilities.

       746.      587. On or about July 26, 2017, Dollar Empire and Wu each caused Dollar

Empire’s counsel to falsely represent to the United States District Court for the Central

District of California that Dollar Empire kept and maintained import records for

shipments from the SLB Enterprise.

       747.      588. On or about August 15, 2017, Dollar Empire and Wu each caused to be

electronically filed with United States District Court for the Central District of California a

signed declaration under penalty of perjury that was materially false with respect to the

alleged fact that Dollar Empire was “just a customer” of Toy Quest Ltd. and Banzai

International.

       748.      589. On or about October 3, 2017, Dollar Empire and Wu each caused

Dollar Empire’s counsel to falsely represent that Dollar Empire was a consignee of the

SLB Enterprise.

       749.      590. On or about July 3, 2018, the Principals and Park Lane each caused to

be electronically filed with the Minnesota Federal Court at least one signed declaration,

made under penalty of perjury, that was materially false with respect to one or more

alleged facts, as follows.

                 a)    Chan falsely stated in his declaration that he “retired” from

                       “day-to-day operation[s]” and being “CEO” of Manley in 2011 when




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                 in fact, as he well knew, Chan continued to play these roles as of the

                 date of his false declaration.

           b)    Liu and Chan each falsely stated in their respective declarations that

                 he or she “was not aware of and made no decisions on behalf of

                 Manley with respect to the post-judgment discovery at issue on this

                 motion” when in fact, as both Liu and Chan well knew, each of them

                 was aware of and made decisions on behalf of Manley with respect

                 to that post-judgment discovery.

           c)    Dubinsky falsely stated in his declaration that “at no time did

                 Aquawood or myself have any control over or decision-making

                 authority” with respect to Manley when in fact, as Dubinsky well

                 knew, he had possessed and exercised such authority, including but

                 not limited to decisions with the pending post-judgment discovery.

           d)    Alan Chan falsely stated in his declaration that making “decisions on

                 behalf of Manley with respect to the post-judgment discovery at

                 issue on this motion” was not part of his “job responsibilities” when

                 in fact, as he well knew, making such decisions was part of Alan

                 Chan’s job responsibilities.

           e)    Through its “Manager” Po Kin Lee, Park Lane falsely stated in a

                 declaration that Park Lane “was not aware of and made no decisions

                 on behalf of Manley with respect to the post-judgment discovery at



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                     issue on this motion” when in fact, as Park Lane well knew, Park

                     Lane was aware of and made decisions on behalf of Manley with

                     respect to that post-judgment discovery.

       750.   591. Each of the above declarations in federal court filings was susceptible

of knowledge, materially false, and made with the knowledge of the falsity of the

representations.

       751.   592. The Principals, the Executives, Toy Quest Ltd., Banzai International,

Aquawood, Dollar Empire, MTD, and Park Lane caused these false statements and

omissions to be made in order to preclude Aviva from being able to enforce the Minnesota

and Iowa judgments.

       752.   593. The Principals, the Executives, Toy Quest Ltd., Banzai International,

Aquawood, Dollar Empire, MTD, and Park Lane also caused these false statements and

omissions to be made in order to induce Aviva to pursue certain judgment enforcement

efforts without the benefit of the judgment enforcement materials.

       753.   594. As a result of the omissions caused by the Principals, Toy Quest Ltd.,

Banzai International, Aquawood, Toth, and MTD, Aviva attempted to enforce the Iowaits

judgment against MTD without the benefit of the judgment enforcement materials.

       754.   595. As a result of the omissions caused by the Principals, Toy Quest Ltd.,

Banzai International, Aquawood, Toth, and MTD, Aviva attempted to enforce the

Minnesotaits judgment against Manley—prior to the entry of the Bankruptcy

Staybankruptcy stay—without the benefit of the judgment enforcement materials.



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      755.   596. As a result of the omissions by the Principals, the Executives, Toy

Quest Ltd., Banzai International, Aquawood, Dollar Empire, MTD, and Park Lane, Aviva

was precluded from pursuing certain judgment enforcement efforts against MTD and

Manley.

      756.   597. As a result of its reliance on the omissions caused by the Principals, the

Executives, Toy Quest Ltd., Banzai International, Aquawood, Dollar Empire, and MTD,

Aviva has been unable to collect more than $8.4 million of its judgmentsjudgment against

MTD and Manley while expending substantial costs and expenses on those judgment

enforcement efforts that Aviva has been permitted to take.




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                                         COUNT II

                                  : ABUSE OF PROCESS

                        (Against the Sham Litigation Defendants)

       757.    599. The allegations of theAviva re-alleges and incorporates by reference all

preceding paragraphs are incorporated herein by reference.

       758.    600. As set forth above, on at least three occasions the Sham Litigation

Defendants used litigation in U.S. courts for ulterior motives in order to accomplish a

result not within the scope of the proceedings.

                                Wellmax and Toy Quest Ltd.

       759.    601. After Aviva filed a Motionmotion for Judgmentjudgment in the Middle

District of Tennessee to obtain funds owed by Dollar General to the SLB Enterprise,

Wellmax contested the garnishment by asserting a security interest in the funds.

       760.    602. The Principals coordinated an attempt by Wellmax and Toy Quest Ltd.

to interfere with Aviva’s garnishments against Dollar General, which was holding money

owed to Manley.

       761.    603. The purpose of asserting a good faith security interest is to protect the

interest of valid creditors.

       762.    604. Wellmax provided no legal or factual basis for asserting its sham

security interest.




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       763.   605. Toy Quest Ltd., represented by Novack, filed its own frivolous

opposition, demanding approximately $100,000 of the Dollar General funds.

       764.   606. Once Aviva demonstrated that Wellmax had no legitimate security

interest in the funds, Wellmax withdrew from the Tennessee Actionaction within a few

hours of Toy Quest Ltd. entering an appearance.

       765.   607. Upon learning of Toy Quest Ltd.’s attempt to seize the Dollar General

funds, which were also subject to the Bankruptcy Staybankruptcy stay, the Bankruptcy

Court imposed sanctions against Toy Quest Ltd.

       766.   608. Wellmax and Toy Quest Ltd.’s coordinated back-to-back frivolous

oppositions to Aviva’s Motion for Judgment were made with the ulterior motive of

further concealing Manley assets and evading its creditors, a purpose which is beyond the

scope of the garnishment proceedings in the Tennessee Actionaction.

                                    Jun Tai and Winning

       767.   609. At the direction of the Principals, funded by Toy Quest Ltd., and with

the assistance of Mann and Novack, Jun Tai and Winning filed a Motionmotion to

Interveneintervene in the Minnesota Actioncase in which Aviva obtained its judgment

against Manley, shortly after Aviva filed a sanctions motion against Manley.

       768.   610. A party may intervene in a case before a federal court if the party

claims an interest relating to the property or transaction that is the subject of the action,

and that interest is not being properly represented before the court.




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         769.   611. The District of Minnesota Federal Court denied Jun Tai and Winning’s

motion to intervene as “grossly deficient,” failing to set forth any factual support or

comply with basic procedural requirements.

         770.   612. The sham motion to intervene was filed with the ulterior motive of

delaying the sanctions proceedings in order to allow the Principals to begin Manley’s

liquidations proceedings and avoid an adverse ruling by the District of Minnesota Federal

Court.

         771.   613. Delaying the District of Minnesota Federal Court proceedings for these

purposes was outside the proper scope of these proceedings.

                                   Bankruptcy Proceedings

         772.   614. The Principals, assisted by Mann and Novack, caused Manley to

initiate Chapterchapter 15 liquidation proceedings in the United StatesBankruptcy Court in

March 2016, days before the sanctions hearing was scheduled before the District of

Minnesota Federal Court.

         773.   615. The purpose of Chapterchapter 15 liquidation proceedings is to

encourage cooperation between the United States and foreign countries involved in

cross-border insolvency cases, ensure greater legal certainty for trade and investment,

protect the interests of all creditors and other interested entities, protect and maximize the

value of the debtor’s assets, and facilitate the rescue of financially troubled businesses.

         774.   616. Acknowledging the mountain of evidence against Manley and the

Principals, the Bankruptcy Court acknowledged that it had “no doubt that Toy Quest and



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other insiders have taken actions to avoid paying Aviva’s claims,” that Manley’s “actions

in various courts in the United States appears to have been improper,” and that Manley’s

“decision to enter into liquidation may have been the latest step in an effort to avoid a day

of reckoning in the United States.”

       775.    617. Although the Principals initiated Chapterchapter 15 proceedings with

the ulterior motive of evading Aviva’s judgment, as well as debts owed to other creditors

in the United States, which is beyond the scope of Chapter 15 liquidation proceedings., the

Bankruptcy Court ultimately found that the Principals’ actions did not preclude

recognition.

       776.    618. Accordingly, Aviva was stayed from enforcing the Minnesota

Judgmentits judgment against Manley and delayed in pursuing sanctions for the

Principals’ actions. As a direct and proximate result of the Sham Litigation Defendants’

abuse of process, Aviva has been injured in its business and property in that: Aviva has

only collected approximately $140,000 of its $8,588,931.59 judgment and has incurred

substantial costs and expenses in its efforts to enforce and recover the judgment through

garnishment.

       777.    The Liquidators have stated that the liquidation will conclude with no

distribution to independent creditors, and the Liquidators will close the proceedings

without pursuing any alter ego or fraudulent transfer claims.




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                                           COUNT III

                                   : CIVIL CONSPIRACY

                        (Against the Civil ConspiracyAll Defendants)

       778.    619. Aviva re-alleges and incorporates by reference all otherpreceding

paragraphs of this Complaint as if fully set forth here, and further alleges as follows.

       779.    620. As set forth herein, each of the Civil Conspiracy Defendants engaged in

a civil conspiracy to commit fraud, as alleged in Count I, and/or to abuse process, as

alleged in Count II.

       780.    a) The Civil Fraud DefendantsPrincipals, the Executives, Magalhaes, Manley,

the Hong Kong Entities, Aquawood, the Iowa Entities, and Dollar Empire engaged in a

civil conspiracy to commit fraud, as alleged in Count I.

       781.    b) The Sham Litigation DefendantsPrincipals, Manley, Toy Quest Ltd., Jun

Tai, Winning, and Wellmax engaged in a civil conspiracy to abuse process, as alleged in

Count II.

       782.    621. Each of the Civil Conspiracy Defendants worked together with one or

more persons to accomplish an unlawful purpose and/or an unlawful act by unlawful

means.

       783.    622. Each of the conspiracies described in this count is a continuing

conspiracy, and the overt acts performed in compliance with the conspiracy’s objective(s)

are ongoing and/or have occurred within the last year.



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       784.   623. Each Civil Conspiracy Defendant’s actions and omissions in furtherance

of the conspiracy, proximately caused and/or substantially contributed to Aviva’s losses

by depriving it of the money due from the Iowa and Minnesotaits judgments, as alleged in

this Complaint.

       785.   To the extent that Aviva obtains relief in this Action against Manley, the

Liquidators are subject to such relief in the Liquidators’ capacities as liquidators of and

successors to Manley.




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                                 COUNT IV
                        : RACKETEER INFLUENCED AND
                CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1961 1962(cC)


                                 (Against the RICO Defendants)

          624.    Aviva re-alleges and incorporates by reference all preceding paragraphs, and

    alleges as follows:

         786.     625. Aviva brings this Count against the RICO Defendants. Aviva re-alleges

and incorporates by reference all preceding paragraphs.

         787.     626. At all relevant times, Aviva and all RICO Defendants were “persons”

under 18 U.S.C. § 1961(3) because they were individuals or entities capable of holding “a

legal or beneficial interest in property.”

                                             Enterprise

         788.     The SLB Enterprise was an ongoing and continuing association-in-fact

consisting of legal individuals and entities, including each of the RICO Defendants and

other SLB Companies.

         789.     The existence of the SLB Enterprise is confirmed by the findings of

numerous courts, Dubinsky’s “one step ahead” confession, and SLB Product promotional

materials, websites and manuals, which link almost all of the Defendants together in one

way or another.

         790.     The SLB Enterprise has an existence separate and distinct from each RICO

Defendant.


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      791.     The individual RICO Defendants—Samson Chan, Alan Chan, Lisa Liu,

Brian Dubinsky, Richard Toth, and Michael Wu—have had personal and business

relationships for decades. Those individual RICO Defendants control, operate, use, and

(with the possible exception of Toth) are the beneficial owners of the entity RICO

Defendants—Toy Quest Ltd., Banzai International, Park Lane, Aquawood, MTD, Toy

Network, MGS, and Dollar Empire.

      792.     The SLB Enterprise is engaged in, and its activities affect, interstate

commerce. The SLB Enterprise conducted commercial activities across state and

international lines, including the manufacture, export, import, sale, distribution, and

shipment of SLB Products from Hong Kong to and throughout the U.S., and the

corresponding receipt of money from the sale of those products.

      793.     The SLB Enterprise functions as a continuing unit that has pursued a

common purpose for years—to make money in the United States through the sale of SLB

Products while minimizing and evading judgments that members of the SLB Enterprise

accrue in the United States, such as Aviva’s judgment.

                                           Conduct

      794.     627. TheEach of the RICO Defendants areis employed by or associated with

the SLB Enterprise, an association-in-fact enterprise engaged in, and whose activities affect,

interstate commerce. Each of the RICO Defendants also has directly and indirectly

conducted and participated in the operation or management of the SLB Enterprise.




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      795.    Some of the individual Defendants are the SLB Enterprise’s main

beneficiaries. Some are not the main beneficiaries. The roles of the entity Defendants

have varied over time, as a main feature of the SLB Enterprise is that SLB Companies

can come and go as needed, but they all have been integral to the enterprise.

      796.    Samson Chan, Liu, and Dubinsky have controlled the SLB Enterprise for

years. Their control was not limited to any one company, but instead spanned the entire

enterprise. Alan Chan also has a key leadership role in the enterprise’s activities,

including directing litigation on behalf of the enterprise. Toth runs the day-to-day

operations in Iowa.

      797.    Toy Quest Ltd., Banzai International, and Park Lane in Hong Kong have

worked with Aquawood, MTD, Toy Network, MGS, and Dollar Empire in the United

States to sell, import, and distribute SLB Products, and to collect money from customers.

Those companies have swapped names, misled retailers, manipulated import documents,

falsified financial records, and submitted fraudulent court papers to accomplish the SLB

Enterprise’s goal of evading U.S. judgments.

      798.    Wu and Dollar Empire, in conjunction with the Hong Kong Entities, the

Iowa Entities, and Aquawood, played a pivotal part in disguising the ultimate destination

of SLB Products, making it appear as if SLB Products were no longer flowing through

Iowa, and improperly transferring assets out of the U.S. that could have been used to

satisfy judgments, including Aviva’s judgment.

                                Pattern of Predicate Acts



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       799.   628. TheEach of the RICO Defendants agreed to and did conduct and

participate in the conduct of the enterpriseSLB Enterprise’s affairs through a pattern of

racketeering activity and for the unlawful purpose of intentionally defrauding Aviva.

       800.   Each RICO Defendant has committed at least two of the predicate acts

discussed below.

        A.    Wire Fraud – 18 U.S.C. § 1343

       801.   Each of the RICO Defendants has committed wire fraud pursuant to 18

U.S.C. § 1343.

       802.   Each of the RICO Defendants devised and intended to devise a scheme and

artifice to defraud Aviva and other judgment creditors of SLB Companies, and to obtain

money and property through false and fraudulent pretenses, representations, and

promises. Each of the RICO Defendants transmitted or caused to be transmitted, by

means of wire, radio, or television communication in interstate or foreign commerce,

writings, signs, signals, pictures, or sounds for the purpose of executing such scheme or

artifice.

       803.   In the paragraphs and tables above, and in the attached exhibits, Aviva has

identified dozens of wire communications sent in interstate or foreign commerce that

furthered the RICO Defendants’ fraudulent scheme. Every single line on a table or

exhibit constitutes a fraudulent wire communication. Many other fraudulent wire

communications occurred, but the specific details of such communications are not known




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to Aviva because they are in the possession of the RICO Defendants, who have blocked

Aviva from obtaining meaningful discovery.

      804.    Categories of wire communications that furthered the RICO Defendants’

fraudulent scheme include the following:

      805.    From about June 2013 to Manley’s liquidation in March 2016, Samson

Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Aquawood, and possibly other RICO

Defendants knowingly sent or caused to be sent emails to retailers in other states and

countries that made material omissions and misrepresentations about the operations and

assets of Manley, Toy Quest Ltd., and the Iowa Judgment Debtors; the relationships

among Manley, Toy Quest Ltd., and the Iowa Judgment Debtors; and whether the

retailers were conducting business with Manley or Toy Quest Ltd.

      806.    Each of those emails is a fraudulent wire communication.

      807.    In the same time period, those same RICO Defendants knowingly sent or

caused to be sent electronically invoices to multiple retailers that contained fraudulent

demands to pay millions of dollars to Toy Quest Ltd., when in fact the retailers owed that

money to Manley. (See Exhibits A-D to Aviva’s Complaint.) While Aviva is aware of

dozens of such invoices, there are likely hundreds more.

      808.    Each of those invoices is a fraudulent wire communication.

      809.    In addition to those RICO Defendants, Toth, MTD, Toy Network, and

MGS knowingly sent or caused to be sent hundreds of emails to retailers and others that




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furthered the fraudulent scheme by coordinating the shipping, receiving, processing, and

distribution of the SLB Products associated with those invoices.

        810.   Each of those emails is a fraudulent wire communication.

        811.   After Manley’s liquidation in March 2016, Samson Chan, Alan Chan, Liu,

Dubinsky, Toy Quest Ltd., Banzai International, Park Lane, Aquawood, and possibly

other RICO Defendants knowingly continued to send or cause to be sent electronically

invoices to retailers that contained fraudulent demands to pay money to Toy Quest Ltd.,

when in fact the retailers owed money to Manley. (See Exhibits E & L to Aviva’s

Complaint.) While Aviva is aware of dozens of such invoices, there are likely hundreds

more.

        812.   Each of those invoices is a fraudulent wire communication.

        813.   In addition to those RICO Defendants, Toth, MTD, Toy Network, and

MGS knowingly sent or caused to be sent hundreds of emails to retailers and others that

furthered the fraudulent scheme by coordinating the shipping, receiving, processing, and

distribution of the SLB Products associated with those invoices.

        814.   Each of those emails is a fraudulent wire communication.

        815.   Both before and after Manley’s liquidation, the retailers, including Big

Lots, Dollar General, Michaels, Target, Bed Bath & Beyond, and Target, relied on these

fraudulent wire communications to make changes to their vendor systems and to pay

millions of dollars to Toy Quest Ltd. that actually were owed to Manley. (See Exhibits G

& H to Aviva’s Complaint.)



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      816.    At Wu’s direction, Dollar Empire paid more than $3 million to Toy Quest

Ltd. that Wu and Dollar Empire knew was actually owed to Manley. (See Exhibit F to

Aviva’s Complaint.)

      817.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Wu, Dollar Empire, and possibly other RICO

Defendants thus knowingly sent or caused to be sent the wire communications that

effectuated these financial transactions in interstate or foreign commerce.

      818.    The fraudulently induced payments to Toy Quest Ltd. in turn allowed

Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park

Lane, Aquawood, and possibly other RICO Defendants to falsify the sales and financial

records of Manley, Toy Quest Ltd., Banzai International, Park Lane, Aquawood, and

likely other SLB Companies in an effort to make it appear that Manley had no assets.

      819.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, and possibly other RICO Defendants then sent or

caused to be sent electronically those financial records to Manley’s Liquidators, lawyers

in the United States, the Bankruptcy Court, and creditors, who all relied on them.

      820.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, and possibly other RICO Defendants also

knowingly submitted or caused to be submitted electronic filings in courts across the

United States that contained dozens of material omissions and misrepresentations about

the operations and assets of Manley and Toy Quest Ltd., including false statements that



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the companies kept separate accounts and did not comingle funds and that funds owed to

Manley were owed to Toy Quest Ltd.

      821.    Those RICO Defendants likewise knowingly made or caused to be made

fraudulent submissions to courts about the RICO Defendants’ roles and responsibilities

with respect to Manley and other SLB Companies and the existence, location, and

accessibility of documents and assets.

      822.    Courts, retailers, creditors, and Manley’s Liquidators relied on those

fraudulent court submissions.

      823.    The purpose of all of these thousands of fraudulent wire communications

was to allow the SLB Enterprise to continue doing business in the United States while

evading judgments entered against Manley and the Iowa Judgment Debtors and

concealing documents and information relevant to the enforcement of those judgments.

      824.    Aviva’s ability to describe with more precision the assets that were hidden

by the RICO Defendants is limited because of the RICO Defendants’ hiding of,

destruction of, and refusal to provide relevant information.

      825.    In addition, starting in 2016 and continuing through at least 2018, Samson

Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park Lane,

Aquawood, Toth, MTD, Toy Network, MGS, Wu, and Dollar Empire knowingly have

sent or caused to be sent wire communications in furtherance of a fraudulent scheme to

conceal the final destination of SLB Products and that those products were flowing

through Iowa.



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      826.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Wu, and Dollar Empire knowingly have transmitted

or caused to be transmitted electronically customs documents that falsely identify Dollar

Empire as the consignee or importer of record for hundreds of tons of SLB Products

worth millions of dollars, stating that the products would end up with Dollar Empire in

California. (See Exhibit L to Aviva’s Complaint.)

      827.    Each of those customs documents is a fraudulent wire communication.

      828.    In many instances, the customs documents should have listed the importer

of record as an SLB Company, such as Aquawood, MTD, Toy Network, or MGS.

      829.    In reality, some of those SLB Products were sent directly to retailers across

the country at the direction of Toy Quest Ltd., Banzai International, Park Lane,

Aquawood, MTD, Toy Network, or MGS.

      830.    Other SLB Products were sent to MTD, Toy Network, and MGS in Iowa,

and then distributed to retailers across the country.

      831.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, Wu, and Dollar

Empire also knowingly sent or caused to be sent hundreds of emails that furthered the

sham consignment scheme by coordinating the movement of goods around the country,

from California to Iowa to the retailers.

      832.    Each of those emails is a fraudulent wire communication.




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      833.       Customs officials, retailers, and creditors relied on the fraudulent customs

documents and emails.

      834.       Had customs officials known that the customs documents contained false

information, the SLB Products likely would not have been admitted into the United

States.

          B.     Bankruptcy Crimes – 18 U.S.C. § 152

      835.       Each of the RICO Defendants has committed bankruptcy crimes pursuant

to 18 U.S.C. § 152.

                 1.     Fraudulent Concealment of Property – 18 U.S.C. § 152(1)

          836.   All of the RICO Defendants repeatedly violated 18 U.S.C. § 152(1) by

knowingly and fraudulently concealing property belonging to the estate of a debtor

(Manley) from both (a) officers of the court charged with the control or custody of

property (Manley’s Liquidators) and (b) independent creditors, in connection with a case

under title 11.

          837.   As described above, each RICO Defendant played a part in knowingly and

fraudulently concealing millions of dollars of Manley’s accounts receivable owed to

Manley using its “Toy Quest” trade name.

          838.   Those Manley assets were fraudulently concealed from Manley’s

Liquidators and creditors, including Aviva.

          629.   Pursuant to and in furtherance of their fraudulent scheme, the RICO Defendants

committed multiple related instances of the Predicate Crimes.




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       630.    The Predicate Crimes set forth in Section III constitute a pattern of racketeering

activity pursuant to

       839.    Many of the fraudulent wire communications discussed above served the

purpose of concealing Manley assets.

       840.    Each RICO Defendant helped to conceal Manley assets both before and

after Manley’s bankruptcy case was filed.

       841.    As described above, after Manley’s bankruptcy case was filed, all of the

RICO Defendants participated in transferring Manley assets out of the country, in

violation of the bankruptcy stay.

       842.    In addition, Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd.,

Banzai International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, and

possibly other RICO Defendants knowingly and fraudulently concealed from the

Liquidators and creditors a substantial portion of Manley’s books and records, including

all of Manley’s emails; documents related to bank loans made to Manley, Toy Quest Ltd.,

and other SLB Companies; and all of Manley’s books and records in California and Iowa.

               2.      Making False Oaths in Manley’s Bankruptcy Case – 18 U.S.C. §
                       152(2)

       843.    Dubinsky violated 18 U.S.C. § 152(2) by knowingly and fraudulently

making false oaths or accounts in his September 26, 2017 deposition in Manley’s

bankruptcy case.




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         844.   Gary Chan, who was acting on behalf of Toy Quest Ltd., also violated 18

U.S.C. § 152(2) by knowingly and fraudulently making false oaths or accounts in his

September 22, 2017 deposition in Manley’s bankruptcy case.

                3.    Making False Declarations in Manley’s Bankruptcy Case – 18
                      U.S.C. § 152(3)

         845.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Park Lane, and

possibly other RICO Defendants violated 18 U.S.C. § 152(3) by knowingly and

fraudulently causing Manley’s Liquidators to make false statements under penalty of

perjury about Manley’s financial condition.

         846.   Samson Chan, Alan Chan, Liu, Dubinsky, and Toy Quest Ltd. also violated

18 U.S.C. § 152(3) by knowingly and fraudulently causing Gary Chan to make false

statements under penalty of perjury on behalf of Toy Quest Ltd. in Manley’s bankruptcy

case.

         847.   Toy Quest Ltd.’s original and amended interrogatory answers served in

Manley’s bankruptcy case, both of which were verified by Gary Chan, were

contradictory. Therefore, at least one of them was false.

                4.    Presenting False Claims for Proof – 18 U.S.C. § 152(4)

         848.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., and possibly

other RICO Defendants violated 18 U.S.C. § 152(4) by knowingly and fraudulently

causing Toy Quest Ltd. and other SLB Companies to present false claims for proof

against Manley, and using those claims in Manley’s bankruptcy case.




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       849.   Those claims for proof falsely alleged that Toy Quest Ltd. and other SLB

Companies such as Manley Fashion were creditors of Manley, when in fact they were

debtors of Manley.

       850.   Without the false claims for proof, the Principals could not have authorized

the Liquidators to file the petition for chapter 15 recognition because less than half of

Manley’s total liabilities would have been owed to SLB Companies under the Principals’

control.

       851.   Without Toy Quest Ltd.’s false claim for proof, the Liquidators also could

not have used money from Toy Quest Ltd. to fund Manley’s bankruptcy case.

       852.   The Bankruptcy Court relied expressly on Toy Quest Ltd.’s purported status

as a creditor, as reported in its claim for proof, in allowing multiple actions by Manley’s

Liquidators that were funded by Toy Quest Ltd. and, later, in recognizing Manley’s

liquidation pursuant to chapter 15.

       853.   The Liquidators continued to rely on the false claims for proof throughout

Manley’s bankruptcy case to oppose Aviva’s efforts to obtain documents and information

and in support of other forms of relief sought pursuant to chapter 15.

       854.   At the direction of Samson Chan, Alan Chan, Liu, and Dubinsky, Toy

Quest Ltd. used its false claim for proof in Manley’s bankruptcy proceeding for purposes

of appearing in the bankruptcy case and asserting its status as a Manley creditor.

       855.   At the direction of Samson Chan, Alan Chan, Liu, and Dubinsky, Toy

Quest Ltd. filed false statements in connection with a litigated dispute over the ownership



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of property that arguably was property of Manley and Toy Quest Ltd.’s alleged violation

of the bankruptcy stay. The Bankruptcy Court eventually sanctioned Toy Quest Ltd. for

violating the stay.

              5.      Fraudulently Receiving Property – 18 U.S.C. § 1961(5).

              631.    The RICO Defendants have directly and indirectly conducted and
                      participated in the conduct of the enterprise’s affairs through the pattern of
                      racketeering and activity described above, in violation of152(5)

       856.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, and possibly

other RICO Defendants repeatedly violated 18 U.S.C. § 152(5) by knowingly and

fraudulently receiving, or causing others knowingly and fraudulently to receive, a

material amount of property belonging to Manley, including payments as well as books

and records, after Manley’s bankruptcy case was filed, with the intent to defeat the

provisions of title 11.

       857.   Since Manley’s bankruptcy case was filed, Toy Quest Ltd. improperly has

taken more than $7 million of Manley’s money, including millions of dollars owed to

Manley by Dollar Empire, and then (upon information and belief) passed those assets to

Samson Chan, Alan Chan, Liu, Dubinsky, Banzai International, Park Lane, Aquawood,

and possibly other RICO Defendants.

       858.   Banzai International fraudulently received Manley assets through its

purchase of purported Toy Quest Ltd. assets.




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       859.   The RICO Defendants intended to defeat the provisions of title 11 by

keeping Manley’s assets within the SLB Enterprise instead of allowing them to be

distributed to Manley’s creditors.

       860.   In addition, Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd.,

Banzai International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, and

possibly other RICO Defendants knowingly and fraudulently received a substantial

portion of Manley’s books and records that had been concealed from the Liquidators and

creditors.

       861.   Those RICO Defendants intended to defeat the provisions of title 11 by

taking and hiding information that would expose additional Manley assets that should be

distributed to Manley’s creditors.

              6.     Fraudulent Payments for Acting or Forbearing to Act in
                     Manley’s Bankruptcy Case – 18 U.S.C. § 152(6)

       862.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, and possibly other RICO Defendants repeatedly

violated 18 U.S.C. § 152(6) by knowingly and fraudulently making payments or causing

payments to be made to Manley’s Liquidators, their lawyers and various creditors to act

or not to act in Manley’s bankruptcy case.

       863.   Those RICO Defendants did not intend for Manley’s bankruptcy case to

allow an orderly marshaling of assets and winding up of affairs.

       864.   Rather, those RICO Defendants funded or caused to be funded the

bankruptcy case for the fraudulent purpose of preventing independent creditors from


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seeking Manley assets or asserting claims based on Manley’s alter-ego relationships with

other companies or individuals while members of the SLB Enterprise continued to take

Manley assets out of the U.S.

       865.   The payments that the RICO Defendants made or caused to be made to

Manley’s Liquidators and their lawyers funded all actions taken by those professionals in

Manley’s bankruptcy case, including filing the initial chapter 15 recognition petition that

triggered the bankruptcy stay, blocking Aviva’s efforts to take discovery and to compel

Toy Quest Ltd. to comply with the bankruptcy stay, and opposing Aviva’s request for

stay relief to allow independent creditors to assert alter ego or fraudulent transfer claims.

       866.   At the same time, payments by Toy Quest Ltd. and other SLB Companies to

various creditors with whom the SLB Companies have ongoing business relationships

caused independent creditors not to assert rights they otherwise might have asserted in

the chapter 15 case.

       867.   Toy Quest Ltd. paid all professionals (including all lawyers) involved in all

sides of the negotiation of the Liquidators’ proposed settlement with the SLB Companies.

Recipients of such payments included U.S. lawyers representing the Liquidators and the

Liquidators themselves, who have received virtually no compensation for their efforts

over the past three years from anyone other than Toy Quest Ltd.

       868.   Toy Quest Ltd. paid all professionals involved in responding to and

evaluating Aviva’s proof of claim, even though the proof of claim includes many

allegations against multiple SLB Companies, including not only Manley but also Toy



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Quest Ltd. and other SLB Companies. The primary points of contact for Aviva with

respect to its proof of claim against Manley has been the Liquidators’ U.S. counsel in the

chapter 15 case.

       869.   Toy Quest Ltd. paid the Liquidators to, among other things, refuse to turn

over Manley documents, object to creditors’ requests to obtain those documents, and

attempt to destroy those documents.

              7.     Fraudulent Transfer and Concealment of Property – 18 U.S.C. §
                     152(7)

       870.   Each RICO Defendant repeatedly violated 18 U.S.C. § 152(7) by

knowingly and fraudulently transferring and concealing Manley’s property, including its

receivables, physical assets, and books and records, in contemplation of Manley’s

bankruptcy case.

       871.   As described above, each RICO Defendant played a part in knowingly and

fraudulently transferring and concealing millions of dollars of Manley’s accounts

receivable owed to Manley using its “Toy Quest” name.

      872.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, and possibly other RICO Defendants sent or caused

to be sent fraudulent communications to retailers to transfer and conceal Manley’s

property, including communications falsely stating that the retailers were doing business

with Toy Quest Ltd. and invoices demanding payment to Toy Quest Ltd. of money

actually owed to Manley.




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      873.    Toth, MTD, Toy Network, and MGS helped knowingly and fraudulently

conceal Manley’s property by coordinating the shipping, receiving, processing, and

distribution of the SLB Products associated with those invoices.

      874.    Wu and Dollar Empire conducted dozens of transactions in the months

leading up to and following the filing of Manley’s bankruptcy case that helped the SLB

Enterprise conceal millions of dollars of Manley assets. (See Exhibits F & I to Aviva’s

Complaint.)

      875.    Since Manley’s bankruptcy case was filed, all of these fraudulent

communications resulted in the transfer of millions of dollars of Manley assets out of the

U.S., in violation of the bankruptcy stay. Toy Quest Ltd., for example, improperly has

taken more than $7 million of Manley’s money, including millions of dollars owed to

Manley by Dollar Empire, all in violation of the bankruptcy stay, and all facilitated by the

fraudulent communications of the RICO Defendants.

      876.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, and possibly other RICO Defendants accepted or

caused Toy Quest Ltd. to accept money and other assets that they knew belonged to

Manley.

      877.    Banzai International also fraudulently received Manley assets through its

purchase of purported Toy Quest Ltd. assets.

      878.    In addition, Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd.,

Banzai International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, and



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possibly other RICO Defendants knowingly and fraudulently transferred and concealed a

substantial portion of Manley’s books and records.

      879.    All of these actions were taken in contemplation of Manley’s bankruptcy

case, to drain Manley of assets prior to the filing of the chapter 15 recognition petition,

mislead Manley’s liquidators and the court, and make it more difficult for creditors to

trace or seize Manley’s assets.

              8.     Fraudulently Concealment and Withholding of Recorded
                     Information – 18 U.S.C. § 152(8) and (9)

       880.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, and possibly

other RICO Defendants repeatedly violated 18 U.S.C. § 152(8) and (9) by knowingly and

fraudulently concealing, falsifying, and withholding recorded information relating to

Manley’s property and financial affairs after Manley’s bankruptcy case was filed.

       881.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Toth, MTD, Toy Network, MGS, and possibly

other RICO Defendants knowingly and fraudulently concealed and withheld from the

Liquidators a substantial portion of Manley’s books and records, including all of

Manley’s emails; documents related to bank loans made to Manley, Toy Quest Ltd., and

other SLB Companies; and all of Manley’s books and records in California and Iowa.

       882.   Defendants concealed Manley’s books and records by transferring them to

Toy Quest Ltd. and Park Lane, and then by transferring them again from Toy Quest Ltd.

to Banzai International.


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         883.   As described above, Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest

Ltd., Banzai International, Park Lane, Aquawood, and possibly other RICO Defendants

also falsified the sales and financial records of Manley, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, and likely other SLB Companies in an effort to

make it appear that Manley had no assets.

         884.   Based on these falsified records, the Liquidators incorrectly concluded that

Manley had conducted little to no business in the United States in recent years and had

less than $100,000 in realizable U.S. assets.

         885.   Moreover, because the records reflecting the true state of Manley’s assets

and financial affairs had been withheld from the Liquidators, the Liquidators purportedly

did not know that Manley had been operating as “Toy Quest Ltd.” until the week before

Manley’s liquidation filing and failed to identify as Manley assets the millions of dollars

that retailers owed to Manley for sales it made using its “Toy Quest Ltd.” name.

         886.   The Liquidators passed on much of the false or incomplete information they

received to the Bankruptcy Court, which recognized the Hong Kong proceedings based in

part on information that went from Defendants to the Liquidators to the Bankruptcy

Court.

         C.     Money Laundering – 18 U.S.C. § 1956 and 18 U.S.C. § 1957

      887.      Each of the RICO Defendants repeatedly violated 18 U.S.C. § 1956 by

conducting or attempting to conduct, or causing others to conduct or attempt to conduct,

financial transactions involving property that they knew represented the proceeds of



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specified unlawful activity. Such financial transactions were intended to promote the

carrying on of the specified unlawful activity and/or were designed in whole or in part to

conceal or disguise the nature, location, source, ownership, or control of proceeds of

specified unlawful activity.

      888.    Each of the RICO Defendants also repeatedly violated 18 U.S.C. § 1957 by

knowingly engaging or attempting to engage in a monetary transaction involving property

derived from specified unlawful activity valued at more than $10,000.

      889.    The specified unlawful activity in question includes the wire fraud and

bankruptcy crimes detailed above, as well as customs fraud pursuant to 18 U.S.C. § 542:

              a)     Since at least 2013, Samson Chan, Alan Chan, Liu, Dubinsky, Toy

Quest Ltd., Banzai International, Park Lane, Aquawood, Toth, MTD, Toy Network,

MGS, Dollar Empire, and Wu have imported or attempted to import SLB Products into

the U.S., or caused others to import or attempt to import SLB Products into the U.S., by

means of fraudulent and false invoices, customs documents, and other papers, and by

means of false written or verbal statements.

              b)     From at least 2014 to 2015, Samson Chan, Alan Chan, Liu,

Dubinsky, Toy Quest Ltd., Aquawood, Toth, MTD, Toy Network, MGS, and possibly

other RICO Defendants falsely designated or caused to be falsely designated MTD on

customs documents as the consignee or importer of record for SLB Products. That false

designation concealed from customs officials and creditors the retailers that actually




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received the goods, meaning that creditors were not aware that money owed by those

retailers was available to be garnished.

              c)     Subsequently, from 2016 to at least 2018, the RICO Defendants

switched the sham designee from MTD to Dollar Empire. In that time period, Samson

Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park Lane,

Aquawood, Toth, MTD, Toy Network, MGS, Wu, and Dollar Empire falsely identified

Dollar Empire, or caused Dollar Empire to be falsely identified, on customs documents as

the consignee or importer of record for SLB Products. (See Exhibit L to Aviva’s

Complaint.)

              d)     These false statements not only concealed from customs officials

and creditors the ultimate destination of the goods, thereby thwarting garnishment actions

involving the retailers who actually received the goods, but also concealed from Aviva

and the Iowa Claimants that SLB Products were flowing through Iowa as well as any

payments made to the Iowa Judgment Debtors in connection with the shipments.

              e)     In addition, the purchase prices reported to U.S. Customs in

connection with the sham Dollar Empire shipments—which determined the fees and

duties charged upon entry of those shipments into the U.S.—were far below the actual

purchase prices paid by retailers for the products in those shipments, meaning that

Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park

Lane, Aquawood, Toth, MTD, Toy Network, MGS, Wu, and Dollar Empire defrauded




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the U.S. government by paying lower fees and/or duties than they would have if they had

reported the correct purchase prices.

              f)     All of the false statements described above were material not only to

judgment creditors but also to U.S. Customs in that the SLB Products likely would not

have been admitted into the United States if customs officials had known that the

customs documents contained false information, especially false information that resulted

in the U.S. government being fraudulently deprived of fees and/or duties due to it.

              g)     Another variant of the RICO Defendants’ customs fraud was to

misrepresent on shipping documents that Toy Quest Ltd. had sold certain products, when

the products actually were sold by another SLB Company such as Manley or MTD.

Those false statements caused retailers to pay money to Toy Quest Ltd. that really was

owed to Manley, MTD, or another SLB Companies.

              h)     Specifically, from 2013 until at least 2016, Samson Chan, Alan

Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park Lane, Aquawood, Toth,

MTD, Toy Network, MGS, and possibly other RICO Defendants shipped SLB Products

to retailers accompanied by invoices and other documents falsely claiming that Toy Quest

Ltd. was the seller of the goods when in fact the seller was Manley, MTD, Toy Network,

MGS, or another SLB Company. (See Exhibits A-E, I-K to Aviva’s Complaint.)

      890.    The millions of dollars of revenue generated from the sale of SLB Products

constitutes the proceeds of the wire fraud, bankruptcy crimes, and customs fraud




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described above, because the revenue is derived from or obtained or retained, directly or

indirectly, through that unlawful activity.

      891.    All of the RICO Defendants have laundered that revenue by conducting or

attempting to conduct, or causing others to conduct or attempt to conduct, multiple

financial transactions involving the revenue, usually involving amounts well over

$10,000. Each of the financial transactions occurred in whole or in part in the United

States and/or was committed by one or more United States persons, as that term is

defined by 18 U.S.C. § 3077(2).

      892.    Exhibits F-H to Aviva’s Complaint, for example, identify dozens of

payments totaling many millions of dollars made by retailers in the United

States—including Dollar Empire—to Toy Quest Ltd. in Hong Kong, when the payments

should have been made to Manley.

      893.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Wu, Dollar Empire, and possibly other RICO

Defendants caused these payments to be made.

       894.   Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Toth, and possibly other RICO Defendants also laundered the

proceeds of their illegal activity by sending money or causing money to be sent from

Hong Kong back to the United States.




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       895.    That money was used to fund the operations of Aquawood, MTD, Toy

Network, and MGS in the United States, which were integral to the RICO Defendants’

fraudulent scheme.

       896.    The money also was used to pay attorneys in the United States, including

Novack, RRB, Archer & Greiner, and Goodwin Procter, who filed pleadings, motions,

declarations, and other papers across the country to prevent Aviva and other judgment

creditors from enforcing their judgments, so that the RICO Defendants could proceed

with their fraudulent scheme.

      897.     Each transaction described above was a “monetary transaction” because it

involved the deposit, withdrawal, transfer, or exchange, in or affecting interstate or

foreign commerce, of funds or a monetary instrument by, through, or to a financial

institution.

       898.    Each transaction involved the proceeds of wire fraud, bankruptcy crimes,

and/or customs fraud.

       899.    The purpose of all of the financial transactions described above was to

promote the carrying on of further wire fraud, bankruptcy crimes, and/or customs fraud

by (a) ensuring that the SLB Enterprise continued to do business in the United States, and

(b) helping the SLB Enterprise avoid paying judgments.

       900.    The transactions also served to conceal or disguise the nature, location,

source, ownership, or control of the millions of dollars of revenue generated from the sale

of SLB Products.



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       D.     Obstruction of Justice – 18 U.S.C. § 19621512(c).

      901.    Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai

International, Park Lane, Aquawood, Wu, Dollar Empire, and possibly other RICO

Defendants altered, destroyed, mutilated, or concealed documents with the intent to

impair the document’s integrity or availability for use in an official proceeding, or caused

others to do so.

      902.    The same RICO Defendants likewise obstructed, influenced, and impeded

an official proceeding.

      903.    Aviva has alleged concealment of documents and obstruction in connection

with multiple official proceedings.

      904.    One official proceeding is the federal lawsuit in Minnesota in which Aviva

obtained a judgment. In connection with that lawsuit, Samson Chan, Alan Chan, Liu,

Dubinsky, Toy Quest Ltd., Banzai International, Park Lane, Aquawood, and possibly

other RICO Defendants took and concealed documents subject to a post-judgment order

to produce them to Aviva.

      905.    Also in that lawsuit, Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest

Ltd., Park Lane, and possibly other RICO Defendants orchestrated the sham intervention

of Jun Tai and Winning, which allowed those RICO Defendants to circumvent potentially

catastrophic injunctive sanctions banning imports of SLB Products by causing the chapter

15 bankruptcy case to be initiated. That sham intervention interfered with the litigation

and the authority of the court.



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      906.     Another official proceeding is Manley’s bankruptcy case. Samson Chan,

Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park Lane, Aquawood,

Toth, MTD, Toy Network, MGS, and possibly other RICO Defendants hid and

manipulated Manley’s books and records to mislead Manley’s liquidators, creditors, and

courts. Toy Quest Ltd. also paid the Liquidators to, among other things, refuse to turn

over Manley documents, object to creditors’ requests to obtain those documents, and

attempt to destroy those documents.

      907.     Another official proceeding is the case in the Central District of California

in which Wu submitted false statements about Dollar Empire’s consignment relationship

with Banzai International. Wu and Dollar Empire impeded that proceeding by first

representing that Dollar Empire possessed relevant import records, and then, when

ordered to produce such documents, abruptly denying that Dollar Empire had any. A

reasonable inference is that the import records existed, but were destroyed or concealed.

                                         RICO Injury

      908.     632. As a direct and proximate result of the RICO Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(c), Aviva has been injured in its business and

property in that it has been unable to fully collect on the Minnesota and Iowa judgmentsits

judgment against Manley and MTD, and Aviva has incurred significant legal costs in its effort

to enforce the judgments and uncover and resist the pattern of racketeering.




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      909.    As a result of Defendants’ crimes and hiding of information, Aviva still

lacks sufficient information to describe in detail precisely which assets were hidden from

Aviva, when they were hidden, and how they were hidden.

      910.    The RICO Defendants also are liable for certain post-judgment fees and

expenses due to attorney time and related costs that would not have been necessary

absent the RICO Defendants’ crimes.

      911.    In this lawsuit, Aviva is not seeking damages for the Lanham Act violations

that resulted in its judgment. Nor is Aviva seeking damages for the attorneys’ fees and

other litigation expenses it incurred to obtain its judgment.

      912.    Aviva did not discover, and could not reasonably have discovered, that it

had suffered a RICO injury until less than four years before the filing of its Complaint.

      913.    The RICO Defendants prevented Aviva from discovering its RICO injury

by fraudulently concealing documents and information, despite Aviva’s diligent efforts to

obtain such documents and information.




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                                COUNT V
                       : RACKETEER INFLUENCED AND
              CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1961 1962(dD)

                                (Against the RICO Defendants)

       914.     633. The allegations of theAviva re-alleges and incorporates by reference all

preceding paragraphs are incorporated herein by reference.

       915.     634. This count is againstAll of the RICO Defendants.

       635.     As set forth above, the RICO Defendants have agreed and conspired to violate

18 U.S.C. § 1962(c).

       916.     While Aviva contends that all of the RICO Defendants themselves

committed two or more predicate acts, if any RICO Defendant did not commit two or

more predicate acts, that RICO Defendant is still liable as a co-conspirator for the

damage caused by the SLB Enterprise.

       917.     636. The RICO Defendants have intentionally conspired and agreed to

directly and indirectly use or invest income that is derived from a pattern of racketeering activity

in an interstate enterprise, acquire or maintain interests in the enterprise through a pattern of

racketeering activity, andthat they and/or other RICO Defendants would conduct and

participate in the conduct of the affairs of the enterpriseSLB Enterprise through athe

pattern of racketeering activity. The described above.

       918.     Many of the RICO Defendants—Samson Chan, Alan Chan, Liu, Dubinsky,

Toy Quest Ltd., Aquawood, Toth, MTD, Toy Network, Wu, and Dollar Empire—have



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been associated with the SLB Enterprise and one another for a decade or more. The other

RICO Defendants—Banzai International, Park Lane, and MGS—have been associated

with the SLB Enterprise since at least 2016, and were created to replace some of the other

RICO Defendants or other SLB Companies as part of the RICO Defendants’ corporate

shell game.

          919.    As detailed above, each of the RICO Defendants also knowingly engaged

in and/or facilitated coordinated criminal activities, including wire fraud, bankruptcy

crimes, customs fraud, and money laundering.

          920.    Each of the RICO Defendants knew that their Predicate Crimesthe RICO

Defendants’ own predicate acts and the predicate acts of other RICO Defendants were

part of a pattern of racketeering activity, and agreed to the commission of those acts to

further the schemesscheme described above.

          921.    The RICO Defendants orchestrated such criminal activities to conceal

assets of multiple judgment debtors from multiple judgment creditors, thereby benefiting

Samson Chan, Alan Chan, Liu, Dubinsky, and their surviving companies and staying

“one step ahead” of Aviva and other judgment creditors.

          922.    That conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(c), in

violation of 18 U.S.C. § 1962(d).

          637.    Each of the financial transactions and interstate or international communications,

    shipments, and acts of litigation described in Section III constituted an overt act in furtherance

    of the RICO Defendants’ conspiracy.




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      923.     638. As a direct and proximate result of the RICO Defendants’ conspiracy,

the overt acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. §

1962(d), Aviva has been injured in its business and property in that it has been unable to

fully collect on the Minnesota and Iowa judgmentsits judgment against Manley and MTD and

has incurred significant legal costs in its effort to enforcement the judgments and uncover and

resist the pattern of racketeering. Aviva’s damages as a result of the RICO Defendants’

violations of 18 U.S.C. § 1962(d) are substantially the same as its damages as a result of

the RICO Defendants’ violations of 18 U.S.C. § 1962(c).




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.




                                              DAMAGES

           639. Aviva incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

           640. As a direct and proximate result of the RICO Defendants’ violations of 18 U.S.C.

§ 1962(c), (d) and their pattern of racketeering activity and the Civil Conspiracy Defendants’

tortious conduct, Aviva has been injured in its business and property in that: Aviva has only

collected approximately $140,000 of an $8.5 million judgment and has incurred substantial costs

and expenses in its efforts to enforce and recover the judgment through garnishment and other

litigation.

           641. But for the Defendants’ conduct, Aviva would not have incurred the monetary

    losses described above and expressly incorporated herein by reference.

                                    COUNT VI: ALTER EGO

                               (Against the Alter Ego Defendants)

          924.   Aviva re-alleges and incorporates by reference all preceding paragraphs,

and alleges as follows against the Principals, the Hong Kong Entities, Aquawood, the

Iowa Entities, Manley, and the Liquidators (collectively, the “Alter Ego Defendants”):

          925.   Aviva seeks declarations against the Alter Ego Defendants named above

that:

                 a.      Manley is an alter ego of the Principals;

                 b.      Manley is an alter ego of the Hong Kong Entities, Aquawood, and

                         the Iowa Entities;



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               c.    The Hong Kong Entities, Aquawood, and the Iowa Entities are alter

                     egos of the Principals;

               d.    The Hong Kong Entities, Aquawood, and the Iowa Entities are alter

                     egos of one another;

               e.    For purposes of enforcing judgments against the Alter Ego

                     Defendants, Aviva is entitled to piercing of any corporate veils

                     separating Manley, the Hong Kong Entities, Aquawood, and the

                     Iowa Entities from one another and from the Principals; and

               f.    Aviva may enforce its judgments against the Alter Ego Defendants

                     as judgment debtors.

        926.   The Principals have dominated, influenced, and controlled Manley, the

Hong Kong Entities, Aquawood, and the Iowa Entities, as well as affiliates such as Toy

Warehouse and Toy Box.

        927.   The Principals generally treat the assets of the SLB Companies as their

own.

        928.   The Alter Ego Defendants move assets among themselves with little or no

regard for which entity formally owns which assets.

        929.   Assets belonging to Manley became assets of Toy Quest Ltd. without any

formal transfer of the assets and without Manley being paid for them, and those assets

then became assets of Banzai International pursuant to a non-arms’ length sale

agreement.



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       930.      As shown by the fact that the SLB Companies come and go without any

significant negative impact on the SLB Enterprise’s business, Manley, the Hong Kong

Entities, Aquawood, and the Iowa Entities generally function as mere shells that serve no

legitimate business purposes and are used primarily as intermediaries to impair judgment

enforcement, perpetrate fraud, and promote injustice and fundamental unfairness.

       931.      As Dubinsky confessed, the Defendants invoke corporate formalities to stay

“one step ahead” of judgment creditors.

       932.      The Alter Ego Defendants and their named and unnamed co-conspirators

systematically have abused the corporate form to evade judgments, including specifically

the judgment Aviva obtained in the District of Minnesota, and for other illegitimate

purposes.

       933.      Manley and other SLB Companies used the trade names “Toy Quest Ltd.,”

“Toy Quest,” and “ToyQuest” to, among other things, confuse business counterparties

and creditors.

       934.      Manley and other SLB Companies used the trade name “Banzai” to, among

other things, confuse business counterparties and creditors.

       935.      Manley and other SLB Companies used the trade name “Manley Toy

Direct” to, among other things, confuse business counterparties and creditors.

       936.      The Alter Ego Defendants have used one another’s addresses

interchangeably to, among other things, confuse business counterparties and creditors.




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       937.   The Alter Ego Defendants have used one another’s addresses and identities

interchangeably to, among other things, procure insurance that would cover most or all of

the Alter Ego Defendants under insurance policies purchased from U.S. and Hong Kong

insurers.

       938.   The abuses of the corporate form by the Alter Ego Defendants have been

described by multiple courts as games of “corporate entity three card monte.”

       939.   This Court already has determined that there is no “meaningful distinction”

among Manley, Toy Quest Ltd., and Aquawood.

       940.   For the ultimate benefit of the Principals and at their direction, the

Principals and the Hong Kong Entities (a) established the following companies such that

the companies were undercapitalized at the outset and/or (b) simply looted the

companies, even if they initially were capitalized sufficiently: Manley, the Hong Kong

Entities, Aquawood, and the Iowa Entities.

       941.   For the ultimate benefit of the Principals and at their direction, the

Principals and the Hong Kong Entities operated and controlled the following companies

while failing to observe many corporate formalities, such as maintaining separate books

and records: Manley, the Hong Kong Entities, Aquawood, and the Iowa Entities.

       942.   For the ultimate benefit of the Principals and at their direction, the

Principals and the Hong Kong Entities operated and controlled the following companies

in a manner that resulted in the comingling of many business assets, including good will,

product inventory, and the right to receive proceeds from various transactions: Manley,



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the Hong Kong Entities, Aquawood, and the Iowa Entities. When convenient, traditional

rules concerning the separateness of corporate obligations (e.g., contractual obligations to

supply particular SLB Products or to repay loans) also were ignored.

       943.   Each of the Principals has misused the corporate form, and in particular

abused the purported corporate separateness of Manley, the Hong Kong Entities,

Aquawood, and the Iowa Entities, to deprive Aviva of its ability to collect judgments.

       944.   Each of the Hong Kong Entities has misused the corporate form, and in

particular abused the purported corporate separateness of Manley, the Hong Kong

Entities, Aquawood, and the Iowa Entities, to deprive Aviva of its ability to collect

judgments.

       945.   Manley has misused the corporate form, and in particular the purported

corporate separateness of Manley, the Hong Kong Entities, Aquawood, and the Iowa

Entities, to deprive Aviva of its ability to collect judgments.

       946.   Manley has not been a separate company whose separateness serves

legitimate business purposes. Rather, Manley has done the bidding of its beneficial

owners, the Principals. The corporate separateness of Manley has been used to

perpetuate fraud and promote injustice and fundamental unfairness.

       947.   Each of Aquawood, the Hong Kong Entities, and the Iowa Entities is not a

separate company whose separateness serves legitimate business purposes. Rather, each

does the bidding of its beneficial owners, the Principals. The corporate separateness of




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each of the Hong Kong Entities has been used to perpetuate fraud and promote injustice

and fundamental unfairness.

       948.   Aviva did not elect to play the Alter Ego Defendants’ shell game and is not

a voluntary creditor of Manley or any of the other Defendants. Rather, Aviva became an

involuntary judgment creditor because it was injured by misconduct for which Manley

was found liable.

       949.   As an involuntary judgment creditor, Aviva has more equities in favor of

enforcing the equitable remedy of piercing the corporate veil than would a voluntary

judgment creditor in a contract case.

       950.   When Aviva was a competitor of Manley, Aviva had no reason to know

that in the future it would become a judgment creditor of Manley. Aviva had no reason

to conduct any due diligence on the corporate organization and capitalization of Manley,

to obtain guarantees from other persons or entities, or collateralize any debt or promise,

because Aviva did not know that it would later be damaged by a Lanham Act violation.

       951.   Unlike a voluntary creditor with a breach-of-contract judgment, Aviva had

no reason to know that Manley might be undercapitalized or later looted and therefore

unable to pay judgments in the future, and Aviva had no ability to protect itself from the

Alter Ego Defendants’ abuses of the corporate form.

       952.   The Principals, Manley, the Hong Kong Entities, Aquawood, and the Iowa

Entities have such unity of interest and ownership that the individuality of the

corporations and their owners have ceased and the facts demonstrate that observance of



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the fiction of separate existence would, under the circumstances of this case, promote an

injustice and fundamental unfairness. The Principals, Manley, the Hong Kong Entities,

Aquawood, and the Iowa Entities are functioning as a single entity.

       953.   In some instances, the Principals and their co-conspirators have purported

to establish multiple corporate layers within the structure of their business. This has been

done not for legitimate business purposes but to try to hide the Principals’ dominant

roles, hide the true economic and practical relationships among the individuals and

entities, and make it more difficult to collect judgments against disposable entities.

       954.   Similarly, for many SLB Companies, the Alter Ego Defendants have hidden

the Principals’ dominant roles and the Principals’ status as beneficial owners by using

corporate fronts. Again, this has been done not for legitimate business purposes but to try

to obfuscate the true economic and practical relationships among the individuals and

entities and to make it more difficult to collect judgments against disposable entities.

       955.   Aviva is entitled to the declaratory relief requested against the Alter Ego

Defendants under applicable common law based on the equitable powers of courts in

Minnesota to secure complete justice.

       956.   To the extent that Aviva obtains relief in this Action against Manley, the

Liquidators are subject to such relief in the Liquidators’ capacities as liquidators of and

successors to Manley.




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                      COUNT VII: FRAUDULENT TRANSFER

                    (Against the Fraudulent Transfer Defendants)

       957.   Aviva re-alleges and incorporates by reference all preceding paragraphs and

alleges as follows against the Principals, the Executives, the Hong Kong Entities,

Aquawood, Wellmax, the Iowa Entities, Dollar Empire, Manley, and the Liquidators

(collectively, the “Fraudulent Transfer Defendants”):

       958.   To evade Aviva’s judgments, the Fraudulent Transfer Defendants have

made or caused to be made a massive number of fraudulent transfers to divert assets away

from Manley to the Hong Kong Entities, Aquawood and, ultimately, the Principals.

       959.   Each of those fraudulent transfers was made or caused to be made with the

actual intent to hinder, delay, or defraud Aviva after it became a judgment creditor of

Manley and MTD.

       960.   As described in more detail below, each of those fraudulent transfers bears

multiple badges of fraud.

       961.   None of the fraudulent transfers was made in good faith or for a reasonably

equivalent value.

       962.   Samson Chan, Alan Chan, Liu, Dubinsky, Magalhaes, Manley, Toy Quest

Ltd., and Aquawood played their corporate shell game fraudulently to transfer Manley’s

and MTD’s business relationships, good will, product inventory, intellectual property,




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rights to receive proceeds from various transactions, employees, documents, and other

assets to Toy Quest Ltd. and Park Lane.

         963.   Samson Chan, Alan Chan, Liu, Dubinsky, Magalhaes, Manley, Toy Quest

Ltd., and Aquawood accomplished this goal by drastically reducing Manley’s use of its

own name, abruptly shifting almost exclusively to the trade name “Toy Quest Ltd.”

         964.   The company Toy Quest Ltd. then started demanding and collecting

payment of money that was actually owed to Manley using its “Toy Quest Ltd.” trade

name.

         965.   Meanwhile, Park Lane and Toy Quest Ltd. drained Manley of its other

resources and took possession of Manley’s documents, thereby keeping those resources

and documents away from Aviva.

         966.   In 2016, when Manley was facing import sanctions in this Court, the

Principals ultimately liquidated Manley and began doing business with Toy Quest Ltd.

         967.   There is no purchase agreement between Manley and Toy Quest Ltd.

         968.   Toy Quest Ltd. and Park Lane never paid for Manley’s business assets,

including business relationships, good will, product inventory, intellectual property,

rights to receive proceeds from various transactions, employees, documents, and other

assets

         969.   To lay the groundwork for the fraudulent transfers to Toy Quest Ltd.,

Samson Chan, Alan Chan, Liu, Dubinsky, Magalhaes, Toy Quest Ltd., and Aquawood

knowingly sent or caused to be sent emails to retailers that made material omissions and



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misrepresentations about the operations and assets of Manley and Toy Quest Ltd.; the

relationships between Manley and Toy Quest Ltd.; and whether the retailers were

conducting business with Manley or Toy Quest Ltd.

      970.    Then those same Defendants knowingly sent or caused to be sent

electronically invoices to multiple retailers that contained fraudulent demands to pay

millions of dollars to Toy Quest Ltd., when in fact the retailers owed that money to

Manley. (See Exhibits A-E, I-K to Aviva’s Complaint.) Such invoices were sent both

before and after Manley’s liquidation.

       971.   In addition, Toth, MTD, Toy Network, and MGS knowingly sent or caused

to be sent hundreds of emails to retailers and others that furthered and effectuated the

fraudulent transfers by coordinating the shipping, receiving, processing, and distribution

of the SLB Products associated with the fraudulent invoices.

      972.    While Aviva is aware of dozens of such invoices, there are likely hundreds

or thousands more.

      973.    Retailers, including Big Lots, Dollar General, Michaels, Target, Bed Bath

& Beyond, and Target, relied on the fraudulent invoices and other fraudulent

communications to make changes to their vendor systems and to pay millions of dollars

to Toy Quest Ltd. that actually were owed to Manley. (See Exhibits G & H to Aviva’s

Complaint.)

      974.    Each payment to Toy Quest Ltd. as a result of the fraudulent invoices and

other fraudulent communications is a fraudulent transfer.



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      975.   While Aviva is aware of dozens of such payments, there are likely hundreds

or thousands more.

      976.   Moreover, at Wu’s direction, Dollar Empire paid more than $3 million to

Toy Quest Ltd. that Wu and Dollar Empire knew was actually owed to Manley. (See

Exhibit F to Aviva’s Complaint.)

      977.   The fraudulently induced payments to Toy Quest Ltd. in turn allowed

Samson Chan, Alan Chan, Liu, Dubinsky, Toy Quest Ltd., Banzai International, Park

Lane, and Aquawood to falsify the sales and financial records of Manley, Toy Quest Ltd.,

Banzai International, Park Lane, Aquawood, and likely other SLB Companies in an effort

to make it appear that Manley had no assets.

      978.   The purpose of all of these hundreds of fraudulent transfers was to allow

the SLB Enterprise to continue doing business in the United States while evading

judgments entered against Manley and concealing documents and information relevant to

the enforcement of those judgments.

      979.   In July 2016, the Principals and the Hong Kong Entities continued their

corporate shell games by selling Toy Quest Ltd.’s purported assets—comprised primarily

of the assets fraudulently transferred from Manley—to Banzai International.

      980.   The Principals and Hong Kong Entities arranged this sale to further

disguise and hide Manley assets and make them more difficult for Aviva to trace.

      981.   Toy Quest Ltd. did not receive reasonably equivalent value in the sale,

which was for less than $2 million (US).



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       982.   The sale agreement between Toy Quest Ltd. and Banzai International was

not an arm’s length transaction. While the sale agreement was written to appear

legitimate, both the agreement’s low purchase price and its recitation of numerous

obviously false representations and warranties make plain that the agreement was a sham

and was not the result of a fair negotiation.

       983.   By now, Manley’s assets likely have been passed to additional SLB

Companies for the purpose of continuing to evade Aviva’s judgments.

       984.   All of the intermediate and ultimate fraudulent transfers should be

unwound and voided. None of the SLB Companies that are or were the intermediate or

ultimate transferees of Manley’s assets are good faith transferees.

       985.   The asset transfers described above bear numerous badges of fraud:

              a)     Virtually all of Manley’s assets ended up in the hands of Manley

                     insiders, including the Principals and the Hong Kong Entities.

              b)     The Principals—who dominated, influenced, and controlled Manley,

                     the Hong Kong Entities, and Aquawood and were or are the actual

                     and/or beneficial owners of those companies—retained possession

                     or control of Manley’s assets at all times, both before and after the

                     transfers.

              c)     All of the Fraudulent Transfer Defendants went to great lengths to

                     conceal the fraudulent transfers and Manley’s assets, by lying to

                     retailers, courts, and creditors; falsifying invoices, customs



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                      documents, and financial records; creating false agreements; and

                      hiding documents.

              d)      The fraudulent transfers began shortly before Aviva obtained its $8.5

                      million judgment against Aviva and accelerated while Aviva actively

                      was attempting to enforce that judgment, obtaining incriminating

                      documents from third parties, and on the brink of obtaining import

                      sanctions from this Court.

              e)      The fraudulent transfers from Manley to Toy Quest Ltd. and Park

                      Lane were of substantially all of Manley’s assets. The fraudulent

                      transfers from Toy Quest Ltd. to Banzai International were of

                      substantially all of Toy Quest Ltd.’s assets.

              f)      Neither Manley nor Toy Quest Ltd. received consideration even

                      remotely equivalent to the value of the assets being transferred.

                      Indeed, Manley was simply looted and received no consideration at

                      all.

              g)      Manley was rendered insolvent and entered liquidation shortly after

                      it had been thoroughly looted and its role in the fraudulent transfer

                      scheme was complete.

       986.   Aviva is entitled to recover judgment for the value of all assets fraudulently

transferred until its judgment is fully paid.




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       987.   To the extent that Aviva obtains relief in this Action against Manley, the

Liquidators are subject to such relief in the Liquidators’ capacities as liquidators of and

successors to Manley.




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       COUNT VIII: AIDING AND ABETTING FRAUDULENT TRANSFER

                     (Against the Fraudulent Transfer Defendants)

       988.   Aviva re-alleges and incorporates by reference all preceding paragraphs.

       989.   To the extent that any Fraudulent Transfer Defendant is not a transferor,

intermediate transferee, or ultimate transferee of assets that were fraudulently transferred

from Manley for the purpose of evading Aviva’s judgments, that Fraudulent Transfer

Defendant should be held liable for aiding and abetting the fraudulent transfer.

       990.   The fraudulent transfers are torts that caused injury to Aviva, the

Fraudulent Transfer Defendants knew that the fraudulent transfers were torts, and the

Fraudulent Transfer Defendants substantially assisted or encouraged the fraudulent

transfers.

       991.   Even if they did not actually receive any Manley assets, the Fraudulent

Transfer Defendants knew that the fraudulent transfers were wrongful, and furthered the

fraud through their conduct.

       992.   For example, Toy Quest Ltd., Samson Chan, Alan Chan, Liu, Dubinsky,

Magalhaes, Toy Quest Ltd., and Aquawood knowingly sent or caused to be sent emails to

retailers that made material omissions and misrepresentations about the operations and

assets of Manley and Toy Quest Ltd.; the relationships between Manley and Toy Quest

Ltd.; and whether the retailers were conducting business with Manley or Toy Quest Ltd.




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      993.    Those same Defendants also knowingly sent or caused to be sent

electronically invoices to multiple retailers that contained fraudulent demands to pay

millions of dollars to Toy Quest Ltd., when in fact the retailers owed that money to

Manley. (See Exhibits A-E, I-K to Aviva’s Complaint.)

       994.   In addition, Toth, MTD, Toy Network, and MGS knowingly sent or caused

to be sent hundreds of emails to retailers and others that furthered and effectuated the

fraudulent transfers by coordinating the shipping, receiving, processing, and distribution

of the SLB Products associated with the fraudulent invoices.

       995.   Moreover, at Wu’s direction, Dollar Empire paid more than $3 million to

Toy Quest Ltd. that Wu and Dollar Empire knew was actually owed to Manley.

       996.   Each of the Fraudulent Transfer Defendants should be held liable for the

damages that Aviva suffered as a result of the fraudulent transfers.

       997.   To the extent that Aviva obtains relief in this Action against Manley, the

Liquidators are subject to such relief in the Liquidators’ capacities as liquidators of and

successors to Manley.




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                               REQUEST FOR RELIEF

      WHEREFORE, Aviva requests that, subject to any applicable stay orders entered

by a United States Bankruptcy Court, as such orders may be modified, this Court enter

judgment against the Defendants for:

      1.     Damages of not less than $10 million, in an amount to be determined by the

             trier of fact;

      2.     Treble damages as provided by law;

      3.     Exemplary or punitive damages in an amount to be determined by the trier

             of fact as allowed by law;

      4.     All legal and equitable relief as allowed by law, except as expressly

             disavowed herein, including inter alia injunctive relief, restitution,

             disgorgement of profits, compensatory and punitive damages, and all

             damages allowed by law to be paid by the Defendants.

             a.      In particular, Aviva seeks an injunction preventing allthe Defendants

                     from selling, importing, distributing, or shipping SLB Enterprise

                     productsProducts into the United States, or causing such products to

                     be sold, imported, distributed, or shipped in the United States,

                     through agents or otherwise; and




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           b.     Aviva seeks an injunction preventing allthe Defendants from sending

                  money or assets outside the United States or causing money or assets

                  to be sent outside of the United States;

     5.    Declarations against the Alter Ego Defendants named above that:

           a.     Manley is an alter ego of the Principals;

           b.     Manley is an alter ego of the Hong Kong Entities, Aquawood, and

                  the Iowa Entities;

           c.     The Hong Kong Entities, Aquawood, and the Iowa Entities are alter

                  egos of the Principals;

           d.     The Hong Kong Entities, Aquawood, and the Iowa Entities are alter

                  egos of one another;

           e.     For purposes of enforcing judgments against the Alter Ego

                  Defendants, Aviva is entitled to piercing of any corporate veils

                  separating Manley, the Hong Kong Entities, Aquawood, and the

                  Iowa Entities from one another and from the Principals; and

           f.     Aviva may enforce its judgments against the Alter Ego Defendants

                  as judgment debtors.

     6.    A declaration against the Liquidators that to the extent that Aviva obtains

           relief in this Action against Manley, the Liquidators are subject to such

           relief in the Liquidators’ capacities as liquidators of and successors to

           Manley.



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     7.    5. AttorneyAttorneys’ fees and costs; and

     8.    6. Pre- and post-judgment interest, in amounts to be determined by the finder

           of fact.



PLAINTIFFS DEMANDPLAINTIFF DEMANDS TRIAL BY JURY




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Dated: March 19, 2019      Respectfully submitted,
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